     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 1 of 115

1                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA
2

3    JOSEPH LEWIS JR., ET AL                 : CIVIL ACTION

4    VERSUS                                  : NO. 15-318-SDD

5    BURL CAIN, ET AL                        : HON. SHELLY D. DICK

6                                            : JUNE 15, 2022

7    ==============================================================
                         MORNING SESSION DAY 8
8                             BENCH TRIAL
     ==============================================================
9

10                          A P P E A R A N C E S

11   FOR THE PLAINTIFFS:

12       THE PROMISE OF JUSTICE INITIATIVE
         BY: MERCEDES MONTAGNES, ESQ.
13            NISHI KUMAR, ESQ.
              REBECCA RAMASWAMY, ESQ.
14            ELENA MALIK, ESQ.
              SAMANTHA BOSALAVAGE, ESQ.
15       1024 ELYSIAN FIELDS AVENUE
         NEW ORLEANS, LOUISIANA 70117
16

17       COHEN MILSTEIN SELLERS & TOLL, PLLC
         BY: JEFFREY B. DUBNER, ESQ.
18            BRENDAN R. SCHNEIDERMAN, ESQ.
         1100 NEW YORK AVE. N.W., SUITE 500
19       WASHINGTON, D.C. 20005

20

21       SOUTHERN POVERTY LAW CENTER
         BY: BRUCE HAMILTON, ESQ.
22            EMILY LUBIN, ESQ.
         201 ST. CHARLES AVE., SUITE 200
23       NEW ORLEANS, LOUISIANA 70170

24

25
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 2 of 1152

1    FOR THE DEFENDANTS:

2
         BUTLER SNOW, LLP
3        BY: RANDAL J. ROBERT, ESQ.
              CONNELL L. ARCHEY, ESQ.
4             ALLENA W. MCCAIN, ESQ.
         445 NORTH BOULEVARD, SUITE 300
5        BATON ROUGE, LOUISIANA 70802

6        SHOWS, CALI & WALSH, LLP
         BY: JEFFREY K. CODY, ESQ.
7             CAROLINE M. TOMENY, ESQ.
              JOHN C. CONINE, JR., ESQ.
8        628 ST. LOUIS STREET
         BATON ROUGE, LOUISIANA 70802
9

10

11

12

13

14

15

16

17

18

19

20               REPORTED BY: GINA DELATTE-RICHARD,CCR
     ______________________________________________________________
21                      UNITED STATES COURTHOUSE
                           777 FLORIDA STREET
22                    BATON ROUGE, LOUISIANA 70801
                             (225) 389-3564
23

24        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY USING
                  COMPUTER-AIDED TRANSCRIPTION SOFTWARE
25
     Case 3:15-cv-00318-SDD-RLB   Document 753    11/04/22 Page 3 of 1153

1                                 I   N   D   E   X

2    DEFENDANT'S WITNESSES:

3        DR. DAVID MATHIS

4               CROSS-EXAMINATION BY JEFFERY DUBNER................6

5               REDIRECT EXAMINATION BY CONNELL ARCHEY...........113

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 4 of 1154

1                                  JUNE 15, 2022

2                       (CALL TO THE ORDER OF COURT)

3               THE COURT:    GOOD MORNING.       BE SEATED.

4               YOU MAY BE SEATED, SIR.

5               MS. MONTAGNES, YOU'RE GOING TO TAKE DR. MATHIS ON

6    CROSS.   YOU MAY BEGIN -- YOU WANT TO TALK ABOUT TIME FIRST?

7               MS. MONTAGNES:      YEAH, I'M NOT TAKING DR. MATHIS.

8               THE COURT:    OH, OKAY.     I THOUGHT MAYBE Y'ALL HAD

9    CHANGED STRATEGIES.     I THOUGHT MR. DUBNER WAS QUE'D UP.

10              MS. MONTAGNES:      YESTERDAY, JUNE 14TH, 2022,

11   PLAINTIFFS USED 57 MINUTES, FOR A TOTAL OF 18 HOURS AND 50

12   MINUTES, AND DEFENDANTS USED FOUR HOURS AND 37 MINUTES FOR A

13   TOTAL OF 14 HOURS AND 31 MINUTES.

14              THE COURT:    THANK YOU.     Y'ALL ARE IN AGREEMENT?

15              MS. MCCAIN:       YES, YOUR HONOR.

16              MR. ARCHEY:       JUDGE, I'D LIKE TO MAKE ONE PROFFER

17   OF -- I MENTIONED IT YESTERDAY.        IT'S MARKED AS DX-56.           I'D

18   LIKE TO PROFFER THAT I GUESS AS DEFENSE PROFFER 1.

19              THE COURT:    OKAY.

20              MR. DUBNER:       COULD I PUT PLAINTIFFS' OBJECTION ON

21   THE RECORD?

22              THE COURT:    YOU MAY.

23              MR. DUBNER:       IN ADDITION TO THE REASONS THAT WE

24   ALREADY STATED EARLIER WHICH WERE, AGAIN, RULE 403, BOTH

25   RELEVANCE AND SURPRISE, PREJUDICE; RELEVANCE BECAUSE THE
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 5 of 1155

1    PARTIES STIPULATED THAT THE RELEVANT PERIOD FOR THIS COURT'S

2    CONSIDERATION BEGINS IN 2019 AND THESE PURPORTED DOCUMENTS ARE

3    FROM BEFORE 2019; PREJUDICE BECAUSE DEFENDANTS REFUSED TO

4    PRODUCE THESE DOCUMENTS OR THE FULL RECORD TO PLAINTIFFS.

5    THEY REFUSED TO PRODUCE ANYTHING BEFORE 2019, MADE A MOTION

6    FOR PROTECTIVE ORDER TO THAT EXTENT.        PLAINTIFFS DON'T HAVE

7    ANY DOCUMENTS AROUND THESE TO PUT THEM INTO CONTEXT OR

8    ANYTHING OF THE SORT.

9                THE LAST PIECE, AND THIS DIDN'T COME UP BEFORE, IT'S

10   JUST THE MANNER OF HOW THIS WAS PRODUCED TO PLAINTIFFS.               THIS

11   WAS NOT ON THE DEFENDANT'S EXHIBIT LIST.         THE FIRST TIME THESE

12   DOCUMENTS WERE EVER GIVEN TO THE PLAINTIFFS, EVEN THOUGH THEY

13   ARE FIVE/SIX YEARS OLD, WAS THE THURSDAY BEFORE TRIAL; TWO

14   BUSINESS DAYS BEFORE TRIAL BEGAN AND FIVE DAYS AFTER THE

15   CUTOFF THAT THIS COURT GAVE DEFENDANTS FOR THE DOCUMENTS THAT

16   WERE SPECIFIED IN THEIR MOTION IN LIMINE TO ADD ADDITIONAL

17   EVIDENCE.    THESE DOCUMENTS WERE NOT DISCLOSED IN THAT MOTION

18   EITHER.

19               IN ADDITION, DEFENDANTS DIDN'T EVEN TELL PLAINTIFFS

20   THEY WERE PRODUCING THESE ARTICLES.         THEY JUST ADDED THEM TO

21   THE LIST -- TO THE PDF FILES THAT THEY GAVE TO THE COURT TO

22   HAVE THE FILES -- THE COPIES OF THE RECORD.          DEFENDANTS SAID

23   NOTHING TO PLAINTIFFS ABOUT THESE UNTIL USING THEM DURING THE

24   CROSS OF DR. PUISIS.     SO THAT WOULD BE THE BASIS FOR

25   PLAINTIFFS' OBJECTION.
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 6 of 1156

1               THE COURT:    IT'S NOTED FOR THE RECORD.

2               YOU MAY BEGIN YOUR CROSS-EXAMINATION.

3               THE CLERK:    THIS D-56, IS IT LARRY WALKER

4    SUPPLEMENTAL RECORDS?

5               MR. ARCHEY:       YES, MA'AM.

6               THE CLERK:    OKAY.    JUST MAKING SURE.

7    CROSS-EXAMINATION

8    BY MR. DUBNER:

9          Q    GOOD MORNING, DR. MATHIS.

10         A    GOOD MORNING.

11         Q    I'D LIKE TO START BY UNDERSTANDING THE WAY YOU WROTE

12   UP THE CHARTS THAT YOU REVIEWED IN YOUR REPORT.

13              NOW, THE MAJORITY OF CHARTS YOU LOOKED AT WERE

14   PATIENTS WHO DIED; IS THAT CORRECT?

15         A    YES.

16         Q    AND FOR THOSE PATIENTS, YOUR EXPERT REPORT GENERALLY

17   HAS AN LSP DEATH REVIEW SECTION; IS THAT RIGHT?

18         A    YES.

19         Q    AND THAT SECTION HAS SUBSECTIONS, NOT ALWAYS ALL

20   FOUR OF THESE, BUT OFTEN A NARRATIVE SECTION, A MEDICAL

21   SUMMARY SECTION AND SOMETIMES AN AUTOPSY OR TOXICOLOGY REPORT

22   SECTION; IS THAT RIGHT?

23         A    YES.

24         Q    AND THOSE SECTIONS ARE TAKEN ESSENTIALLY

25   WORD-FOR-WORD FROM LSP'S MORTALITY REVIEW OF THOSE PATIENTS;
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 7 of 1157

1    IS THAT CORRECT?

2          A     YES.

3          Q     JUST TO SEE WHAT YOU MEAN THERE BY ESSENTIALLY WORD

4    FOR WORD, IF WE COULD PULL UP REPORT DX-35C AT 106.

5                MR. DUBNER:      I'M NOT SURE IF THE --

6              (TECHNICAL DIFFICULTIES WITH THE EXHIBIT CAMERA)

7                MR. DUBNER:      FOR THE TIME BEING I COULD USE THE

8    ELMO, BUT I WOULD ONLY BE ABLE TO DO A FEW QUESTIONS THAT WAY.

9                WOULD IT BE POSSIBLE TO TEST IT ON DEFENDANT'S SIDE

10   TO SEE IF THE PROBLEM IS ON OUR CONNECTION OR SOMETHING ELSE?

11               IN THE MEANTIME, I CAN MOVE ON TO ANOTHER SECTION

12   THAT I CAN DO WITH THE ELMO AND THEN RETURN TO THIS.

13               THE COURT:    HAVE WE DETERMINED WHAT THE ISSUE IS?

14   NO?   DO WE KNOW IF IT'S THEIR CONNECTION OR --

15               UNIDENTIFIED SPEAKER:      I BELIEVE WE DO, YOUR HONOR.

16   BECAUSE BOTH SIDES OF CONNECTED AND IT WON'T WORK WITH EITHER

17   SIDE.     I BELIEVE IT MAY BE WITH THE TECHNOLOGY OF THE COURT.

18               THE COURT:    CAN YOU CARRY ON MOMENTARILY WITH YOUR

19   ELMO?

20               MR. DUBNER:      YES.   I CAN SWITCH TO ANOTHER SECTION

21   AND WE'LL WORK WITH THE ELMO.

22               THE COURT:    WE'LL GET I.T. UP HERE TO SEE WHAT THE

23   PROBLEM IS.

24   BY MR. DUBNER:

25         Q     SO, DR. MATHIS, LET'S TALK ABOUT THE PATIENT SAMPLE
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 8 of 1158

1    THAT YOU REVIEWED.     NOW YOU THINK THE SAMPLE IS INAPPROPRIATE

2    BECAUSE IT ONLY LOOKED AT SICK PATIENTS, CORRECT?

3          A    YES.

4          Q    AND YOU DON'T HAVE ANY EXPERTISE IN STATISTICS,

5    RIGHT?

6          A    THAT'S ALREADY BEEN ESTABLISHED.

7          Q    YOU CAN'T POINT TO ANY LITERATURE OR WRITTEN

8    GUIDANCE THAT SUPPORTS YOUR VIEW?

9          A    NO.    IT'S ONLY ON MY TRAINING AND EXPERIENCE WHEN I

10   LOOK AT A POPULATION.

11         Q    YOU BELIEVE THAT MOST ACCREDITATION BODIES REVIEW

12   CHARTS AT RANDOM WHEN THEY'RE REVIEWING MEDICAL CARE, CORRECT?

13         A    NO, I DON'T BELIEVE THAT'S TRUE.

14         Q    DID YOU PREVIOUSLY ASSERT THAT YOU BELIEVED THAT WAS

15   TRUE?

16         A    YOU'LL HAVE TO TELL ME WHETHER THAT'S IN THE

17   DEPOSITION.

18         Q    IF WE LOOK AT YOUR -- AND IF WE LOOK AT -- THIS IS

19   PAGE 148 OF YOUR DEPOSITION TRANSCRIPT FROM THIS APRIL

20   STARTING AT LINE 19.

21              I ASKED YOU, "DO MOST ACCREDITATION BODIES REVIEW

22   CHARTS AT RANDOM WHEN THEY ARE REVIEWING MEDICAL CARE?"

23              ANSWER, "I BELIEVE THEY DO."

24              DO YOU RECALL GIVING THAT TESTIMONY?

25         A    NOT SPECIFICALLY, BUT IT'S OBVIOUSLY THERE.
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 9 of 1159

1          Q    AND YOU'VE NEVER BEEN AN ACA OR NCCHC AUDITOR,

2    CORRECT?

3          A    CORRECT.

4          Q    IF DR. DAVID THOMAS, A MEMBER OF THE BOARD OF

5    GOVERNORS OF THE AMERICAN CORRECTIONAL ASSOCIATION, TESTIFIED

6    FOR DEFENDANTS IN THIS CASE THAT WHAT PLAINTIFFS' EXPERTS DO

7    IS WHAT MOST ACCREDITATION BODIES AND EXPERTS DO, YOU WOULDN'T

8    HAVE A BASIS TO DISPUTE THAT, WOULD YOU?

9          A    I DON'T KNOW WHAT CONTEXT HE WAS STAYING THAT.             I'VE

10   NEVER READ THAT TESTIMONY.

11         Q    IN TERMS OF THE STATEMENT THAT WHAT PLAINTIFF

12   EXPERTS DO IS WHAT MOST ACCREDITATION BODIES AND EXPERTS DO,

13   DO YOU HAVE ANY BASIS FOR DISPUTING THAT STATEMENT?

14         A    NO.   I'M SURE THAT'S HIS OPINION.        I CAN'T REFUTE

15   THAT.

16         Q    AND IF DR. JACLYN MOORE WHO WORKED AS AN ACA AND

17   NCCHC AUDITOR TESTIFIED FOR DEFENDANTS IN THIS CASE THAT SHE

18   DOES A SELECTIVE REVIEW OF CHARTS, PULLING CHARTS OF PEOPLE

19   WHO HAVE GONE TO THE EMERGENCY ROOM OR HAD CHRONIC CARE, YOU

20   WOULDN'T HAVE ANY BASIS TO DISPUTE THAT EITHER?

21         A    CORRECT.

22         Q    IN FACT, OTHER THAN ONE CLASS ACTION AT A JAIL IN

23   TENNESSEE, YOU DON'T HAVE ANY EXPERIENCE LOOKING AT THE

24   OVERALL CARE IN A PRISON RATHER THAN IN A SPECIFIC INSTANCE,

25   CORRECT?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        10
                                                 11/04/22 Page 10 of 115

1          A      RATHER THAN AS BEING MEDICAL DIRECTOR, THAT'S

2     CORRECT.

3          Q      ASIDE FROM BEING MEDICAL DIRECTOR AT THE PRISON IN

4     MARYLAND?

5          A      THAT'S CORRECT.

6          Q      AND YOU DIDN'T MAKE YOUR OWN SAMPLE IN THIS CASE,

7     CORRECT?

8          A      THAT'S CORRECT.

9          Q      LET'S PUT ALL THAT ASIDE FOR A MOMENT.        YOUR CONCERN

10    IS THAT THE SAMPLE ONLY LOOKED AT SICK PATIENTS, RIGHT?

11         A      YES.

12         Q      AND YOU SAID YESTERDAY PEOPLE IN PRISON AGE FASTER

13    THAN PEOPLE NOT IN PRISON, CORRECT?

14         A      YES.

15         Q      PEOPLE IN PRISON ARE MORE LIKELY TO DEVELOP SERIOUS

16    MEDICAL NEEDS SOONER THAN PEOPLE ON THE OUTSIDE, CORRECT?

17         A      YES.

18         Q      PEOPLE IN PRISON ARE LIKELY TO COLLECT MORE

19    CO-MORBIDITIES THAN PEOPLE NOT IN PRISON, CORRECT?

20         A      YES.

21         Q      IN YOUR REPORT YOU SAY THAT LSP HAD A POPULATION OF

22    4,850 WHICH INCLUDED 3,783 PEOPLE WITH LIFE SENTENCES?

23         A      YES.

24         Q      THAT'S MORE THAN THREE-QUARTERS OF THE POPULATION

25    WHO HAVE LIFE SENTENCES?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        11
                                                 11/04/22 Page 11 of 115

1          A     YES.

2          Q     AND YOUR UNDERSTANDING IS THAT PEOPLE WITH LIFE

3     SENTENCES IN LOUISIANA ARE LESS LIKELY TO GET OUT EARLY THAN

4     PEOPLE IN OTHER STATES DUE TO LOUISIANA'S LIFE WITHOUT PAROLE

5     SYSTEM; IS THAT RIGHT?

6          A     YES.

7          Q     SO MORE THAN THREE-QUARTERS OF THE POPULATION AT LSP

8     ARE LIKELY TO SPEND THE ENTIRE REST OF THEIR LIVES IN PRISON?

9          A     YES.

10         Q     AND JUST BECAUSE OF THE WAY THE HUMAN CONDITION

11    WORKS, EVERY ONE OF THOSE PEOPLE WILL EITHER DEVELOP SERIOUS

12    MEDICAL NEEDS OR DIE IN AN EMERGENCY; IS THAT CORRECT?

13         A     THEY MIGHT DIE IN A NONEMERGENCY, SO THAT'S -- THOSE

14    ARE A COUPLE OF WAYS THAT THEY -- THINGS THAT WILL HAPPEN TO

15    THEM.

16         Q     BUT FOR THE VAST MAJORITY OF THEM, THEY WILL EITHER

17    DIE -- THEY WILL EITHER DEVELOP SERIOUS MEDICAL NEEDS IF THEY

18    DON'T DIE BEFORE THAT IN AN EMERGENCY SITUATION?

19         A     I'M CONFUSED BY YOUR QUESTION.

20         Q     I'LL PUT IT THIS WAY; THAT AT LEAST THREE-QUARTERS

21    OF THE POPULATION, THAT THREE-QUARTERS WILL HAVE SERIOUS

22    MEDICAL NEEDS OR EMERGENT MEDICAL NEEDS AT SOME POINT DURING

23    THEIR TIME IN PRISON; IS THAT CORRECT?

24         A     NOT NECESSARILY.     THE ISSUE I HAVE IS THE EMERGENT

25    MEDICAL NEEDS BECAUSE, YOU KNOW, IT CAN BE PICKED UP AND CARED
     Case 3:15-cv-00318-SDD-RLB     Document 753                        12
                                                   11/04/22 Page 12 of 115

1     FOR IN A REASONABLE FASHION WITHOUT HAVING IT BE AN EMERGENCY.

2          Q      AND THAT WOULD BE THE CATEGORY OF PEOPLE WITH

3     SERIOUS MEDICAL NEEDS?

4          A      NOT NECESSARILY.      IT'S -- IT'S JUST PICKING UP

5     ROUTINE MEDICAL NEEDS.       IT'S JUST -- IT'S THE FORM OF THE

6     QUESTION.

7          Q      OKAY.

8                 MR. DUBNER:     WE STILL DON'T HAVE THE -- THAT'S FINE.

9     BY MR. DUBNER:

10         Q      LET'S TALK ABOUT SOME POINTS OF AGREEMENT ON THE

11    CHARTS YOU REVIEWED.        THERE ARE SOME PATIENTS WHERE YOU FOUND

12    STATE STANDARD OF CARE VIOLATIONS, RIGHT?

13         A      YES.

14         Q      AS TO PATIENT TWO, YOUR REPORT STATES THAT LSP

15    VIOLATED THE STANDARD OF CARE BY NOT OBTAINING THYROID

16    FUNCTION TESTS WHILE FOLLOWING A PATIENT WITH A DIAGNOSIS OF

17    HYPOTHYROIDISM?

18         A      I'M NOT SURE IT'S PATIENT TWO, BUT THERE WAS ONE

19    PATIENT THAT THEY WERE FOLLOWING FOR HYPOTHYROIDISM THAT THEY

20    DIDN'T DO A TSH ON, YES.

21         Q      AS TO PATIENT FIVE, YOUR REPORT NOTES DEFICIENCIES

22    IN DR. COLON'S TREATMENT OF A PATIENT'S AORTIC STENOSIS AND

23    PARTICULARLY HIS FAILURE TO NOTE PRIOR MEDICAL RECORDS SHOWING

24    A LOW EJECTION FRACTION?

25         A      THEY WERE CURRENT MEDICAL RECORDS.          HE'S THE ONE
     Case 3:15-cv-00318-SDD-RLB    Document 753                        13
                                                  11/04/22 Page 13 of 115

1     THAT DID THE ECHO, AND HE'S THE ONE THAT SIGNED OFF ON THE

2     ECHO, SO I DON'T THINK THEY'RE PAST RECORDS.

3          Q     FAIR POINT.      RECENT MEDICAL RECORDS SHOWING A LOW

4     EJECTION FRACTION.

5          A     I AGREE.

6          Q     AS TO PATIENT SEVEN, YOUR REPORT STATES THAT LSP

7     VIOLATED THE STANDARD OF CARE BECAUSE THE PATIENT DIDN'T GET A

8     COLONOSCOPY AFTER THREE POSITIVE FECAL OCCULT BLOOD TESTS, BUT

9     THERE WAS NO DOCUMENTATION OF ANY REFUSAL OF A COLONOSCOPY?

10         A     THE VIOLATION WAS IN THE FAILURE TO OBTAIN A

11    REFUSAL.

12         Q     AS TO PATIENT 35, YOUR REPORT STATES THAT IT WAS

13    BELOW THE STANDARD OF CARE TO ADMIT HIM TO THE INFIRMARY WITH

14    ALTERED MENTAL STATUS AND A TEMPERATURE OF 103.2, CORRECT?

15         A     YES.

16         Q     AS TO PATIENT 20, YOUR REPORT STATES THAT IT WAS

17    BELOW THE STANDARD OF CARE NOT TO HAVE PATIENT 20 EXAMINED BY

18    A NURSE PRACTITIONER WHEN HE PRESENTED TO THE ATU WITH

19    ABDOMINAL PAIN AND JAUNDICE, CORRECT?

20         A     YES.

21         Q     AS TO PATIENT 47, YOUR REPORT STATES THAT LSP

22    VIOLATED THE STANDARD OF CARE BY ASSESSING THE PATIENT'S

23    HEMATURIA AS STABLE WITHOUT PERFORMING A URINALYSIS, CORRECT?

24         A     YES.

25         Q     AS TO PATIENT 32, YOUR REPORT STATES THAT EMT'S
     Case 3:15-cv-00318-SDD-RLB   Document 753                        14
                                                 11/04/22 Page 14 of 115

1     REPEATEDLY PRACTICED BEYOND THEIR SCOPE OF PRACTICE WHEN HE

2     COMPLAINED OF CARDIAC SYMPTOMS AND THEY DIDN'T BRING IT TO THE

3     ATTENTION OF A PROVIDER, CORRECT?

4            A   SYMPTOMS THAT WERE COMPATIBLE WITH CARDIAC DISEASE,

5     YES.

6            Q   AND ALSO AS TO PATIENT 32, THAT HE DIDN'T RECEIVE AN

7     EKG THAT WAS ORDERED, DESPITE HIS CHEST PAIN, CORRECT?

8            A   YES.

9            Q   AS TO PATIENT 11, YOUR REPORT STATES THAT CAPTAIN

10    CASHIO VIOLATED THE STANDARD OF CARE BY NOT RECORDING VITAL

11    SIGNS AND NOT REFERRING PATIENT 11 TO THE ATU FOR EXAMINATION

12    BY AN NP WITH SYMPTOMS OF BLOODY STOOLS AND URINE, CORRECT?

13           A   YES.

14           Q   AS TO PATIENT 28, YOUR REPORT STATES THAT LSP

15    VIOLATED THE STANDARD OF CARE BY NOT PUTTING THE PATIENT ON

16    INSULIN DUE TO HIS ELEVATED HEMOGLOBIN A1-C AND THE FAILURE OF

17    ORAL DIABETIC MEDICATIONS, CORRECT?

18           A   YES.

19           Q   THIS ONE ISN'T IN THE CHART REVIEWS IN YOUR REPORT,

20    BUT IN YOUR DEPOSITION YOU ACKNOWLEDGED THAT LSP VIOLATED THE

21    STANDARD OF CARE AS TO PATIENT 48 WHEN EMT'S PRACTICED BEYOND

22    THE SCOPE OF THEIR LICENSE BY NOT REFERRING HIM TO THE ATU

23    DESPITE ELEVATED HEART RATES ON MULTIPLE OCCASIONS AND WHEN NO

24    PROVIDER EXAMINED HIM OR ORDERED AN EKG WHEN HE DID COME TO

25    THE ATU, CORRECT?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        15
                                                 11/04/22 Page 15 of 115

1          A      TO CLEAR THIS UP, THIS IS THE FELLOW WITH THE SPT?

2          Q      THAT'S CORRECT.

3          A      YES.

4          Q      YOU SAY IN YOUR REPORT THAT YOU DOCUMENTED FEWER

5     THAN FIVE VIOLATIONS OF THE STANDARD OF CARE; IS THAT CORRECT?

6          A      MR. ARCHEY AND I WENT THROUGH THAT.        I THINK THERE

7     WERE SIX.

8          Q      I JUST READ TO YOU FROM TEN PATIENTS; IS THAT

9     CORRECT?

10         A      I DON'T KNOW.

11         Q      I'LL COUNT THEM.    NUMBER 2, NUMBER 5, NUMBER 7,

12    NUMBER 35, NUMBER 20, NUMBER 47, NUMBER 32, NUMBER 11, NUMBER

13    28 AND NUMBER 48; IS THAT TEN?

14         A      I'M SURE YOU'RE CORRECT.       I FOLLOWED YOUR FINGERS.

15         Q      WHEN YOU WERE DISCUSSING YOUR ULTIMATE OPINIONS

16    YESTERDAY, YOU COMPARED THE CARE AT LSP TO OTHER CORRECTIONAL

17    FACILITIES YOU'RE FAMILIAR WITH, CORRECT?

18         A      OTHER -- I BELIEVE IT'S OTHER CORRECTIONAL

19    FACILITIES AT WHICH I'VE BEEN CONSULTED OR OTHERWISE FAMILIAR

20    WITH, SO THERE ARE TWO SIGNIFICANT CATEGORIES.

21         Q      AND BY "AT WHICH YOU'VE CONSULTED" YOU'RE REFERRING

22    TO PRISONS WHERE YOU SERVED AS AN EXPERT IN INDIVIDUAL

23    STANDARD OF CARE CASES?

24         A      WELL, THEY'RE UNCOMMONLY STANDARD OF CARE CASES

25    ALMOST ALL OF THEM.     95 PERCENT OF WHAT I WORK WITH ARE CIVIL
     Case 3:15-cv-00318-SDD-RLB   Document 753                        16
                                                 11/04/22 Page 16 of 115

1     RIGHTS CASES.

2          Q     SO THAT'S PRISONS WHERE YOU'VE BEEN AN EXPERT IN

3     CIVIL RIGHTS CASES; IS THAT CORRECT?

4          A     YES.

5          Q     OTHER THAN THIS CASE, THE ONLY TIME YOU'VE BEEN

6     RESPONSIBLE AS AN EXPERT FOR LOOKING AT THE OVERALL CARE IN A

7     PRISON OR JAIL WAS IN THE TENNESSEE JAIL CASE, CORRECT?

8          A     YES.

9          Q     YOU WORKED AT THE CALIFORNIA MEDICAL FACILITY FROM

10    2010 TO 2020?

11         A     CORRECT.

12         Q     AND BEFORE THAT YOU WORKED AT THE EASTERN

13    CORRECTIONAL INSTITUTION IN MARYLAND FOR THREE YEARS?

14         A     IT WAS FOUR AND A HALF YEARS.

15         Q     AND BEFORE THAT YOU WORKED AT THE CALIFORNIA STATE

16    PRISON SACRAMENTO FOR A YEAR?

17         A     I WAS WORKING REGISTRY IN CALIFORNIA AND IT WAS, YOU

18    KNOW -- MY CV ONLY SHOWS YEARS.      I'M NOT SHOWING NUMBERS AND

19    MONTHS.   SO I WAS AT SEVERAL PRISONS IN CALIFORNIA DURING THAT

20    PERIOD.

21         Q     IT WAS APPROXIMATELY A YEAR; IS THAT CORRECT?

22         A     APPROXIMATELY.

23         Q     AND BEFORE THAT YOU TREATED PATIENTS AT A ROADCAMP

24    IN VIRGINIA FROM 1981 TO 1991?

25         A     CORRECT.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        17
                                                 11/04/22 Page 17 of 115

1          Q      AND THOSE ARE THE ONLY CORRECTIONAL FACILITIES YOU

2     HAD IN YOUR REPORT, YOUR CV, YOUR DEPOSITION OR YOUR DIRECT

3     TESTIMONY AS HAVING WORKED IN OR EVALUATED THE CARE AT AN

4     ORGANIZATIONAL LEVEL, CORRECT?

5          A      CORRECT.

6          Q      LET'S TALK ABOUT CALIFORNIA FOR A MOMENT.         THE

7     CALIFORNIA SYSTEM WAS IN RECEIVERSHIP THE ENTIRE TIME YOU

8     PRACTICED AT THE CALIFORNIA MEDICAL FACILITY, CORRECT?

9          A      CORRECT.

10         Q      WHEN YOU WENT TO WORK AT CALIFORNIA MEDICAL

11    FACILITY, THE RECEIVER HAD ALREADY IMPOSED SEVERAL

12    REQUIREMENTS ON THE CALIFORNIA DEPARTMENT OF CORRECTIONS

13    STAFFING, CORRECT?

14         A      YES.   THAT'S TO A LARGE DEGREE WHY I WENT.

15         Q      INDEED YOU WERE HIRED -- YOU WERE BOARD CERTIFIED,

16    CORRECT?

17         A      I WAS BOARD CERTIFIED AND THEY HAD GREAT SALARY AND

18    BENEFITS.

19         Q      THEY HAD RECENTLY DOUBLED THEIR PHYSICIAN SALARY; IS

20    THAT CORRECT?

21         A      I'M NOT SURE ABOUT DOUBLING, BUT IT WAS -- TO WORK

22    IN CALIFORNIA HAS BEEN A REAL PRIVILEGE AND HELPED ME BE ABLE

23    TO RETIRE.

24         Q      AND ALL OF THAT TIME WAS DURING THE RECEIVERSHIP?

25         A      CORRECT.
     Case 3:15-cv-00318-SDD-RLB    Document 753                        18
                                                  11/04/22 Page 18 of 115

1          Q     AMONG THE THINGS THAT WERE PUT IN PLACE IN THE FEW

2     YEARS BEFORE YOU WERE HIRED, IN ADDITION TO THAT INCREASED

3     SALARY THERE WERE PHYSICIAN COMPETENCY ASSESSMENTS, CORRECT?

4          A     I'M NOT SURE ABOUT THAT.

5          Q     OF THE PHYSICIANS WHO WERE THERE PREVIOUSLY?

6          A     I DON'T KNOW.

7          Q     ARE YOU AWARE THAT THERE WAS AN EFFORT TO REPLACE

8     PROBLEM PHYSICIANS?

9          A     I DON'T -- I MEAN -- WHAT I CAN GIVE YOU IS THAT THE

10    PHYSICIANS THAT HAD BEEN THERE FOR A LONG TIME WERE NOT BOARD

11    CERTIFIED, BUT THEY HAD BEEN THERE FOR 15, 20 YEARS AND HAD A

12    LOT OF EXPERIENCE.

13         Q     AND ARE YOU AWARE THAT PART ONE OF THE STEPS THAT

14    THE RECEIVER TOOK WAS TO REQUIRE ALL OF THOSE PHYSICIANS WHO

15    WERE ALREADY THERE AND NOT BOARD CERTIFIED TO BE REVIEWED BY A

16    UNIVERSITY OF SAN DIEGO ASSESSMENT GROUP?

17         A     I THINK I DO REMEMBER SOMETHING LIKE THAT.

18         Q     AND THE RECEIVERSHIP ALSO ENHANCED PEER REVIEW

19    REQUIREMENTS, CORRECT?

20         A     I'M NOT CERTAIN ABOUT THAT.

21         Q     ARE YOU AWARE THAT THE STEPS THAT THE RECEIVER TOOK,

22    WHATEVER THE SPECIFICS OF THEM, REDUCED MORTALITY

23    SIGNIFICANTLY IN CALIFORNIA?

24               MR. ARCHEY:      YOUR HONOR, I'M GOING TO OBJECT.          THIS

25    IS BEYOND THE SCOPE AND THIS IS SIMILAR -- OBJECT.
     Case 3:15-cv-00318-SDD-RLB     Document 753                        19
                                                   11/04/22 Page 19 of 115

1                THE COURT:       BEYOND THE SCOPE.

2                MR. DUBNER:      HE TESTIFIED ABOUT HIS EXPERIENCE IN

3     CALIFORNIA.   I'M ELICITING FACTS ABOUT THE EXPERIENCE OF THE

4     CALIFORNIA PRISONS DURING THE TIME HE WAS PRACTICING THERE.

5                THE COURT:       VERY LIMITED LATITUDE.     IT'S STRAYING A

6     LITTLE FAR.

7                MR. DUBNER:      OKAY.

8     BY MR. DUBNER:

9          Q     ARE YOU AWARE THAT RESEARCH WAS CONDUCTED INTO

10    MORTALITY RATES IN THE CALIFORNIA CORRECTIONAL SYSTEM BEFORE

11    AND AFTER THE RECEIVERSHIP CHANGED PROVIDER REQUIREMENTS?

12         A     I'M NOT AWARE OF IT SPECIFICALLY, BUT I'M CERTAIN

13    THAT THEY DID THAT.

14         Q     AND ARE YOU SIMILARLY -- DO YOU BELIEVE THAT -- AND

15    ARE YOU AWARE THAT THE RESEARCH CONDUCTED THAT THE MORTALITY

16    RATES DECLINED AS A RESULT OF THE STEPS THAT WERE TAKEN?

17         A     NO.

18         Q     I'M GOING TO SHOW YOU AN ARTICLE THAT I'M MARKING

19    FOR IDENTIFICATION AS PLAINTIFFS' EXHIBIT 67.

20               MR. ARCHEY:      COULD I HAVE A COPY, PLEASE?

21               MR. DUBNER:      YES.    AND A COPY FOR THE COURT.

22    BY MR. DUBNER:

23         Q     DR. MATHIS, THIS IS AN ARTICLE TITLED:           A CASE FOR

24    REVISITING PEER REVIEW:        IMPLICATIONS FOR PROFESSIONAL

25    SELF-REGULATION AND QUALITY IMPROVEMENT.
     Case 3:15-cv-00318-SDD-RLB     Document 753                        20
                                                   11/04/22 Page 20 of 115

1                COULD YOU READ THE RESULT SECTION?

2          A     I'M TRYING TO GET AN IDEA WHO IT IS FIRST.

3          Q     YES.   YOU SEE IT'S WRITTEN BY TERRY HILL, PETER

4     MARTELLI AND JULIE KUO?

5          A     WOULD YOU TAKE THE STICKY OFF?

6          Q     ABSOLUTELY.

7          A     I DON'T KNOW ANYTHING ABOUT THESE PEOPLE.

8          Q     AND COULD YOU READ THE RESULT SECTION?

9                MR. ARCHEY:      YOUR HONOR, I OBJECT.      I MEAN -- I

10    OBJECT.

11               THE COURT:       WELL, WHAT'S THE GROUNDS FOR YOUR

12    OBJECTION?   I'M SUPPOSED TO GUESS?

13               MR. ARCHEY:      NO.     YES, YOUR HONOR.

14               THE COURT:       YOU DON'T NEED TO ARGUE.      JUST TELL ME.

15    IS IT RELEVANCE?    WHAT IS IT?

16               MR. ARCHEY:      RELEVANCE, WE'VE NOT SEEN IT, HE'S NOT

17    EVEN BEEN ASKED ANYTHING ABOUT IT YET OTHER THAN HE WANTS HIM

18    TO START READING IT, SO I OBJECT ON ALL OF THOSE GROUNDS, YOUR

19    HONOR.

20               THE COURT:       OKAY.   WELL, HE HASN'T BEEN ASKED A

21    SUBSTANTIVE QUESTION SO LET'S HOLD YOUR OBJECTION.

22               DO YOU WANT HIM TO READ IT OUT LOUD OR DO YOU WANT

23    HIM TO JUST READ IT --

24               MR. DUBNER:      I WAS GOING TO ASK HIM TO READ IT OUT

25    LOUD.
     Case 3:15-cv-00318-SDD-RLB     Document 753                        21
                                                   11/04/22 Page 21 of 115

1                 THE WITNESS:     THE RESULTS?

2     BY MR. DUBNER:

3          Q      THE RESULT SECTION.

4          A      "CHANGE POINT ANALYSIS" -- I DON'T KNOW WHAT THAT

5     MEANS.   I'M NOT A STATISTICIAN -- "REVEALS WITH 98 PERCENT

6     CONFIDENCE" -- THAT'S PRETTY GOOD -- "THAT A SIGNIFICANT

7     IMPROVEMENT IN AGE-ADJUSTED NATURAL MORTALITY OCCURRED IN

8     2007, DECREASING FROM 138.7 PER 100,000 IN THE 1998 TO 2006

9     PERIOD TO 106.4 IN THE 2007 TO 2009 PERIOD.           THE IMPROVEMENT

10    IN MORTALITY OCCURRED AFTER IMPLEMENTATION OF ACCOUNTABILITY

11    PROCESSES PRIOR TO IMPLEMENTATION OF QUALITY IMPROVEMENT

12    INTERVENTIONS.    ARCHIVAL EVIDENCE SUPPORTS THE POSITIVE IMPACT

13    OF PHYSICIAN COMPETENCY ASSESSMENTS, ROBUST PEER REVIEW AND

14    REPLACEMENT OF PROBLEM PHYSICIANS."

15         Q      MY QUESTION TO YOU, DR. MATHIS, IS BASED ON YOUR

16    EXPERIENCE IN CALIFORNIA AND WHAT YOU TESTIFIED ABOUT

17    YESTERDAY ABOUT YOUR EXPERIENCE, WOULD YOU AGREE THAT THE

18    STAFFING REQUIREMENTS THAT LED TO YOUR HIRING, AMONG OTHERS,

19    LIKELY IMPROVED CARE?

20                MR. ARCHEY:     YOUR HONOR, I RENEW MY OBJECTION.

21    WE'RE GOING REALLY FAR DOWN -- THE RELEVANCE AND OUTSIDE THE

22    SCOPE.   IT'S STILL CALIFORNIA.       YOU HAD SAID A LITTLE

23    LATITUDE.    THIS IS MORE THAN A LITTLE LATITUDE.

24                THE COURT:      THIS IS THE LAST QUESTION ON THIS --

25                MR. DUBNER:     THIS IS THE LAST QUESTION, YES.
     Case 3:15-cv-00318-SDD-RLB     Document 753                        22
                                                   11/04/22 Page 22 of 115

1                 THE COURT:      -- SUBJECT, MR. DUBNER.

2                 THE WITNESS:     WOULD YOU REPEAT THE QUESTION, PLEASE?

3     BY MR. DUBNER:

4          Q      YES.   BASED ON YOUR EXPERIENCE IN THE CALIFORNIA

5     SYSTEM, WOULD YOU AGREE THAT THE STAFFING REQUIREMENTS THAT,

6     AMONG OTHER THINGS, LED TO YOUR HIRING LIKELY REDUCED

7     MORTALITY AT THOSE PRISONS?

8          A      I CAN'T AGREE WITH THAT.         THIS IS THEIR ASSUMPTION.

9     WHAT YOU HAD ME READ WERE THE RESULTS AND A LOT OF IT WAS

10    THEIR OPINION, AND I DON'T KNOW WHO THE HILL GROUP IS.                 I

11    THINK IT'S A STRETCH FOR ME TO COME TO THAT CONCLUSION WITH

12    WHAT YOU SHOWED ME BRIEFLY.

13         Q      AND BASED ON YOUR EXPERIENCE, YOU DON'T HAVE AN

14    OPINION ONE WAY OR THE OTHER?

15         A      I DON'T HAVE ANY EXPERIENCE TO BE ABLE TO TELL YOU

16    THAT ONE WAY OR THE OTHER.

17                MR. DUBNER:     IT APPEARS THAT TRIAL PAD IS BACK UP SO

18    WE CAN SWITCH OFF THE ELMO.

19                THE COURT:      I APOLOGIZE FOR THE TECHNOLOGICAL

20    PROBLEMS.

21    BY MR. DUBNER:

22         Q      SO IF WE COULD, I'M GOING TO RETURN TO WHERE WE

23    WERE, WHICH WAS DISCUSSING THE NATURE OF YOUR WRITE-UPS IN

24    YOUR REPORT.    I BELIEVE YOU WERE GOING TO START AT PAGE 106 OF

25    YOUR REPORT.
     Case 3:15-cv-00318-SDD-RLB    Document 753                        23
                                                  11/04/22 Page 23 of 115

1                AT THE BOTTOM BEGINS YOUR WRITEUP FOR PATIENT NUMBER

2     36, CORRECT?

3          A     YES.

4          Q     AND WE SEE THERE THE LSP DEATH REVIEW, CORRECT?

5          A     CORRECT.

6          Q     AND IF WE GO TO THE NEXT PAGE WE SEE SECTIONS

7     LABELED:   NARRATIVE, MEDICAL CONDITIONS AND MEDICAL SUMMARY,

8     CORRECT?

9          A     YES.

10         Q     AND THEN IF WE GO TO THE NEXT PAGE AND THE PAGE

11    AFTER THAT, THE MEDICAL SUMMARY SECTION CONTINUES FOR TWO

12    PAGES, CORRECT?

13         A     YES.

14         Q     AND THEN THERE'S A SENTENCE -- A HEADLINE, AUTOPSY

15    REPORT?

16         A     YES.

17         Q     AND THEN ON THE FOLLOWING PAGE -- YOU CAN GO TO PAGE

18    110 -- THERE IS A ONE SENTENCE SECTION TITLED:           MATHIS CHART

19    REVIEW OF PATIENT 36.       AND A ONE SENTENCE SECTION TITLED:

20    MATHIS OPINION REGARDING PATIENT 36, CORRECT?

21         A     YES.

22         Q     LET'S GO BACK TO PAGE 106 OF THE REPORT AND PUT IT

23    NEXT TO PLAINTIFFS' EXHIBIT 8A AT 140, AND THIS NEEDS TO BE

24    SEALED.

25               SO LET'S SEE WHAT YOU MEAN BY ESSENTIALLY WORD FOR
     Case 3:15-cv-00318-SDD-RLB   Document 753                        24
                                                 11/04/22 Page 24 of 115

1     WORD.    GIVE US ONE MOMENT TO GET PAGE 140 UP.

2          A     PARDON ME, I DON'T THINK I EVER SAID ESSENTIALLY

3     WORD FOR WORD.     I SAID ESSENTIALLY THE SAME.       LET'S GO BACK

4     AND LOOK AT WHAT I WROTE.

5          Q     IN YOUR DEPOSITION YOU SAID ESSENTIALLY THE SAME,

6     CORRECT?

7          A     OH, THAT COULD BE THAT I SAID IT IN THE DEPOSITION.

8          Q     IS IT POSSIBLE YOU SAID ESSENTIALLY WORD FOR WORD

9     EARLIER TODAY?

10         A     I'D HAVE TO LOOK AT THE REPORT.

11         Q     I'LL JUST ASK THE QUESTION NOW TO CHECK.          DO YOU

12    BELIEVE THAT YOUR WRITEUP IS ESSENTIALLY WORD FOR WORD THE

13    SAME?

14         A     NO.

15         Q     OKAY.   SO LET'S TAKE A LOOK HERE.       YOU RECOGNIZE

16    THAT THE RIGHT-HAND SIDE IS THE LSP DEATH REPORT FOR PATIENT

17    NUMBER 36, CORRECT?

18         A     YES.

19         Q     SO IF WE LOOK AT THE BOTTOM OF PAGE 106 OF YOUR

20    REPORT, THE LEFT-HAND SIDE, FIRST YOU HAVE MEDICAL DIAGNOSIS,

21    CHRONIC OBSTRUCTIVE PULMONARY EXACERBATION, CORRECT?

22         A     THAT'S EXACTLY THE SAME.

23         Q     THAT'S EXACTLY THE SAME.        SO NOW LET'S GO TO THE

24    NEXT PAGE OF YOUR EXPERT REPORT, PAGE 107 OF DX_35_C.           COULD

25    YOU READ THE FIRST TWO SENTENCES OF YOUR NARRATIVE SECTION?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        25
                                                 11/04/22 Page 25 of 115

1          A     IT'S EXACTLY THE SAME.     I'LL STIPULATE THAT.

2          Q     IT'S EXACTLY THE SAME AS THE NARRATIVE SECTION IN

3     THE DEATH REPORT?

4          A     CORRECT.

5          Q     AND JUST TO CLARIFY, YOU REPLACED THE NAME OF THE

6     PATIENT THAT -- HIS DOC NUMBER WITH PATIENT NUMBER 36?

7          A     YES.

8          Q     BUT OTHER THAN THAT IT'S EXACTLY THE SAME?

9          A     YES.    THESE TWO SENTENCES ARE EXACTLY THE SAME OTHER

10    THAN THAT.

11         Q     AND THEN IF WE WERE TO LOOK AT THE NEXT SENTENCE,

12    THAT IS ALSO EXACTLY THE SAME AS THE NARRATIVE SUMMARY, THE

13    FOLLOWING SENTENCE IN THE NARRATIVE SUMMARY?

14         A     CORRECT.

15         Q     AGAIN, WITH THE CHANGE OF THE NAME OF THE OFFENDER'S

16    BROTHER AND HIS PHONE NUMBER?

17         A     CORRECT.

18         Q     OKAY.   LET'S NOW TURN TO PAGE 141 OF EXHIBIT 8A,

19    PLAINTIFFS' EXHIBIT 8A.     THIS IS THE MEDICAL SUMMARY REPORT

20    PART OF THE MORTALITY REVIEW?

21         A     CORRECT.

22         Q     AND IF WE LOOK AT THE NEXT LINE OF YOUR REPORT,

23    MEDICAL CONDITIONS LISTED THERE.      COULD YOU READ THOSE?

24         A     HYPERTENSION, CHRONIC OBSTRUCTIVE PULMONARY DISEASE,

25    PRE-DIABETES AND CYSTIC BULLOUS EMPHYSEMA.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        26
                                                 11/04/22 Page 26 of 115

1          Q     AND THOSE ARE THE EXACT SAME WORDS LISTED IN THE

2     EXACT SAME ORDER AS THE MEDICAL CONDITIONS IN THE MORTALITY

3     REPORT?

4          A     EXACTLY.

5          Q     AND THEN LET'S READ THE NEXT TWO SENTENCES IN THE

6     MEDICAL SUMMARY SECTION OF YOUR REPORT.

7          A     "MEDICAL PATIENT #36 WAS A 65-YEAR-OLD BLACK MALE

8     WHO ARRIVED AT LSP IN NOVEMBER 1994."

9          Q     AND COULD YOU READ THE FIRST SENTENCE OF THE MEDICAL

10    SUMMARY SECTION ON THE RIGHT-HAND SIDE, EXCEPT REPLACING THE

11    PATIENT'S NAME WITH PATIENT NUMBER 36?

12         A     "CLINTON FOREST WAS A 65-YEAR-OLD BLACK MALE WHO

13    ARRIVED AT LSP IN NOVEMBER 1994."

14         Q     AND THEN COULD YOU READ THE NEXT SENTENCE IN YOUR

15    MEDICAL SUMMARY?

16         A     "HE HAD A PAST MEDICAL HISTORY SIGNIFICANT FOR

17    HYPERTENSION, CHRONIC OBSTRUCTIVE PULMONARY DISEASE,

18    PRE-DIABETES AND CYSTIC BULLOUS EMPHYSEMA."

19         Q     CAN YOU READ THE NEXT SENTENCE IN THE MORTALITY

20    REVIEW?

21         A     "HE HAD A PAST MEDICAL HISTORY SIGNIFICANT FOR

22    HYPERTENSION, CHRONIC OBSTRUCTIVE PULMONARY DISEASE,

23    PRE-DIABETES AND CYSTIC BULLOUS EMPHYSEMA."

24         Q     THOSE ARE EXACTLY THE SAME EXCEPT FOR THE

25    SUBSTITUTION OF THE PATIENT'S NAME?
     Case 3:15-cv-00318-SDD-RLB     Document 753                        27
                                                   11/04/22 Page 27 of 115

1          A     CORRECT.

2          Q     THEN COULD YOU READ THE NEXT TWO SENTENCES OF YOUR

3     REPORT?

4          A     "OVER THE LAST THREE YEARS (3) HE WAS FOLLOWED

5     REGULARLY BY THE PULMONARY TELEMEDICINE PHYSICIAN, DR. WELCH.

6     A PULMONARY FUNCTION TEST WAS DONE ON 4/12/16, SHOWED AN FEV1

7     OF 33 PERCENT AND AN FEV1/FVC OF 46 PERCENT."

8          Q     AND COULD YOU READ THE NEXT TWO SENTENCES OF THE

9     MORTALITY REVIEW?     IT BEGINS WITH "OVER THE LAST THREE YEARS."

10         A     THANK YOU.       "OVER THE LAST THREE YEARS HE WAS

11    FOLLOWED REGULARLY BY THE PULMONARY TELEMEDICINE PHYSICIAN

12    DR. WELCH.   A PULMONARY FUNCTION TEST DONE 4/12/16 SHOWED AN

13    FEV1 OF 33 PERCENT AND AN FEV1/FVC OF 46 PERCENT."

14         Q     THOSE ARE EXACTLY THE SAME EXCEPT THAT YOU ADDED AN

15    ARABIC NUMERAL THREE AFTER THE WRITTEN WORD --

16         A     EXACTLY.   AND AS I'VE SAID BEFORE, IT'S THE SAME

17    EXCEPT FOR SOME PUNCTUATIONS AND, AS YOU NOTED, I PUT A

18    NUMERAL THREE INSIDE BRACKETS -- PARENTHESIS, YOU KNOW, IT'S

19    ESSENTIALLY THE SAME.

20         Q     AND IF WE WERE TO CONTINUE THROUGH THE ENTIRETY OF

21    YOUR WRITEUP OF THE MEDICAL SUMMARY OF THIS PATIENT FOR THE

22    NEXT TWO AND A HALF PAGES OF YOUR REPORT, WE WOULD SEE THE

23    SAME THING, THEY ARE SENTENCE FOR SENTENCE, LINE FOR LINE THE

24    SAME AS MORTALITY REVIEW?

25         A     I WOULD REPLY THAT THEY'RE ESSENTIALLY THE SAME WITH
     Case 3:15-cv-00318-SDD-RLB   Document 753                        28
                                                 11/04/22 Page 28 of 115

1     MINOR VARIATIONS TO MAKE THEM MORE READABLE.

2          Q      AND THE SUBSTANCE IS EXACTLY THE SAME?

3          A      THE SUBSTANCE IS THE SAME.

4          Q      THE SENTENCES ARE EXACTLY THE SAME?

5          A      ESSENTIALLY THE SAME.

6          Q      THE CONTENT IS EXACTLY -- THE SUBSTANTIVE CONTENT IS

7     EXACTLY THE SAME?

8          A      YES.

9          Q      THERE IS NO ANALYSIS OF YOUR OWN IN THESE MEDICAL

10    SUMMARY SECTIONS OF YOUR REPORT?

11         A      NOT IN THIS SECTION, NO.

12         Q      OKAY.   SO IF WE TURN TO PAGE 108, THE NEXT PAGE OF

13    YOUR REPORT, AGAIN THIS IS WHAT WE'RE TALKING ABOUT, THIS

14    ENTIRE PAGE IS ALL TAKEN WORD FOR WORD WITH THOSE TYPE OF

15    CHANGES FROM LSP'S MORTALITY REVIEW?

16         A      CORRECT.

17         Q      IF WE GO TO PAGE 109 OF YOUR EXPERT REPORT, THE SAME

18    THING IS TRUE HERE?

19         A      I'M CERTAIN IT IS.    I'VE ALREADY REPLIED TO THAT.

20         Q      THEN IF WE GO TO PAGE 110, HERE THESE TOP TWO

21    SENTENCES, THOSE ARE YOUR WORK, CORRECT?

22         A      THE PORTION WHERE I REVIEWED THE ENTIRE CHART OF

23    PATIENT 36 AND FOUND THE LSP DEATH REVIEW TO BE SUBSTANTIALLY

24    ACCURATE.

25         Q      THAT IS WHAT YOU WROTE ABOUT THIS PATIENT?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        29
                                                 11/04/22 Page 29 of 115

1          A     YES.

2          Q     AND THOSE TWO SENTENCES ARE THE ONLY PLACES IN YOUR

3     REPORT WHERE YOU PROVIDE ANY DISCUSSION OF PATIENT NUMBER 36

4     THAT ISN'T REPRODUCED ESSENTIALLY VERBATIM FROM THE LSP

5     MEDICAL SUMMARY?

6          A     THAT'S CORRECT.     OTHER THAN THE ATTACHMENTS AND THE

7     FOOTNOTES, AS YOU KNOW MY REPORT'S OVER 3,000 PAGES LONG, SO

8     EVERYTHING THAT I WRITE IN THE REPORT HAS BEEN BACKED UP.

9          Q     AND IF WE LOOK AT THIS PAGE ARE THERE ANY FOOTNOTES

10    FOR PATIENT NUMBER 36?

11         A     NO, NOT ON THIS PAGE.

12         Q     IF WE GO TO THE PREVIOUS PAGE ARE THERE ANY

13    FOOTNOTES FOR PATIENT 36?

14         A     NO.

15         Q     IF WE GO TO THE PREVIOUS PAGE ARE THERE ANY

16    FOOTNOTES FOR PATIENT 36?

17         A     NO.

18         Q     IF WE GO TO THE PREVIOUS PAGE ARE THERE ANY

19    FOOTNOTES FOR PATIENT 36?

20         A     NO.

21         Q     AND IF WE GO TO THE PREVIOUS PAGE ARE THERE ANY

22    FOOTNOTES FOR PATIENT 36?

23         A     NO, UNFORTUNATELY.

24         Q     AND JUST IN TERMS OF YOUR REPORT AS A WHOLE, WOULD

25    YOU ESTIMATE THAT ABOUT 50 PAGES WORTH OF TEXT ARE COPIED IN
     Case 3:15-cv-00318-SDD-RLB    Document 753                        30
                                                  11/04/22 Page 30 of 115

1     THIS STYLE FROM LSP'S MORTALITY REVIEWS?

2          A     I WILL AGREE WITH YOU IF YOU'VE CHECKED THAT.

3          Q     APPROXIMATELY 50?

4          A     I WILL AGREE THAT YOU'RE SUBSTANTIALLY ACCURATE.

5                MR. DUBNER:      WE CAN TAKE THOSE DOWN.

6     BY MR. DUBNER:

7          Q     LET'S TALK ABOUT SOME -- A FEW MEDICAL STANDARDS

8     THAT WE DISCUSSED AT YOUR DEPOSITION.         NURSES IN AN INFIRMARY

9     ARE REQUIRED TO NOTE THE TIME THAT THEY TAKE VITAL SIGNS,

10    CORRECT?

11         A     YES.

12         Q     LET'S LOOK, FOR EXAMPLE, AT PATIENT NUMBER 12'S

13    MEDICAL RECORDS.    IF WE COULD SEE JX_12_454.         THIS IS STILL

14    SEALED.

15               THESE ARE VITAL SIGNS TAKEN IN THE INFIRMARY,

16    CORRECT?

17         A     YES.

18         Q     THERE ARE NO TIMES RECORDED, CORRECT?

19         A     YES.

20         Q     AND IF WE GO TO PAGE 540 OF JOINT EXHIBIT 12 THESE

21    ARE ALSO TIMES RECORDED -- THESE ARE ALSO VITAL SIGNS TAKEN BY

22    A NURSE IN THE INFIRMARY?

23         A     I'M NOT CERTAIN IT'S THE INFIRMARY.          IT DOESN'T SAY

24    THAT.

25         Q     AT THE TOP IT SAYS IT IS A NURSING UNIT 1/2 VITAL
     Case 3:15-cv-00318-SDD-RLB    Document 753                        31
                                                  11/04/22 Page 31 of 115

1     SIGNS FLOW SHEET?

2          A     WELL, AS WE KNOW, NURSING UNIT 1 VITAL SIGNS ARE TO

3     BE TAKEN EVERY SHIFT.       NURSING UNIT 2 VITAL SIGNS ARE NOT --

4     ARE TAKEN EVERY WEEK.       AND AS YOU CAN SEE HERE, WE'VE GOT THE

5     VITAL SIGNS THAT ARE SEPARATED SOMETIMES BY SEVEN.            HERE'S ONE

6     THAT'S 14 DAYS, SO IT'S NURSING UNIT 2.

7          Q     AND IF WE GO TO PAGE 541 OF JOINT EXHIBIT 12, THESE

8     VITAL SIGNS, IF WE LOOK AT IT, ARE DAY-BY-DAY, CORRECT?

9          A     ESSENTIALLY.      SO THESE WOULD BE FOR NURSING UNIT 1.

10         Q     AND HERE AGAIN THERE IS NO TIME RECORDED?

11         A     CORRECT.

12         Q     IN FACT, THERE'S NOWHERE ON THIS SHEET TO RECORD THE

13    TIME, CORRECT?

14         A     CORRECT.

15               MR. DUBNER:      WE CAN TAKE THOSE DOWN.

16    BY MR. DUBNER:

17         Q     LET'S TALK ABOUT ANOTHER STANDARD.          IF A PATIENT HAS

18    NO PULSE AND ISN'T BREATHING AND THE PRISON HAS AN AED ON SITE

19    AND PERSONNEL TRAINED TO USE IT, THE STANDARD OF CARE IS THAT

20    THEY SHOULD USE THE AED, CORRECT?

21         A     YES.

22         Q     IF WE COULD PULL UP PATIENT 25'S MEDICAL RECORD,

23    D -- JX_25_31.

24               PATIENT NUMBER 25 COLLAPSED IN THE KITCHEN AND DIED

25    OF CARDIOPULMONARY ARREST; IS THAT CORRECT?
     Case 3:15-cv-00318-SDD-RLB     Document 753                        32
                                                   11/04/22 Page 32 of 115

1          A     I SEE THAT HE COLLAPSED IN THE KITCHEN, BUT I DON'T

2     SEE THE LINE THAT DEMONSTRATES THAT HE DIED.

3          Q     I WILL REPRESENT TO YOU THAT'S NOT ON THIS PAGE, BUT

4     YOU RECALL THIS IS A PATIENT WHO HAD SYNCOPE AND THEN A FEW

5     MONTHS LATER DIED OF CARDIOPULMONARY ARREST, IS THAT PATIENT

6     FAMILIAR TO YOU?

7          A     I BELIEVE THAT'S THE PATIENT WHO HAD SYNCOPE -- YES,

8     I REMEMBER HIM.

9          Q     YES.   AND SO IF WE LOOK AT THE FIRST LINE IN THE

10    NARRATIVE SUMMARY SECTION TOWARDS THE BOTTOM --

11         A     YES.

12         Q     -- IT SAYS, "PTA". THAT IS SHORT FOR PRIOR TO

13    ARRIVAL, CORRECT?

14         A     OR PRIOR TO ADMISSION, SOMETHING LIKE THAT.            BUT

15    WHAT YOU'RE LOOKING FOR I WILL AGREE THERE'S NO AED ATTACHED.

16         Q     THANK YOU.       LET'S TALK ABOUT ANOTHER STANDARD.         IF A

17    PATIENT --

18         A     CAN WE LOOK AT THAT FOR A SECOND THOUGH?

19         Q     I DIDN'T HAVE ANY FURTHER QUESTIONS ON THAT.

20         A     UH-HUH.

21               MR. ARCHEY:      YOUR HONOR, IF HE HAS MORE TO PROVIDE

22    TO HIS ANSWER I THINK HE SHOULD BE ALLOWED.

23               THE COURT:       WELL, I MEAN HE ASKED HIM A QUESTION, HE

24    ANSWERED IT.    YOU CAN ASK HIM ON REDIRECT.

25    BY MR. DUBNER:
     Case 3:15-cv-00318-SDD-RLB   Document 753                        33
                                                 11/04/22 Page 33 of 115

1            Q   LET'S TALK ABOUT ANOTHER STANDARD.         IF A PATIENT IS

2     INCONTINENT AND CAN'T GET OUT OF BED DUE TO BACK PAIN, THEY

3     SHOULD BE PRESENTED TO A PROVIDER, CORRECT?

4            A   NOT NECESSARILY.

5            Q   IN YOUR DEPOSITION DID YOU TELL ME THAT IF A PATIENT

6     IS INCONTINENT AND CAN'T GET OUT OF BED DUE TO BACK PAIN THEY

7     SHOULD BE PRESENTED TO A PROVIDER?

8            A   I'LL HAVE TO KNOW THE CONTEXT OF THAT.

9            Q   LET'S PULL UP THE DEPOSITION AT PAGES 117 THROUGH

10    118.

11               IF YOU LOOK STARTING AT LINE 24 ON PAGE 117, I ASKED

12    YOU, "IF A PATIENT HAS BEEN COMPLAINING ABOUT BACK PAIN FOR A

13    WEEK AND HASN'T BEEN ABLE TO GET OUT OF BED FOR THREE DAYS AND

14    BECOMES INCONTINENT, WHAT EXAMINATION SHOULD THE PROVIDER DO

15    UNDER THE STANDARD OF CARE?"

16               YOU ANSWERED, "WELL, I GUESS IF THEY'RE IN BED IT'S

17    PRETTY HARD TO BE -- TO HAVE THEM SEEN.         YOU NEED TO BE MORE

18    CLEAR ABOUT THAT.    IF THEY'RE IN BED -- IF THEY CAN'T GET OUT

19    OF BED, THEN THEY CAN'T SEE THE PROVIDER UNLESS THEY'RE TAKING

20    THERE BY A PORTER OR TAKEN TO THE ATU BY AMBULANCE.           I NEED A

21    DIFFERENT HYPOTHETICAL."

22               QUESTION, "YEAH.     NO.   THAT IS A GOOD CLARIFICATION.

23    SHOULD THEY BE TAKEN TO SEE A PROVIDER WITH THOSE SYSTEMS?"

24               ANSWER, "THEY SHOULD BE PRESENTED TO A PROVIDER IF

25    THEY'RE INCONTINENT AND THEY CAN'T GET OUT OF BED.           THEY NEED
     Case 3:15-cv-00318-SDD-RLB   Document 753                        34
                                                 11/04/22 Page 34 of 115

1     TO BE PRESENTED TO A PROVIDER ONE WAY OR THE OTHER, WHETHER

2     IT'S BY A SELF-DECLARED EMERGENCY WITH AN EMT PROVIDING THAT

3     INFORMATION TO A HIGHER LEVEL PROVIDER OR SOMEHOW GETTING THAT

4     PATIENT SEEN."    DOES THAT PROVIDE THE CONTEXT THAT YOU NEED?

5          A     YES.

6          Q     AND SO IF A PATIENT IS INCONTINENT AND CAN'T GET OUT

7     OF BED DUE TO BACK PAIN, THEY SHOULD BE PRESENTED TO A

8     PROVIDER, CORRECT?

9          A     YES.

10         Q     THAT'S BECAUSE INCONTINENCE COULD BE A RED FLAG OF

11    CAUDA EQUINA SYNDROME OR SPINAL CORD COMPRESSION?

12         A     THAT'S POSSIBLE.

13         Q     AND IT TAKES OBSERVATION AND PUTTING TWO AND TWO

14    TOGETHER AS A PROVIDER TO EVALUATE THE RED FLAG SYMPTOM?

15         A     YES, BUT WE HAVEN'T ESTABLISHED THAT THIS PATIENT

16    HAD ANY RED FLAG SYMPTOMS.      YOU'RE GIVING ME -- THE FELLOW IS

17    IN BED AND HE'S INCONTINENT.      THAT DOESN'T MEAN HE'S GOT RED

18    FLAG SYMPTOMS.

19         Q     DID YOU NOT JUST SAY A MOMENT AGO INCONTINENCE COULD

20    BE A RED FLAG OF CAUDA EQUINA SYNDROME OR SPINAL CORD

21    COMPRESSION?

22         A     COULD, BUT THAT'S NOT MEDICALLY CERTAIN.          SOME GUYS

23    LAY IN BED AND ARE INCONTINENT.

24         Q     AND IF THIS PATIENT, AS WE ALREADY SAID, ALSO HAS

25    BEEN COMPLAINING ABOUT BACK PAIN FOR A WEEK AND HASN'T BEEN
     Case 3:15-cv-00318-SDD-RLB     Document 753                        35
                                                   11/04/22 Page 35 of 115

1     ABLE TO GET OUT OF BED FOR THREE DAYS AND THEN BECOMES

2     INCONTINENT, IN THAT CASE WOULD IT BE A RED FLAG FOR --

3          A      THIS IS JUST A HYPOTHETICAL.

4          Q      WE CAN LOOK AT THE PATIENT.        LET'S PULL UP PATIENT

5     6'S MEDICAL RECORDS AT -- LET'S BEGIN A LITTLE BIT BEFORE THIS

6     INCIDENT.    PAGE 61.

7                 DO YOU RECALL THIS PATIENT, DR. MATHIS?

8          A      NO.    I'D HAVE TO LOOK AT MY -- MY CHART.

9          Q      WOULD YOU LIKE TO TAKE A MOMENT AND LOOK AT YOUR

10    CHART?

11                THE WITNESS:     MAY I?

12                THE COURT:      YOU MAY.

13                THE WITNESS:     PATIENT 61, CORRECT?

14    BY MR. DUBNER:

15         Q      NO PATIENT NUMBER 6.

16         A      I'M SORRY.      I THINK I HAVE MORE INFORMATION TO BE

17    ABLE TO ANSWER YOUR QUESTIONS NOW.

18         Q      WONDERFUL.      SO LET'S START AT PAGE 61 OF JOINT

19    EXHIBIT 6.

20                ON APRIL 25TH, 2021, HE'S FOUND LYING IN BED AND

21    INFORMS THE MEDIC THAT HE CAN'T MOVE BECAUSE HIS BACK HAS BEEN

22    LOCKED UP SINCE FRIDAY AND THE PATIENT IS TAKEN TO THE ATU IN

23    A WHEELCHAIR; IS THAT CORRECT?

24         A      YES.

25         Q      THEN IF WE LOOK AT PAGE 60 OF JOINT EXHIBIT 6, AT
     Case 3:15-cv-00318-SDD-RLB     Document 753                        36
                                                   11/04/22 Page 36 of 115

1     THE ATU NO PROVIDER EXAMINES HIM, CORRECT?

2          A     WOULD YOU MAKE THAT A LITTLE BIGGER, PLEASE?                I

3     CAN'T -- IT'S HARD FOR ME TO READ.

4          Q     SURE.   LET'S ZOOM IN ON THE SECTION BELOW MED'S

5     SIGNATURE.   AND IF YOU COULD GET THE FULL SECTION THERE.

6          A     IF I COULD WHAT?

7          Q     I'M SORRY.       I'M TALKING WITH MS. -- OKAY.

8                SO AT THE ATU NO PROVIDER EXAMINES HIM, CORRECT?

9          A     I DON'T SEE ANY EVIDENCE OF THAT ON THIS PAGE.

10         Q     HE JUST GETS A SHOT OF A MUSCLE RELAXANT AND SOME

11    ANTI-INFLAMMATORIES, TORADOL AND NORFLEX?

12         A     YES.

13         Q     AND THAT'S PER A -- IT APPEARS TO SAY "V-O."                WOULD

14    THAT BE VERBAL ORDER OR TELEPHONE ORDER?

15         A     I CAN'T MAKE THAT OUT.       IT DOES APPEAR TO BE BY

16    MR. WALLIS, THOUGH, A NURSE PRACTITIONER.           WHETHER IT'S A

17    VERBAL ORDER OR TELEPHONE ORDER I CAN'T MAKE IT OUT.

18         Q     OKAY.   AND THIS IS AT 12:47 PM; IS THAT CORRECT?

19         A     YES.

20         Q     UNDER DEFENDANT'S STAFFING PLAN THERE SHOULD BE A

21    PROVIDER IN THE ATU AT THAT TIME, CORRECT?

22         A     YES.

23         Q     IF WE THEN GO TO PAGE 59, TWO DAYS LATER,

24    APRIL 27TH, 2021, HE MAKES A SELF-DECLARED EMERGENCY.             HE SAYS

25    HIS BODY HAS BEEN LOCKING UP SINCE WEDNESDAY AND HE CAN'T USE
     Case 3:15-cv-00318-SDD-RLB     Document 753                        37
                                                   11/04/22 Page 37 of 115

1     THE RESTROOM BECAUSE HE CAN'T SIT ON THE TOILET; IS THAT

2     CORRECT?

3            A   THAT'S WHAT IT SAYS, YES.

4            Q   THE PATIENT SAYS HE WAS TREATED ON SUNDAY, BUT

5     DOESN'T THINK IT HELPS, CORRECT?

6            A   YES.

7            Q   AND THE PATIENT REQUESTS TO GO ON THE NURSING UNIT,

8     CORRECT?

9            A   YES.

10           Q   THE EMT JUST WRITES "MD REVIEW," CORRECT?

11           A   YES.

12           Q   AND THE PROVIDER, IT'S HARD TO SEE, BUT IF YOU COULD

13    ZOOM IN TO WHERE -- TO THE RIGHT OF THAT CIRCLE UNDER HEALTH

14    CARE PRACTITIONER NOTES.

15           A   WOULD YOU HIGHLIGHT THAT FOR ME, PLEASE?

16           Q   NEXT TO THAT CIRCLE, THE TOP MOST THING OF THAT

17    SECTION, DOES IT APPEAR TO SAY, "SC PRN"?

18           A   I'M SORRY.       I CAN'T SEE WHAT YOU'RE LOOKING AT.

19           Q   THAT'S ALL RIGHT.       ARE THERE ANY DISCERNIBLE NOTES

20    IN THE HEALTH CARE PRACTITIONER REVIEW THERE?

21           A   I THINK THAT THE ONLY DOCUMENTATION FROM A HEALTH

22    CARE PRACTITIONER IS LIKELY THE BLUE PEN WHERE IT'S SIGNED

23    OFF.   THERE'S AN LPN -- IT LOOKS LIKE AN LPN MS. HUGHES ON

24    4/29/21, 08:15.    I CAN'T TELL WHO ELSE SCRIBBLED ON THAT ABOVE

25    OR COUNTER-SIGNED IT.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        38
                                                 11/04/22 Page 38 of 115

1          Q     AND YOU CAN'T SEE ANY DOCUMENTATION OF REVIEW OR

2     ASSESSMENT BY A HEALTH CARE PRACTITIONER?

3          A     WELL, I THINK THAT THE SIGNOFF IN BLUE IS THE REVIEW

4     BY A HEALTH CARE PRACTITIONER.

5          Q     AND THERE'S NO STATEMENT OF THE HEALTH CARE

6     PRACTITIONER'S ASSESSMENT OR OTHER --

7          A     OTHER THAN HIS SIGNATURE.

8          Q     OKAY.   AND THE DATE ON THAT IS APRIL 29TH, 2021; TWO

9     DAYS AFTER THE SICK CALL REQUEST --

10         A     CORRECT.

11         Q     -- AFTER THE SELF-DECLARED EMERGENCY?

12         A     CORRECT.

13         Q     THEN LET'S GO TO PAGE 56.       THREE DAYS LATER AROUND

14    1:00 A.M. ON APRIL 30TH, HE SAYS HE CAN'T SIT UP AND HIS

15    ENTIRE SPINE HURTS; IS THAT CORRECT?

16         A     YES.

17         Q     AND SO THEN IF WE GO TO PAGE 58, HE'S TAKEN TO THE

18    ATU BY WHEELCHAIR AGAIN, CORRECT?

19         A     IT DOESN'T SAY HE'S TAKEN TO IT.        IT SAYS, "PATIENT

20    INTO ATU."   SO IT LOOKS LIKE HE WHEELED HIMSELF AND HE CAME

21    SECONDARY TO LAFLEUR'S ORDERS.      I THINK IT'S AN ASSUMPTION

22    THAT HE WAS TAKEN THERE.

23         Q     IF WE GO BACK TO PAGE 56.       IF WE LOOK AT THE LAST

24    LINE OF THE NARRATIVE/SUMMARY, IT SAYS, "PATIENT LEFT" AND

25    THEN THERE'S A MARKING, IT LOOKS LIKE A "C" WITH A LINE OVER
     Case 3:15-cv-00318-SDD-RLB   Document 753                        39
                                                 11/04/22 Page 39 of 115

1     IT.   THAT MEANS WITH?

2           A    YES.

3           Q    "PATIENT LEFT WITH SECURITY;" IS THAT CORRECT?

4           A    YES.

5           Q    OKAY.   SO LET'S JUST RETURN TO PAGE 58.         IF WE COULD

6     RETURN TO PAGE 58.    THANK YOU.

7                SO HE'S COMPLAINING OF PAIN AND DECREASED MOBILITY

8     TO HIS BACK AND LEFT KNEE?

9           A    IT LOOKS TO ME LIKE HE'S COMPLAINING OF BACK PAIN

10    AND PAIN FROM A RASH.

11          Q    AND THEN IF YOU LOOK AT THE LAST TWO LINES OF THE

12    CHIEF COMPLAINT, PATIENT COMPLAINS OF PAIN AND DECREASED

13    MOBILITY TO BACK AND LEFT KNEE -- TO LOWER BACK AND LEFT KNEE?

14          A    YES.

15          Q    AND HERE AGAIN NO PROVIDER EXAMINES HIM?

16          A    CORRECT.

17          Q    AND HERE AGAIN A PROVIDER JUST GIVES A TELEPHONE

18    ORDER FOR THE MUSCLE RELAXANT AND THE ANTI-INFLAMMATORIES?

19          A    CORRECT.

20          Q    AND IF WE LOOK AT PAGE 57, LATER THAT MORNING HE

21    SAYS THAT HE'S STILL IN PAIN, CORRECT?

22          A    IT SAYS, "COVID SHOT HAS GIVEN PROBLEMS."

23          Q    IF WE LOOK AT THE THIRD LINE OF THE

24    ASSESSMENT/COMMENT, TELL ME IF YOU THINK I'M READING THIS

25    RIGHT, "PATIENT STATES WAS AT TREATMENT CENTER LAST NIGHT,
     Case 3:15-cv-00318-SDD-RLB   Document 753                         40
                                                  11/04/22 Page 40 of 115

1     GIVEN SHOTS AND STILL IN PAIN"?

2          A     YES, I BELIEVE THAT'S WHAT IT SAYS.

3          Q     AND BELOW THAT -- A LITTLE BIT DIFFICULT TO READ --

4     COULD YOU BLOW THAT BACK UP, PLEASE?          THANKS.

5                PATIENT HAS -- I'M NOT SURE ABOUT THIS WORD -- IT

6     MIGHT BE "PATIENT HAS STOPPED OR DIFF WALKING AND THE

7     WHEELCHAIR DUE TO BACK PAIN," CORRECT?

8          A     EXCEPT FOR THAT WORD THAT WE CAN'T READ.           THE REST

9     OF IT LOOKS CORRECT.

10         Q     SO IF WE GO TO PAGE 55.         SO THEY BRING HIM BACK TO

11    THE ATU AND HE IS SEEN BY A PROVIDER ON THIS INSTANCE, RIGHT?

12         A     YES.

13         Q     AND THE PROVIDER, IF WE ZOOM IN ON THE PHYSICIAN

14    ASSESSMENT NOTES, THE PROVIDER ONLY ASSESSES HIS LEFT KNEE

15    PAIN, CORRECT?

16         A     WELL, HE'S LOOKING AT THE HEALED SCABS BILATERAL

17    LOWER EXTREMITY AND WITHOUT SIGNS OR SYMPTOMS OF INFECTION.

18    SO HE'S -- IT LOOKS TO ME LIKE HE'S TRYING TO CORRELATE THIS

19    RASH WITH WHAT'S GOING ON IN HIS LOW BACK.          THEN HE TREATED

20    HIM WITH CELEBREX WHICH IS A NONSTEROIDAL ANTI-INFLAMMATORY

21    DRUG, AS WELL AS TO KEEP THE APPOINTMENT WITH ORTHOPAEDICS AND

22    WHATEVER THAT IS.

23         Q     AND CELEBREX YOU SAID IS A NONSTEROIDAL

24    ANTI-INFLAMMATORY DRUG.     THE TORADOL THAT THEY WERE GIVING HIM

25    ALSO A NONSTEROIDAL ANTI-INFLAMMATORY DRUG?
     Case 3:15-cv-00318-SDD-RLB   Document 753                         41
                                                  11/04/22 Page 41 of 115

1          A     CORRECT.

2          Q     AND THERE'S NO DOCUMENTATION OF ANY ASSESSMENT OF

3     HIS BACK HERE, IS THERE?

4          A     CORRECT.

5          Q     THERE'S NO DOCUMENTATION OF A PHYSICAL EXAMINATION

6     OF HIS BACK, CORRECT?

7          A     CORRECT.   YOU KNOW I CAN'T SAY -- I'M SORRY.              ALERT

8     AND ORIENTED TIMES THREE.      I'M NOT CERTAIN WHAT THAT NEXT LINE

9     SAYS.    MAYBE IT SAYS SOMETHING THAT'S PERTINENT.         THAT'S

10    UNCERTAIN.   IT SAYS HIS LUNGS ARE CLEAR AND I GUESS NUMEROUS

11    HEALED SCABS BILATERAL LOWER EXTREMITIES.

12         Q     NOTHING THAT YOU RECOGNIZE TO SIGNIFY A PHYSICAL

13    EXAMINATION OF THE PATIENT'S BACK PAIN -- OF THE PATIENT'S

14    BACK?

15         A     NOTHING THAT I CAN RECOGNIZE, CORRECT.

16         Q     AND THEN IF WE GO TO PAGE 35.         SO HERE WE ARE THREE

17    DAYS LATER, MAY 3RD, 2021 AT 10:24 A.M.          HE SAYS MY BACK

18    LOCKED UP ON ME AND I CAN'T MOVE.          SAYS HE HASN'T BEEN ABLE TO

19    GET OUT OF THE BED THE PAST THREE DAYS AND SAYS WHEN HE

20    ATTEMPTS TO MOVE IT'S LIKE FIRE SHOOTING DOWN HIS LEGS TO HIS

21    TOES AND SAYS HE CAN'T ROLL OVER; IS THAT ALL CORRECT?

22         A     YES.   THAT'S A PORTION OF WHAT IT SAYS.

23         Q     AND NURSE PRACTITIONER BORDELON ORDERS NO TRANSPORT

24    AND ANOTHER SHOT OF MUSCLE RELAXANT AND ANTI-INFLAMMATORIES,

25    CORRECT?
     Case 3:15-cv-00318-SDD-RLB    Document 753                        42
                                                  11/04/22 Page 42 of 115

1          A      AT THE PATIENT'S REQUEST, CORRECT.

2          Q      DOES THE PATIENT REQUEST NO TRANSPORT?

3          A      THE PATIENT REQUESTED AN INJECTION.         HE DIDN'T

4     REQUEST NO TRANSPORT.       ALL HE WAS ASKING FOR WAS THE

5     INJECTION.

6          Q      IS THERE ANYWHERE THAT IT STATES THAT ALL THE

7     PATIENT WAS ASKING FOR WAS THE INJECTION?          DID THE PATIENT --

8     THERE'S NOTHING THERE THAT SAYS THE PATIENT DIDN'T WANT TO SEE

9     A DOCTOR?

10         A      NO, IT DOESN'T SAY THAT.

11         Q      IF WE GO TO PAGE 37.     THAT EVENING AT 5:11 P.M. THE

12    PATIENT IS FOUND LAYING ON A MATTRESS ON THE FLOOR WITH URINE

13    ON HIM COMPLAINING OF BACK PAIN.       THE PATIENT YELLED WHEN THE

14    MEDICS TRIED TO ROLL HIM AND HELP HIM UP; IS THAT CORRECT?

15         A      I DON'T KNOW.    YOU'RE TAKING IT OUT OF CONTEXT AND

16    IT'S HARD TO READ.     WHERE ARE YOU?       ABDOMINAL --

17         Q      IF WE START AT THE FIRST LINE OF THE NARRATIVE

18    SUMMARY.    "PATIENT WAS LAYING ON A MATTRESS ON THE FLOOR WITH

19    URINE ON HIM COMPLAINING OF BACK PAIN," CORRECT?

20         A      CORRECT.

21         Q      THEN IT SAYS, "PATIENT HAS BEEN TREATED BY

22    AMBULANCES AND IN THE ATU FOR BACK PAIN RECENTLY," CORRECT?

23         A      YES.

24         Q      IT SAYS, "PATIENT'S DORM DOES NOT HAVE WHEELCHAIR

25    ACCESS TO THE SHOWER/RESTROOM AREA SO HE HAS BEEN LAYING ON A
     Case 3:15-cv-00318-SDD-RLB   Document 753                        43
                                                 11/04/22 Page 43 of 115

1     MATTRESS NEARBY SINCE BEING MOVED THERE," CORRECT?

2          A     YES.

3          Q     THEN IT SAYS, "NO NEW TRAUMA NOTED, NO NEW

4     COMPLAINTS, PATIENT'S RASH IS STILL HEALING," CORRECT?

5          A     YES.

6          Q     "PATIENT YELLED WHEN WE TRIED TO ROLL HIM AND HELP

7     HIM UP," CORRECT?

8          A     YES.

9          Q     AND HERE, AGAIN, NURSE PRACTITIONER BORDELON ORDERED

10    NO TRANSPORT AND ANOTHER SHOT OF -- I'M SORRY, I TAKE THAT

11    BACK.    THERE'S, AGAIN, ONLY A TELEPHONE ORDER HERE, CORRECT?

12         A     LET'S READ THROUGH THIS BEFORE I CAN AGREE.

13         Q     SURE.

14         A     BECAUSE A DOCTOR I/T, I'M NOT SURE WHAT THAT MEANS.

15         Q     COULD THAT BE DR. YI?

16         A     DOCTOR WHO?

17         Q     YI?

18         A     COULD BE?

19         Q     AND IT SAID, "WAS PHONED AND ADVISED A TORADOL

20    INJECTION AND A MEDROL DOSE PACK RX"?

21         A     CORRECT.

22         Q     IT THEN SAYS, "SECURITY WAS ALSO SPOKEN TO ABOUT HIS

23    LOCATION," CORRECT?

24         A     YES.

25         Q     "PATIENT WAS GIVEN THE INJECTION IN RIGHT GLUTE AND
     Case 3:15-cv-00318-SDD-RLB     Document 753                        44
                                                   11/04/22 Page 44 of 115

1     REMINDED THAT IT MIGHT TAKE A FEW MINUTES FOR IT TO WORK.

2     PATIENT LEFT IN CUSTODY," CORRECT?

3          A     YES.

4          Q     NO PROVIDER SEES HIM HERE, CORRECT?

5          A     CORRECT.

6          Q     AND HE IS LEFT IN CUSTODY?

7          A     YES.

8          Q     AND HE'S COMPLAINING HERE OF BACK PAIN WHICH HAS NOW

9     LASTED FOR OVER A WEEK.        SAYS HE CAN'T -- HAS SAID HE CAN'T

10    GET OUT OF BED FOR THREE DAYS AND IS INCONTINENT, CORRECT?

11         A     YES.

12         Q     THEN IF WE GO TO PAGE 36, 7:30:43 P.M. ON MAY 3RD,

13    2021, THIS IS TWO AND A HALF HOURS LATER.           HE'S FOUND

14    UNRESPONSIVE, CORRECT?

15         A     YES.

16         Q     IF WE GO TO PAGE 54.       HE'S PRONOUNCED DEAD SHORTLY

17    THEREAFTER?

18         A     YES.

19         Q     NOW IN YOUR REPORT WHAT'S YOUR OPINION REGARDING THE

20    CAUSE OF THIS PATIENT'S DEATH?

21         A     I'LL HAVE TO LOOK AT MY REPORT.

22               THE COURT:       CAN YOU GIVE IT TO HIM OR DO YOU HAVE

23    IT, SIR?

24    BY MR. DUBNER:

25         Q     DO YOU HAVE IT?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        45
                                                 11/04/22 Page 45 of 115

1          A     OH, I'VE GOT IT.     I JUST WANT TO MAKE SURE --

2          Q     YES, PLEASE.     DO YOU RECALL AFTER SEEING ALL OF THAT

3     WHAT YOUR OPINION ON THE CAUSE OF THIS PATIENT'S DEATH WAS?

4          A     THIS IS -- THIS IS PATIENT 6 -- 6, RIGHT?

5          Q     CORRECT.

6          A     THE CAUSE OF DEATH WAS A COMPLICATION OF A LIVER

7     ABSCESS WITH AORTIC PSEUDOANEURYSM, VERTEBRAL OSTEOMYELITIS

8     AND DISCITIS.

9          Q     AND IN YOUR VIEW LSP BORE NO RESPONSIBILITY FOR THIS

10    PATIENT'S DEATH BECAUSE HE WAS CLANDESTINELY CUTTING HIMSELF;

11    IS THAT CORRECT?

12         A     YES.   THAT'S BECAUSE IT OBFUSCATED THE POSSIBILITIES

13    OF HIM HAVING THE ABSCESS.

14         Q     THE CUTS WERE MAINLY ON HIS ABDOMEN, PELVIS AND

15    UPPER LEGS, CORRECT?

16         A     YES, PLACES THAT COULDN'T BE SEEN.

17         Q     THE MEDICAL RECORDS WE JUST DISCUSSED SHOWED HIM

18    ASKING FOR MEDICAL ATTENTION TO HIS LOWER BACK AND LEGS,

19    CORRECT?

20         A     YES.

21         Q     THE MEDICAL RECORDS SHOW HIM ASKING TO BE MOVED TO

22    THE NURSING UNIT, CORRECT?

23         A     YES.

24         Q     HE WAS ASKING FOR PROVIDERS TO EXAMINE THE VERY

25    AREAS YOU SAY HE WAS HIDING, WASN'T HE?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        46
                                                 11/04/22 Page 46 of 115

1          A     WELL, HE WAS ASKING TO EXAMINE HIS BACK.          I MEAN THE

2     CUTS WERE ALL OVER HIM.     THEY WERE ENUMERABLE.

3          Q     AND, IN FACT, IF WE LOOK AT PAGE 55 OF THE MEDICAL

4     RECORD, NURSE PRACTITIONER BORDELON DOCUMENTED NUMEROUS HEALED

5     SCABS, BILATERAL LOWER EXTREMITIES?

6          A     YES.

7          Q     AND THE MEDICAL RECORDS REPORT THAT THE LAST KNOWN

8     EPISODE OF CUTTING BEHAVIOR, SELF-INJURY, FOR THIS PATIENT WAS

9     IN 1997, CORRECT?

10         A     YES.

11         Q     CUTTING BEHAVIOR CAN BE TRIGGERED BY STRESS OR PAIN,

12    CORRECT?

13         A     IT'S HARD TO SAY, BUT THAT'S ONE OF THE REASONS.

14         Q     FOR THE LAST TWO WEEKS OF THIS MAN'S LIFE HE

15    COULDN'T MOVE, HE COULDN'T SIT UP, HE COULDN'T GET OUT OF BED.

16    HE ASKED FOR MEDICAL ATTENTION ON NO FEWER THAN SEVEN SEPARATE

17    OCCASIONS WITHOUT A PROVIDER EVALUATING HIS BACK.           HE WAS IN

18    AGONY AND COULDN'T MOVE THE LOWER HALF OF HIS BODY BUT COULD

19    MOVE HIS ARMS.    THAT'S THE KIND OF PAIN AND STRESS THAT COULD

20    CAUSE A RECURRENCE OF CUTTING BEHAVIOR, ISN'T IT?

21         A     THAT'S AN ASSUMPTION.

22         Q     NOT AN ASSUMPTION YOU'RE WILLING TO MAKE?

23         A     NOT CONSIDERING THE AUTOPSY REPORT.         THE AUTOPSY

24    REPORT'S DEMONSTRATING THAT THESE CUTS ARE OF VARIOUS AGES.

25         Q     THE AUTOPSY REPORT DEMONSTRATES THAT THEY'RE HEALING
     Case 3:15-cv-00318-SDD-RLB   Document 753                        47
                                                 11/04/22 Page 47 of 115

1     WITH RED ESCHARS, CORRECT?

2          A      "APPROXIMATELY 30 WOUNDS CONSIDERATE CONSISTING OF

3     RED/PURPLE ABRASIONS AND ULCERATIONS, MANY OF WHICH ARE

4     HEALING RANGING IN GREATEST DIMENSIONS FROM 0.1 TO 0.8

5     CENTIMETERS, BY LESS THAN 0.1 CENTIMETERS IN DEPTH.           THEY'RE

6     SCATTERED IN THE BILATERAL BUTTOCKS.        LOWER EXTREMITIES HAVE

7     APPROXIMATELY 80 WOUNDS CONSISTING OF RED/PURPLE ULCERATIONS

8     AND ABRASIONS, MANY OF WHICH ARE HEALING WITH DARK RED ESCHARS

9     RANGING FROM 0.1 TO 2.8 CENTIMETERS BY 0.1 CENTIMETERS IN

10    DEPTH ON THE RIGHT UPPER LEG, RIGHT LOWER LEG AND DORSAL RIGHT

11    FOOT.    APPROXIMATELY 60 WOUNDS CONSISTING OF RED/PURPLE

12    ULCERATIONS AND ABRASIONS, MANY OF WHICH ARE HEALING WITH DARK

13    RED ESCHARS RANGING IN GREATEST DIMENSION FROM 0.1 TO

14    CENTIMETERS BUT LESS THAN 0.1 CENTIMETERS IN DEPTH.           THEY'RE

15    SCATTERED ON THE LEFT UPPER LEG, LEFT LOWER LEG AND DORSAL

16    FOOT."

17         Q      THANK YOU, DOCTOR.    LET'S TALK ABOUT ANOTHER

18    STANDARD.    A PATIENT WITH ACUTE HEPATIC FAILURE REQUIRES

19    HOSPITALIZATION OR HOSPICE AND CAN'T BE TREATED IN A PRISON

20    INFIRMARY OR ATU, CORRECT?

21         A      WELL, THEY TREAT HOSPICE PATIENTS IN THE INFIRMARY.

22         Q      IF THE PATIENT IS TO BE TREATED RATHER THAN GIVEN

23    HOSPICE CARE THE PATIENT REQUIRES HOSPITALIZATION, CORRECT?

24         A      IDEALLY.

25         Q      AND CAN'T BE TREATED IN A PRISON INFIRMARY OR ATU,
     Case 3:15-cv-00318-SDD-RLB   Document 753                        48
                                                 11/04/22 Page 48 of 115

1     CORRECT?

2          A     IDEALLY.

3          Q     BY IDEALLY DO YOU MEAN THAT'S CORRECT?

4          A     WE NEED TO LOOK AT THE PATIENT A BIT MORE.          I JUST

5     CAN'T TAKE THAT OUT OF CONTEXT.

6          Q     OKAY.   LET'S LOOK AT YOUR DEPOSITION.

7                IF WE COULD GO TO PAGE 142.       IF WE START AT LINE 17

8     I ASKED YOU, "UNDER THE STANDARD OF CARE, WHAT TREATMENT IS

9     RECOMMENDED FOR ACUTE-ON-CHRONIC HEPATIC FAILURE IN A PATIENT

10    WITH AUTOIMMUNE HEPATITIS?"

11               YOU ANSWERED, "ACUTE HEPATIC FAILURE REQUIRES

12    HOSPITALIZATION OR HOSPICE.      THIS PERSON IS DYING AND THEY --

13    ACUTE HEPATIC FAILURE CAN NOT BE MANAGED IN AN INFIRMARY AT A

14    PRISON OR ATU.     THEY NEED TO GO TO AN EMERGENCY ROOM --"          DID

15    I READ THAT -- IS THAT --

16         A     CAN WE READ THROUGH THE REST OF IT?

17         Q     SURE.   LET'S GO TO THE NEXT PAGE.

18               "THEY NEED TO GO TO AN EMERGENCY ROOM FOR IMMEDIATE

19    EVALUATION AND DETERMINATION OF WHETHER OR NOT THEY CAN BE

20    TREATED REASONABLY OR SENT BACK FOR THE HOSPICE CARE.           CHRONIC

21    LIVER FAILURE IS BAD ENOUGH, BUT TO HAVE ACUTE LIVER FAILURE

22    ON TOP OF THAT IS USUALLY A DEATH SENTENCE."

23               DID I READ THAT CORRECTLY?

24         A     YES.

25         Q     AND IS THAT YOUR OPINION?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        49
                                                 11/04/22 Page 49 of 115

1          A     YES.

2          Q     A PATIENT WITH AUTOIMMUNE HEPATITIS WHO DEVELOPS

3     FOUR-PLUS LOWER EXTREMITY EDEMA, THREE WEEKS OF YELLOWING TO

4     BOTH EYES, SWELLING TO THE ABDOMEN AND PAIN AT THE BOTTOM OF

5     THE ABDOMEN MAY BE IN ACUTE HEPATIC FAILURE, CORRECT?

6          A     YES.

7          Q     LET'S LOOK AT PATIENT 33'S MEDICAL RECORDS.          IF WE

8     COULD GO TO PAGE 81.

9                THIS PATIENT HAD -- IF WE LOOK AT CAUSE OF DEATH

10    THIS PATIENT HAD AUTOIMMUNE HEPATITIS, CORRECT?

11         A     THAT'S THE AUTOPSY RESULT, YES.

12         Q     IF WE GO TO PAGE 113 AND LET'S HIGHLIGHT THE CHIEF

13    COMPLAINT AND INITIAL ASSESSMENT.

14               I BELIEVE IT SAYS, "LOWER EXTREMITY EDEMA, PLUS

15    FOUR, TIMES THREE WEEKS, YELLOWING TO BOTH EYES, SWELLING TO

16    ABDOMEN --"

17         A     COULD YOU ENLARGE THAT FOR ME, PLEASE?

18         Q     "-- SWELLING TO ABDOMEN AND PAIN AT THE BOTTOM OF

19    ABDOMEN," IS THAT CORRECT?

20         A     I THINK YOU -- I THINK THERE MAY BE SOME PUNCTUATION

21    IN THERE THAT WOULD CHANGE THE MEANING.

22         Q     AND WHAT WOULD THAT BE?

23         A     WELL, IT LOOKS TO ME LIKE A LOWER EXTREMITY EDEMA

24    PLUS FOUR.    IT LOOKS LIKE THERE'S A PERIOD.       FOR THREE WEEKS

25    HAD YELLOWING TO BOTH EYES, SO IT MAY BE THAT THE JAUNDICE IS
     Case 3:15-cv-00318-SDD-RLB    Document 753                        50
                                                  11/04/22 Page 50 of 115

1     THREE WEEKS DURATION.       BUT THE EDEMA IS DOCUMENTED

2     OBJECTIVELY.    THE HISTORY IS THAT THERE WAS A THREE-WEEK

3     HISTORY OF JAUNDICE.

4          Q     SO FOUR PLUS LOWER EXTREMITY EDEMA, THREE WEEKS OF

5     JAUNDICE, SWELLING TO THE ABDOMEN AND PAIN AT THE BOTTOM OF

6     THE ABDOMEN, CORRECT?

7          A     YES.

8          Q     AND IF YOU COULD TAKE DOWN THE -- THANK YOU.

9                THIS PATIENT WAS SEEN IN THE ATU, CORRECT?

10         A     CORRECT.

11         Q     THE PROVIDER AT THE ATU DIDN'T SEND HIM TO THE

12    HOSPITAL, CORRECT?

13         A     MAY WE ENLARGE THAT?

14         Q     IF WE ENLARGE THE BOTTOM PART FROM APPOINTMENT ON

15    DOWN JUST THE BOTTOM RIGHT SIDE.

16         A     PLEASE.

17         Q     ALL THE WAY TO THE BOTTOM, PLEASE.

18               SO HERE WE HAVE A PLAN, "CONTINUE CURRENT MEDICINE.

19    IBUPROFEN 400 GRAMS --" I'M NOT GOING TO TRY TO READ THE --

20    YOU CAN READ THAT BETTER THAN I CAN, I'M SURE.           WHAT WAS THE

21    PLAN THERE?

22         A     THE PLAN IS TO COME BACK TO CLINIC A IN ONE TO TWO

23    WEEKS.

24         Q     AND IF WE LOOK AT THE BOTTOM DESTINATION IT SAYS,

25    "RTQ," THAT MEANS RETURN TO QUARTERS, CORRECT?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        51
                                                 11/04/22 Page 51 of 115

1          A     YES.

2          Q     THE PATIENT WAS NOT SENT TO THE HOSPITAL?

3          A     PARDON ME?

4          Q     THE PATIENT WAS NOT SENT TO THE HOSPITAL, CORRECT?

5          A     CORRECT.

6          Q     AND LET'S TALK ABOUT ANOTHER STANDARD.         IF A PATIENT

7     PRESENTS TO THE ATU IN THE MIDDLE OF DIABETIC KETOACIDOSIS

8     WITH SEVERE ANEMIA, HE SHOULD BE HYDRATED, MAYBE GIVEN INSULIN

9     AND SENT TO THE EMERGENCY ROOM, CORRECT?

10         A     THAT'S REALLY OUT OF CONTEXT -- I DON'T -- YOU NEED

11    TO SHOW ME THE PATIENT AND THE PAST HISTORY.

12         Q     LET'S GO TO PAGE 106 OF THE DEPOSITION.

13               STARTING AT THE BEGINNING.       I ASKED YOU, "SO JUST AS

14    AN EXAMPLE, LET'S SAY A PATIENT PRESENTS IN THE MIDDLE OF

15    DIABETIC KETOACIDOSIS WITH SEVERE ANEMIA.         ARE PREVIOUS

16    REFUSALS RELEVANT TO THE QUESTION OF WHAT CARE SHOULD BE

17    PROVIDED?"

18               YOU ANSWERED, "NO."

19               I ASKED, "AND WHAT STANDARD OF CARE SHOULD BE

20    PROVIDED UNDER THE STANDARD OF CARE?"        SORRY.    I ASKED, "AND

21    WHAT CARE SHOULD BE PROVIDED UNDER THE STANDARD OF CARE?"

22               YOU SAID, "WITH DIABETIC KETOACIDOSIS?"

23               I SAID, "YES."

24               YOU ASKED, "AT AN ATU OR AT AN EMERGENCY ROOM?

25    WHERE ARE YOU TALKING ABOUT?"
     Case 3:15-cv-00318-SDD-RLB   Document 753                        52
                                                 11/04/22 Page 52 of 115

1                I SAID, "AT THE ATU."

2                YOU SAID, "AT THE ATU YOU HYDRATE THEM, YOU MAY GIVE

3     THEM INSULIN AND YOU GET THEM OUT."

4                I ASKED, "WHAT DO YOU MEAN BY GET THEM OUT?"

5                YOU SAID, "TO SEND THEM TO THE EMERGENCY ROOM.            YOU

6     CAN'T FOLLOW THEM CLOSELY THERE.      YOU DON'T HAVE A LABORATORY.

7     YOU DON'T HAVE -- YOU MAY NOT EVEN HAVE PUMPS.          YOU DON'T HAVE

8     THE NURSING THAT CAN OBSERVE THEM TWENTY-FOUR HOURS A DAY.

9     YOU DON'T HAVE MONITORS IN THE INFIRMARY.         I MEAN IT'S NOT A

10    PLACE TO BE -- IT'S AN ATU.      IT'S NOT AN EMERGENCY ROOM."

11               IS THAT CORRECT?

12         A     FOR THIS EXAMPLE, YES.

13         Q     AND YOU STAND BY THAT TESTIMONY?

14         A     YES.

15         Q     LET'S LOOK AT A PAGE FROM PATIENT 58'S MEDICAL

16    RECORDS.   IF WE COULD GO TO PAGE 1.       IF WE COULD ZOOM IN ON

17    THE TOP FEW LAB RESULTS THERE.

18               THESE LAB RESULTS SHOW ELEVATED GLUCOSE, ELEVATED

19    B-U-N, BLOOD UREA NITROGEN, AND ELEVATED CREATININE; IS THAT

20    CORRECT?

21         A     YES.

22         Q     THOSE ARE ALL SIGNS OF KETOACIDOSIS?

23         A     NO.

24         Q     YOUR TESTIMONY IS THAT ELEVATED GLUCOSE, ELEVATED

25    BLOOD UREA NITROGEN AND ELEVATED CREATININE ARE NOT --
     Case 3:15-cv-00318-SDD-RLB   Document 753                        53
                                                 11/04/22 Page 53 of 115

1            A    THEY MAY BE COMPATIBLE, BUT THEY'RE NOT NECESSARILY

2     SIGNS.     WE SEE 385'S ALL THE TIME.      I DON'T KNOW IF THE GUY'S

3     GOT CHRONIC RENAL FAILURE OR WHAT.         YOU NEED TO GIVE ME THE

4     CONTEXT FOR THIS.

5            Q    IF I WERE TO REPRESENT TO YOU THAT THESE ARE

6     SIGNIFICANTLY ELEVATED COMPARED TO HIS NORMAL LEVELS WOULD

7     THAT CHANGE YOUR ANSWER?

8            A    WELL, WHAT'S HIS LACTATE?

9            Q    I BELIEVE THAT WOULD BE SHOWN ON THE NEXT PAGE.

10    LET'S GO TO PAGE 2.     AND UNFORTUNATELY THIS IS SIDEWAYS.          I

11    DON'T KNOW IF IT'S POSSIBLE FOR US TO TURN THIS.          WE MAY HAVE

12    TO CRANE OUR NECKS A LITTLE BIT HERE, DOCTOR.          WONDERFUL.

13    THANK YOU.

14           A    IT'S NOT GOING TO BE ON THIS PAGE.

15           Q    IT'S NOT.   OKAY.   BUT THESE LAB RESULTS DO SHOW RED

16    BLOOD CELLS, LOW HEMOGLOBIN AND LOW HEMATOCRIT, CORRECT?

17           A    YES.

18           Q    THOSE ARE ALL SIGNS OF ANEMIA?

19           A    YES.

20           Q    LET'S JUST LOOK TO SEE IF THE LACTATE IS ON THE

21    PREVIOUS PAGE.     LET'S GO TO PAGE 1.     DID THEY TAKE A LACTATE

22    FOR THIS PATIENT?

23           A    NO.

24           Q    SO WE DON'T HAVE THE LACTATE THAT YOU WOULD LIKE TO

25    SEE.   WE DO HAVE ELEVATED GLUCOSE, ELEVATED BLOOD UREA
     Case 3:15-cv-00318-SDD-RLB   Document 753                        54
                                                 11/04/22 Page 54 of 115

1     NITROGEN, ELEVATED CREATININE AND DECREASED RED BLOOD CELLS,

2     HEMOGLOBIN AND HEMATOCRIT.      ASSUMING THAT THOSE ARE ALL

3     DEVIATIONS FROM HIS USUAL RESULTS, IS THAT CONCERNING FOR

4     DIABETIC KETOACIDOSIS FOR ANEMIA?

5            A   IT DOESN'T MAKE THE DIAGNOSIS.

6            Q   IS THAT A POSSIBILITY FOR WHAT IS GOING ON WITH THIS

7     PATIENT?

8            A   IT'S A POSSIBILITY.

9            Q   IS THAT A DIFFERENTIAL DIAGNOSIS THAT NEEDS TO BE

10    MADE?

11           A   IT SHOULD BE CONSIDERED, I AGREE.

12           Q   IF WE GO TO PAGE 563.     THIS IS THE ATU NOTE FROM

13    THAT TIME.

14               IF WE LOOK AT THE DESIGNATION IN THE BOTTOM RIGHT,

15    WHERE DO THEY SEND HIM?

16           A   EXCUSE ME, I'D LIKE TO READ THE NOTE A LITTLE BIT.

17           Q   PLEASE.

18           A   OKAY.   WE CAN TALK ABOUT THIS PATIENT NOW.

19           Q   THEY SENT HIM TO THE NURSING UNIT, CORRECT?

20           A   WE WERE TALKING ABOUT DIABETIC KETOACIDOSIS.              THIS

21    IS A PRESUMPTIVE COVID PATIENT.

22           Q   IF THE LAB RESULTS ARE THE SAME DAY AND THEY DIDN'T

23    CONSIDER DIABETIC KETOACIDOSIS WOULD THAT BE CONCERNING TO

24    YOU?

25           A   NO.   THIS IS A DIABETIC WHO'S GOT A BLOOD SUGAR OF
     Case 3:15-cv-00318-SDD-RLB   Document 753                        55
                                                 11/04/22 Page 55 of 115

1     385.   THERE'S NO EVIDENCE OF DIABETIC KETOACIDOSIS THAT'S

2     SUPPORTED.   THEY THINK HE'S GOT COVID AND THEY TREAT HIM WITH

3     ANTIBIOTICS AND, YOU KNOW, IT'S A RESPIRATORY COMPLAINT.             I'M

4     HAPPY TO SEE IF YOU'VE GOT DOCUMENTATION THAT SUPPORTS

5     DIABETIC KETOACIDOSIS.

6            Q   WE CAN MOVE ON FROM THIS ONE.        I'LL JUST END WITH

7     THE QUESTION AGAIN:     THIS PATIENT WAS SENT TO NURSING UNIT 1,

8     NOT THE HOSPITAL?

9            A   WITH A BLOOD SUGAR OF 120.

10           Q   WE'LL DISCUSS THE OTHER RECORDS IN CLOSING.          I DON'T

11    HAVE THE OTHER SLIP TO SHOW YOU.

12               OKAY.   SO LET'S MOVE ON FROM THIS ONE.

13               LET'S TALK ABOUT EMERGENCY CARE.        IF IN DOUBT SEND

14    HIM OUT IS A MOTTO IN CORRECTIONS, RIGHT?

15           A   YES.

16           Q   AND THAT MEANS IF YOU DON'T KNOW EXACTLY WHAT'S

17    GOING ON WITH A PATIENT OR IF YOU DON'T THINK YOU CAN TAKE

18    CARE OF THEM, THEN YOU SEND THEM TO THE EMERGENCY ROOM,

19    CORRECT?

20           A   YES.

21           Q   IN YOUR RECORD REVIEWS AND OBSERVATIONS, YOU DIDN'T

22    SEE A SINGLE INSTANCE OF DEFENDANTS TAKING PEOPLE DIRECTLY

23    FROM THEIR HOUSING UNIT TO AN OUTSIDE HOSPITAL, DID YOU?

24           A   NO.

25           Q   THEY ALWAYS WENT TO THE ATU FIRST?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        56
                                                 11/04/22 Page 56 of 115

1          A     YES.

2          Q     AND YOU DIDN'T EVEN SEE AN EXAMPLE OF AN RN SENDING

3     SOMEONE DIRECTLY FROM THE ATU TO THE HOSPITAL, DID YOU?

4          A     NO.

5          Q     RN'S SHOULD BE ABLE TO SEND PEOPLE OUT IF THERE'S AN

6     EMERGENCY, CORRECT?

7          A     NO.

8          Q     DO YOU RECALL TELLING ME AT YOUR DEPOSITION THAT

9     THEY SHOULD?

10         A     IN SOME CIRCUMSTANCES.     IT DEPENDS UPON THE HOUSING

11    UNITS.   I DON'T BELIEVE THAT'S APPROPRIATE AT LSP AND I DON'T

12    AGREE WITH YOUR EXPERTS ON IT.      MANY FACILITIES BRING THE

13    PATIENTS TO THE ATU OR THEIR TREATMENT AGENT AREA TO BE

14    STABILIZED BEFORE THEY'RE SENT OUT.        LSP IS IN THE MIDDLE OF

15    NOWHERE.   IT'S NOT IN A CITY SOMEPLACE WHERE THE LOCAL

16    EMERGENCY ROOM IS JUST DOWN THE STREET.

17         Q     LET ME STATE MY QUESTION AGAIN.        RN'S SHOULD BE ABLE

18    TO SEND PEOPLE FROM THE ATU TO THE EMERGENCY ROOM IF THERE'S

19    AN EMERGENCY, CORRECT?

20         A     FROM THE ATU TO THE EMERGENCY ROOM, I BELIEVE SO.

21         Q     YES.   THAT'S PRETTY MUCH THE SAME WAY THAT IT IS

22    THROUGHOUT THE UNITED STATES; RN'S ARE LICENSED TO DETERMINE

23    THAT SOMEONE NEEDS TO BE SENT TO THE EMERGENCY ROOM?

24         A     IT'S JUST REALLY OUT OF CONTEXT.        IN THE ATU YOU'VE

25    GOT NURSE PRACTITIONERS AND SO I DON'T -- I DON'T SEE THE
     Case 3:15-cv-00318-SDD-RLB     Document 753                        57
                                                   11/04/22 Page 57 of 115

1     LIKELIHOOD OF THAT HAPPENING.

2          Q     YOU'RE AWARE, SIR, THAT THERE ARE NURSE

3     PRACTITIONERS IN THE ATU FROM 7:30 A.M. TO 4 P.M. ON WEEKDAYS,

4     CORRECT?

5          A     CORRECT.

6          Q     AND NOT AFTER THAT TIME UNLESS THEY CHOOSE TO COME

7     IN, CORRECT?

8          A     CORRECT.

9          Q     AND ON THE WEEKEND -- YOU'VE BEEN LISTENING TO THE

10    TESTIMONY FOR THE LAST WEEK OR TWO -- THE WEEKEND NURSE

11    PRACTITIONERS MAY BE ELSEWHERE IN THE TREATMENT CENTER AND MAY

12    OR MAY NOT COME TO THE ATU, CORRECT?

13         A     I'LL AGREE TO ELSEWHERE IN THE TREATMENT CENTER, BUT

14    IF YOU'VE GOT SOMEBODY THAT NEEDS TO GO OUT, THE NURSE

15    PRACTITIONER IS GOING TO MAKE THAT DECISION.            YOU'VE GOT NURSE

16    PRACTITIONERS TO MAKE THAT DECISION AND IT'S GOING TO TAKE A

17    WHILE FOR THEM TO LOAD THEM UP IN THE AMBULANCE.            AN RN IS

18    JUST NOT GOING TO GO SEND HIM OUT AND THEN HAVE THE NURSE

19    PRACTITIONER SHOW UP FIVE MINUTES LATER AND SAY WHY DID YOU

20    SEND HIM OUT?

21         Q     SO IT'S YOUR TESTIMONY TODAY THAT RN'S SHOULD NOT

22    HAVE THE ABILITY TO --

23         A     NO.   I THINK THEY SHOULD, PARTICULARLY IF YOU DON'T

24    HAVE A NURSE PRACTITIONER THERE.

25         Q     THANK YOU.       AND YOU DON'T HAVE AN OPINION OVERALL
     Case 3:15-cv-00318-SDD-RLB   Document 753                         58
                                                  11/04/22 Page 58 of 115

1     ABOUT WHETHER PEOPLE ARE CORRECTLY AND TIMELY SENT OUT TO THE

2     EMERGENCY ROOM FROM LSP, CORRECT?

3          A      OVERALL?

4          Q      YES.

5          A      I THINK THEY'RE SENT OUT IN AN APPROPRIATE AND

6     TIMELY FASHION.

7          Q      AT YOUR DEPOSITION YOU TOLD ME YOU DON'T HAVE AN

8     OPINION ABOUT THAT, CORRECT?

9          A      LET'S LOOK AT THE CONTEXT.

10         Q      LET'S LOOK AT PAGE -- LET'S LOOK AT PAGE 184 AND 185

11    OF THE DEPOSITION.

12                SO LET'S START AT 184, LINE 6.

13                I ASKED YOU, "IN THIS SECTION, YOU DON'T EXPRESS AN

14    OPINION HERE ABOUT WHETHER LSP STAFF ARE CORRECTLY DETERMINING

15    WHETHER TO TRANSFER INMATES TO A HIGHER LEVEL OF CARE,

16    CORRECT?"    AND I'LL REPRESENT THAT "IN THIS SECTION" WAS

17    REFERRING TO THE SECTION OF YOUR CONCLUSIONS TOWARDS THE END

18    OF YOUR REPORT ABOUT EMERGENCY CARE.

19                YOU ANSWERED, "CORRECT.        THAT'S IN THE CHART

20    REVIEWS."

21                I SAID, "AND YOU DON'T EXPRESS AN OPINION HERE ABOUT

22    WHETHER LSP IS TIMELY DETERMINING WHETHER TO TRANSFER INMATES

23    TO A HIGHER LEVEL OF CARE?"

24                YOU ANSWERED, "CHART REVIEWS."

25                I SAID, "SO WHEN YOU SAY 'CHART REVIEWS' ARE YOU
     Case 3:15-cv-00318-SDD-RLB   Document 753                        59
                                                 11/04/22 Page 59 of 115

1     SAYING THAT BASED ON YOUR CHART REVIEWS YOU HAVE FORMED THE

2     CONCLUSION AND THE OPINION THAT LSP STAFF ARE CORRECTLY

3     DETERMINING WHETHER TO TRANSFER INMATES TO A HIGHER LEVEL OF

4     CARE?"

5                YOU ANSWERED, "IT DEPENDS ON THE INDIVIDUAL CHART

6     REVIEW.    I DID NOT SET UP A CRITERIA THAT SAID THAT A PATIENT

7     HAD TO BE SEEN WITHIN FOUR MINUTES OF AN EMERGENCY.           I'M NOT

8     DOING AN ACCREDITATION REVIEW.      I'M DOING A STANDARD OF CARE

9     REVIEW.    SO IF WE GO INTO THE CHART REVIEWS WE CAN TALK ABOUT

10    THE STANDARD OF CARE AND MY CONCLUSIONS."

11               THEN I ASKED YOU, "SO YOU HAVE AN OPINION ABOUT IN

12    SPECIFIC CHARTS THAT PEOPLE WERE CORRECTLY AND TIMELY SENT

13    OUT, BUT YOU DON'T HAVE AN OPINION ABOUT OVERALL WHETHER

14    THAT'S HAPPENING?"

15               YOU ANSWERED, "THAT'S CORRECT."

16               DID I READ THAT CORRECTLY?

17         A     YOU DID.

18         Q     YOU ALSO STATED THAT THAT SORT OF SYSTEMATIC REVIEW

19    SHOULD BE LOOKED AT IN THE QUALITY IMPROVEMENT PROGRAM,

20    CORRECT?

21         A     YES.

22         Q     BUT YOU DIDN'T REVIEW THE QUALITY IMPROVEMENT

23    PROGRAM TO SEE IF IT WAS UNDERTAKING THAT SORT OF SYSTEMATIC

24    REVIEW, DID YOU?

25         A     NO.
     Case 3:15-cv-00318-SDD-RLB     Document 753                        60
                                                   11/04/22 Page 60 of 115

1          Q     LET'S TALK ABOUT THAT FOUR MINUTE STANDARD.            YOU'RE

2     CRITICAL OF PLAINTIFFS' EXPERTS FOR SAYING THAT THERE SHOULD

3     BE A FOUR MINUTE RESPONSE TIME TO EMERGENCIES, CORRECT?

4          A     YES.

5          Q     IT'S YOUR VIEW THAT IT'S UNREALISTIC TO EXPECT

6     HEALTH CARE STAFF IN A PRISON TO RESPOND TO EMERGENCIES WITHIN

7     A FOUR MINUTE RESPONSE TIME?

8          A     IN SOME OF THE LOCATIONS AT LSP THEY'RE REMOTE AND

9     YOU CAN'T HAVE HEALTH CARE PERSONNEL ARRIVE WITHIN FOUR

10    MINUTES.

11         Q     LET'S PULL UP DEFENSE EXHIBIT 11.11 AT PAGES 1 AND

12    -- FIRST JUST PAGE 1.

13               YOU'RE FAMILIAR WITH THE AMERICAN CORRECTIONAL

14    ASSOCIATION STANDARDS, CORRECT?

15         A     YES.

16         Q     DOES THIS APPEAR TO BE PART OF THE AMERICAN

17    CORRECTIONAL STANDARDS FOR ADULT CORRECTIONAL INSTITUTIONS?

18         A     I'M NOT SURE WHAT YEAR IT IS.

19         Q     LET'S GO TO PAGE 29 OF DEFENSE EXHIBIT 11.

20               IF WE LOOK AT THE SECOND EMERGENCY RESPONSE LISTED

21    HERE 5-6B-4389, COULD YOU READ THE FIRST SENTENCE?

22         A     I'M SORRY.       I WAS STILL TRYING TO FIGURE OUT WHEN

23    THESE STANDARDS WERE FROM -- WHAT THEY WERE FROM.

24         Q     IT SAYS THAT THIS IS THE FIFTH EDITION.            WE'LL PUT A

25    PEN IN WHEN THESE ARE FROM.        I DON'T HAVE THE DATE ON ME.
     Case 3:15-cv-00318-SDD-RLB     Document 753                        61
                                                   11/04/22 Page 61 of 115

1     LET'S STIPULATE THAT THIS WAS CURRENT AS THE FIFTH EDITION AND

2     THEN WE CAN FIND OUT WHEN THAT WAS LATER.

3          A     ALL RIGHT.

4          Q     SO GIVEN THAT, PLEASE READ THE FIRST SENTENCE OF THE

5     SECOND EMERGENCY RESPONSE PARAGRAPH ON THE PAGE.

6          A     "MANDATORY," MEANING IT'S ONE OF THE STANDARDS THEY

7     BELIEVE EVERYONE SHOULD COMPLY WITH.          "DESIGNATED CORRECTIONAL

8     AND ALL HEALTH CARE STAFF ARE TRAINED TO RESPOND TO HEALTH

9     RELATED SITUATIONS WITHIN A FOUR MINUTE RESPONSE TIME."

10         Q     OKAY.   AND THEN LET'S ALSO PULL UP PLAINTIFF'S

11    EXHIBIT 21-Y.     THIS IS LSP'S EMERGENCY CARE POLICY, CORRECT?

12         A     YES.

13         Q     LET'S GO TO PAGE 2.       COULD YOU READ THE FIRST

14    SENTENCE ON THAT PAGE?

15         A     "ALL EMPLOYEES OF THE LSP SHALL BE TRAINED TO

16    RESPOND TO HEALTH RELATED SITUATIONS WITHIN A FOUR MINUTE

17    RESPONSE TIME."

18         Q     AND I DON'T BELIEVE EITHER OF THESE ARE IN EVIDENCE

19    SO I'LL MOVE DX-11 AND PX_21_Y INTO EVIDENCE.

20               MR. ARCHEY:      NO OBJECTION.

21               THE COURT:       ADMITTED.

22    BY MR. DUBNER:

23         Q     REGARDING SELF-DECLARED EMERGENCIES, YOU AGREE THAT

24    THE PRACTICE AT THE TIME YOU ISSUED YOUR REPORT WAS

25    PROBLEMATIC, CORRECT?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        62
                                                 11/04/22 Page 62 of 115

1          A     YES.

2          Q     THAT'S BECAUSE EMT'S WERE PRACTICING BEYOND THEIR

3     TRAINING AND LICENSING WHEN THEY TRIAGED PATIENTS WITHOUT

4     CONSULTING AN EMT OR OTHER PROVIDER?

5          A     YES.

6          Q     EMT'S SHOULDN'T BE DECIDING WHETHER SOMETHING IS

7     REALLY AN EMERGENCY, CORRECT?

8          A     THAT QUESTION IS HARD TO ANSWER.        I DON'T THINK I

9     CAN ANSWER THAT QUESTION.

10         Q     DID YOU STATE AT YOUR DEPOSITION THAT EMT'S SHOULD

11    NOT BE MAKING A DETERMINATION ABOUT WHETHER SOMETHING IS

12    REALLY AN EMERGENCY?

13         A     IF YOU SAY SO THAT'S TRUE.       I WAS THINKING IN THE

14    CONTEXT OF THE SELF-DECLARED EMERGENCIES AND HOW THE -- THEY

15    WERE PRACTICING OUTSIDE OF THEIR SCOPE.

16         Q     LET'S PULL UP PAGE 75.     YOU KNOW AT LEAST FOUR CASES

17    WHERE THE SELF-DECLARED EMERGENCY PROCESS LED TO PATIENTS NOT

18    RECEIVING EVALUATIONS THAT THEY NEEDED, CORRECT?

19         A     I'M NOT SURE HOW MANY CIRCUMSTANCES, BUT I BELIEVE

20    THAT THAT WAS OCCURRING.

21         Q     AT THE TIME OF YOUR REPORT, YOU UNDERSTOOD THE

22    DEFENDANT'S PLAN TO CHANGE THEIR SELF-DECLARED EMERGENCY

23    PROCESS, CORRECT?

24         A     AT THE TIME OF THE REPORT I WAS HOPING THEY WOULD

25    CHANGE IT.
     Case 3:15-cv-00318-SDD-RLB     Document 753                        63
                                                   11/04/22 Page 63 of 115

1          Q     AT THE TIME OF YOUR REPORT, YOU HAD DISCUSSED

2     WITH -- YOU HAD DISCUSSED THIS OPINION WITH -- WITH RETAINING

3     COUNSEL DR. JACOB JOHNSON -- LET ME REPHRASE THAT.

4                AT THE TIME OF YOUR REPORT, YOU WERE AWARE THAT LPN

5     WAS CURRENTLY PRODUCING A POLICY THAT WOULD INSTITUTE THE

6     CHANGE YOU SUGGESTED?

7          A     LSP YOU MEAN?

8                THE COURT:       YOU SAID LPN.

9     BY MR. DUBNER:

10         Q     YES.   I SAID LPN.      LSP, CORRECT.

11         A     YES.   WE WERE WORKING ON IT AFTER MY REPORT AND IT

12    HAS SINCE CHANGED SIGNIFICANTLY.

13         Q     AND IN YOUR REPORT YOU DIDN'T OPINE ON THE SPECIFICS

14    OF THE PROCESS THEY PLANNED TO INTRODUCE, CORRECT?

15         A     CORRECT.

16         Q     IN YOUR TESTIMONY YESTERDAY YOU DIDN'T TESTIFY ABOUT

17    ANY CHART REVIEWS SHOWING HOW THE NEW MEMO WAS AFFECTING CARE,

18    CORRECT?

19         A     I DON'T THINK I WAS ALLOWED TO.

20         Q     UNDER BOTH THE NEW SYSTEM AND THE SYSTEM IN PLACE,

21    THROUGHOUT DISCOVERY, A PROVIDER DECIDES WHETHER OR NOT THE

22    PATIENT SHOULD BE TRANSPORTED TO THE ATU -- LET ME REPHRASE

23    THAT.

24               UNDER BOTH THE NEW SYSTEM AND THE SYSTEM IN PLACE,

25    THROUGHOUT DISCOVERY, A PROVIDER CAN DECIDE NOT TO TRANSPORT A
     Case 3:15-cv-00318-SDD-RLB   Document 753                        64
                                                 11/04/22 Page 64 of 115

1     PATIENT TO THE ATU BASED ON THE EMT'S REPORT?

2          A     I BELIEVE THERE'S NO -- NO -- WELL, THE TRANSPORT IS

3     DETERMINED WHETHER OR NOT THE PATIENT FALLS UNDER ONE OF THE

4     ITO'S, AND THEN THE NURSE PRACTITIONER IS CONTACTED TO BE ABLE

5     TO MAKE A DETERMINATION WHETHER OR NOT SOMETHING IS AN

6     EMERGENCY AND WHETHER OR NOT THAT PATIENT NEEDS TO BE SEEN IN

7     THE ATU, BECAUSE THEY'RE NOT ALL EMERGENCIES.

8          Q     SO THE PROVIDER STILL DECIDES WHETHER OR NOT THE

9     PATIENT SHOULD BE TRANSPORTED TO THE ATU BASED ON WHAT IS

10    REPORTED BY THE EMT?

11         A     YES.

12         Q     AND YOU STATED YESTERDAY THAT YOU HAVE CONCERNS WITH

13    THE ITO'S?

14         A     SOME OF THE ITO'S NEED TO BE REWORKED AT

15    HEADQUARTER'S LEVEL.

16         Q     LET'S TALK ABOUT CLINICAL CARE.

17               YOU WOULD AGREE THAT A PHYSICIAN IN A CLINICAL

18    APPOINTMENT SHOULD CONDUCT A DIRECTED PHYSICAL EXAMINATION,

19    READ AND MONITOR THE MOST RECENT TEST RESULTS AND MONITOR AND

20    MANAGE MEDICATIONS, CORRECT?

21         A     YES.

22         Q     IF WE COULD PULL UP YOUR REPORT AT PAGES, I BELIEVE,

23    212 AND 213.    SORRY, THOSE ARE THE PAGE NUMBERS AT THE BOTTOM

24    OF THE -- IT WILL -- I'M SORRY.      THAT'S CORRECT.      212 AND 213.

25    SORRY FOR THE CONFUSION.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        65
                                                 11/04/22 Page 65 of 115

1                THIS IS THE OPINION YOU STATE IN YOUR REPORT ABOUT

2     THE MEDICAL CARE PROVIDED IN LSP'S CLINICS?

3          A     CORRECT.

4          Q     NOWHERE IN YOUR REPORT DO YOU DISCUSS WHETHER

5     PHYSICIANS ROUTINELY FAIL TO ADEQUATELY OBTAIN INFORMATION

6     REGARDING A PATIENT'S MEDICAL HISTORY UPON EVALUATION,

7     CORRECT?

8          A     CORRECT.

9          Q     NOWHERE IN YOUR REPORT DO YOU DISCUSS WHETHER

10    PHYSICIANS ROUTINELY FAILED TO PERFORM A MEANINGFUL PHYSICAL

11    EXAM, CORRECT?

12         A     CORRECT.

13         Q     NOWHERE IN YOUR REPORT DO YOU DISCUSS WHETHER

14    PHYSICIANS ROUTINELY FAILED TO READ AND MONITOR TESTING,

15    CORRECT?

16         A     CORRECT.

17         Q     NOWHERE IN YOUR REPORT DO YOU DISCUSS WHETHER

18    PHYSICIANS ROUTINELY FAILED TO MONITOR AND MANAGE MEDICATIONS

19    INCLUDING EDUCATING PATIENTS REGARDING MEDICATIONS, CORRECT?

20         A     CORRECT.

21         Q     AND NOWHERE IN YOUR REPORT DO YOU DISCUSS WHETHER

22    PHYSICIANS TREAT COMPLAINTS EPISODICALLY, CORRECT?

23         A     CORRECT.

24         Q     WE CAN TAKE THAT DOWN.

25               LET'S TALK ABOUT REFUSALS BRIEFLY.         IDEALLY A
     Case 3:15-cv-00318-SDD-RLB     Document 753                        66
                                                   11/04/22 Page 66 of 115

1     REFUSAL FORM SHOULD SAY WHAT VISIT THE PATIENT IS REFUSING AND

2     EXPLAIN WHY THE CARE IS IMPORTANT, CORRECT?

3          A     YES.

4          Q     BUT AS YOU SAID IN YOUR DEPOSITION, THAT'S JUST THE

5     IDEAL WORLD.    IN YOUR VIEW THE MINIMAL STANDARD IS THAT THE

6     REFUSAL SHOULD SAY THAT THEY REFUSED AND WHAT THE CARE IS,

7     CORRECT?

8          A     YES.

9          Q     IS IT APPROPRIATE TO THREATEN A PATIENT WITH

10    DISCIPLINE IF THEY REFUSE TO SIGN A REFUSAL FORM?

11         A     I DIDN'T UNDERSTAND THE FIRST PART OF YOUR QUESTION.

12         Q     SURE.   IT WOULD NOT BE APPROPRIATE TO THREATEN A

13    PATIENT WITH DISCIPLINE IF THEY REFUSED TO SIGN A REFUSAL

14    FORM, CORRECT?

15         A     CORRECT.

16         Q     LET'S TALK ABOUT THE INFIRMARY.

17               THE COURT:       MR. DUBNER, IF YOU'RE IN A LOGICAL PLACE

18    YOU WANT TO TAKE A 15-MINUTE BREAK?

19               MR. DUBNER:      SURE.

20               THE COURT:       WE'RE GOING TO TAKE A 15-MINUTE BREAK.

21    WHEN WE COME BACK I'D LIKE TO HEAR FROM THE DEFENDANTS IN

22    TERMS OF HOW MUCH MORE TESTIMONY YOU ANTICIPATE.            I NEED TO

23    TRY TO MOVE SOME THINGS NEXT WEEK IF NECESSARY.

24                                     (RECESS)

25               THE COURT:       ANY IDEA ABOUT PREDICTION ON WHAT WE
     Case 3:15-cv-00318-SDD-RLB     Document 753                        67
                                                   11/04/22 Page 67 of 115

1     HAVE REMAINING.

2                MR. ROBERT:      JUDGE, I'M THINKING WE'RE PROBABLY --

3     AFTER TODAY, WE'RE PROBABLY GOING TO HAVE ABOUT, BETWEEN CROSS

4     EXAM AND SO FORTH, ABOUT THREE MORE DAYS OF TESTIMONY.

5                THE COURT:       OKAY.   ALL RIGHT.   WELL, WE'LL GO INTO

6     MONDAY PROBABLY THEN.        I'M SORRY ABOUT THAT.      OH, MONDAY IS A

7     HOLIDAY.   TUESDAY.   WE'LL HAVE TO GO INTO TUESDAY.           I MAY NOT

8     BE ABLE -- I MAY NOT -- WELL, MY COURTROOM DEPUTY AND I WILL

9     TALK AT THE BREAK AND FIGURE OUT WHAT WE'RE GOING TO DO.

10               MR. ROBERT:      THANK YOU, JUDGE.

11               THE COURT:       WHERE'S MR. DUBNER?

12               MS. MONTAGNES:       YOUR HONOR, I BELIEVE HE'S IN THE

13    WASH ROOM, I APOLOGIZE.

14               THE COURT:       OKAY.

15               MS. MONTAGNES:       WE PLAN TO GET HIM.

16               THE COURT:       GO AHEAD, MR. DUBNER.

17    BY MR. DUBNER:

18         Q     DR. MATHIS, IF WE COULD RETURN TO PATIENT 58 FOR A

19    MOMENT, THAT WAS WHERE WE HAD THE CONVERSATION ABOUT THE

20    DIABETIC KETOACIDOSIS VERSUS COVID.

21               WHEN WE WERE DISCUSSING THE PATIENT YOU SAID THAT

22    LSP THOUGHT HE HAD COVID SO THEY PRESCRIBED ANTIBIOTICS; IS

23    THAT CORRECT?

24         A     THEY COVERED HIM WITH ANTIBIOTICS AND THEY DID

25    PRESCRIBE THEM, YES.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        68
                                                 11/04/22 Page 68 of 115

1          Q      IS IT YOUR BELIEF THAT ANTIBIOTICS ARE A TREATMENT

2     FOR COVID?

3          A      NO.

4          Q      LET'S TALK ABOUT THE INFIRMARY.       ON AN INFIRMARY

5     CERTIFIED NURSING ASSISTANTS TYPICALLY CHANGE BEDS, CORRECT?

6                 LET ME REPHRASE THAT.    PUTTING LSP ASIDE, ON A

7     TYPICAL INFIRMARY CERTIFIED NURSING ASSISTANTS TYPICALLY

8     CHANGE BEDS, CORRECT?

9          A      THEY'RE NOT THE SOLE PEOPLE THAT CHANGE BEDS.            IT'S

10    ONE OF THEIR DUTIES GENERALLY IF THERE ARE CERTIFIED NURSING

11    ASSISTANTS.    IT'S UNCOMMON TO SEE CNA'S.       LPN'S ARE USUALLY

12    THE LOWEST NURSING DEGREE THAT I'M AWARE OF.

13         Q      SO ARE YOU TESTIFYING CHANGING BEDS IS NOT A ROLE

14    THAT CERTIFIED NURSING ASSISTANTS TYPICALLY PLAY ON

15    INFIRMARIES?

16         A      IT'S ONE OF THEIR DUTIES IF THEY'RE ASSIGNED TO THE

17    INFIRMARY IF THERE'S SOMEONE -- IF THERE'S A CNA.

18         Q      AND ANOTHER ONE OF THOSE DUTIES WOULD BE HELPING TO

19    ROLL PATIENTS?

20         A      YES.

21         Q      ANOTHER ONE OF THOSE DUTIES WOULD BE FEEDING

22    PATIENTS?

23         A      YES.

24         Q      AND ANOTHER ONE OF THOSE DUTIES WOULD BE CLEANING UP

25    INCONTINENCE?
     Case 3:15-cv-00318-SDD-RLB    Document 753                        69
                                                  11/04/22 Page 69 of 115

1          A     YES.

2          Q     AT LSP'S INFIRMARY INMATE ORDERLIES TYPICALLY CHANGE

3     BEDS, CORRECT?

4          A     YES.

5          Q     INMATE ORDERLIES TYPICALLY CHANGE PATIENTS, CORRECT?

6          A     COMMONLY.

7          Q     INMATE ORDERLIES TYPICALLY ROLL PATIENTS, CORRECT?

8          A     COMMONLY.

9          Q     INMATE ORDERLIES TYPICALLY FEED PATIENTS?

10         A     COMMONLY.

11         Q     AND INMATE ORDERLIES TYPICALLY CLEAN UP

12    INCONTINENCE?

13         A     YES.

14         Q     YOU STATED ON DIRECT THAT THE ORDERLIES ARE

15    SUPERVISED BY NURSES.       IN YOUR VISIT TO LSP, YOU ONLY

16    WITNESSED ONE INTERACTION BETWEEN A NURSE AND AN ORDERLY,

17    CORRECT?

18         A     YES.

19         Q     ASIDE FROM THAT ONE OBSERVATION, YOUR BELIEF THAT

20    NURSES SUPERVISE ORDERLIES IS BASED ON YOUR REVIEW OF THE

21    ORDERLY TRAINING AND THE FACT THAT A CHARGE NURSE IS PRESENT

22    IN THE NURSING UNIT, CORRECT?

23         A     THIS IS DIFFICULT TO ANSWER, BECAUSE A SUPERVISOR

24    CAN BE STANDING THERE WATCHING OR JUST DIRECT SOMEONE TO DO

25    SOMETHING.   IF AN INMATE NEEDS TO BE BATHED, THEN A NURSING
     Case 3:15-cv-00318-SDD-RLB    Document 753                        70
                                                  11/04/22 Page 70 of 115

1     SUPERVISOR OR AN RN CAN SAY, GO BATHE THIS GUY AND THEN THE

2     ORDERLIES TAKE IT UP.       SO YOU NEED TO -- WE NEED TO BE MORE

3     CLEAR ABOUT THIS.

4          Q     BUT TO GO BACK TO MY QUESTION, THE BASIS FOR YOUR

5     BELIEF THAT NURSES SUPERVISE ORDERLIES IN ADDITION TO YOUR ONE

6     OBSERVATION IS YOUR REVIEW OF THE ORDERLY TRAINING AND THE

7     FACT THAT A CHARGE NURSE IS PRESENT IN THE NURSING UNIT,

8     CORRECT?

9          A     IN THE WAY THAT THINGS WORK IN AN INFIRMARY WE'VE

10    GOT A NURSE WHO'S RUNNING THE SHOW.

11         Q     SO YOUR ASSUMPTION IS ABOUT HOW INFIRMARIES

12    TYPICALLY WORK.

13         A     YES.

14         Q     DID I HEAR YOU SAY YESTERDAY THAT YOU WORKED WITH

15    MS. STICKELLS TO IMPROVE THE ORDERLY TRAINING POWERPOINT?

16         A     I THINK THAT TESTIMONY WAS EXCLUDED.

17         Q     THAT MAY HAVE BEEN.      I WITHDRAW THE QUESTION.

18               YOU BELIEVE THAT IT CAN BE APPROPRIATE FOR ORDERLIES

19    TO PROVIDE DIRECT PATIENT CARE AS LONG AS THEY'RE BEING

20    DIRECTLY SUPERVISED BY AN LPN OR RN, CORRECT?

21         A     I WOULD PREFER IT WAS THE RN, BUT THE ANSWER TO THAT

22    IS YES.

23         Q     YOU BELIEVE IT'S APPROPRIATE FOR AN ORDERLY TO

24    PROVIDE PHYSICAL THERAPY AS LONG AS HE'S SUPERVISED BY A

25    PHYSICAL THERAPIST?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        71
                                                 11/04/22 Page 71 of 115

1          A     IN THIS CIRCUMSTANCE IT'S EXTENUATING BECAUSE HE

2     HAS -- HE'S A CERTIFIED PHYSICAL THERAPY ASSISTANT.           IT'S NOT

3     JUST SOME GUY OUT OF THE YARD.

4          Q     YOU BELIEVE IT'S APPROPRIATE FOR ORDERLIES TO HELP

5     POSITION PATIENTS DURING WOUND CARE, CORRECT?

6          A     YES.

7          Q     YOU SAID THAT THE INMATE ORDERLY ROLE AT LSP

8     COMPLIES WITH THE ACA STANDARDS, CORRECT?

9          A     YES, I BELIEVE SO.

10         Q     DO THE ACA STANDARDS ALLOW ORDERLIES TO PROVIDE

11    DIRECT PATIENT CARE?

12         A     I BELIEVE SO.

13         Q     IF WE COULD PULL UP DX-11 AT 31.        HALFWAY DOWN THE

14    PAGE DO YOU SEE THE LINE, "OFFENDERS ARE NOT TO BE USED FOR

15    THE FOLLOWING DUTIES"?

16         A     YES.

17         Q     COULD YOU READ THE NEXT LINE?

18         A     "PERFORMING DIRECT PATIENT CARE SERVICES."

19         Q     DOES DOC POLICY ALLOW ORDERLIES TO PROVIDE DIRECT

20    PATIENT CARE?

21         A     I DON'T BELIEVE SO.

22         Q     DOC POLICY EXPLICITLY PROHIBITS ORDERLIES FROM

23    PROVIDING DIRECT PATIENT CARE, CORRECT?

24         A     I BELIEVE SO.

25         Q     AND LET'S JUST PULL UP PLAINTIFFS' EXHIBIT 19-H.          IF
     Case 3:15-cv-00318-SDD-RLB     Document 753                        72
                                                   11/04/22 Page 72 of 115

1     WE COULD GO TO PAGE 2.        THE SECTION TOWARDS THE BOTTOM THAT'S

2     LABELED 2.

3                 IS THIS THE PROHIBITION THAT YOU'RE TALKING ABOUT?

4          A      THIS IS EXACTLY WHAT YOU'VE SUGGESTED.          "OFFENDERS

5     SHALL NOT BE USED FOR THE FOLLOWING DUTIES:           PERFORMING DIRECT

6     PATIENT CARE SERVICES."

7          Q      AND WE'LL MOVE PLAINTIFFS' EXHIBIT 19-H INTO

8     EVIDENCE.

9                 MR. ARCHEY:     NO OBJECTION, YOUR HONOR.

10                THE COURT:      ADMITTED.

11    BY MR. DUBNER:

12         Q      YOUR UNDERSTANDING OF THE NCCHC STANDARDS IS THAT

13    THEY COMPLETELY REJECT USING INMATE ORDERLIES; IS THAT

14    CORRECT?

15         A      NO.

16         Q      IS THAT WHAT YOU WROTE IN YOUR REPORT?

17         A      I BELIEVE SO.

18         Q      YOU WROTE IN YOUR REPORT THAT NCCHC COMPLETELY

19    REJECTS USING ORDERLIES?

20         A      WELL, YOU NEED TO READ THE ENTIRE REPORT.           I THINK

21    WHAT STARTED OUT FROM WHAT IT SUGGESTED IN LIKE 2004 AND THEN

22    I BELIEVE THAT I WROTE THAT IT DOES UNDERSTAND THAT INMATE

23    ORDERLIES ARE BEING USED, AND THEN THE CIRCUMSTANCES IN WHICH

24    THEY'RE BEING USED, THAT NEEDS TO BE -- THEY NEED TO HAVE

25    PROPER TRAINING.    SO LET'S GO TO MY REPORT.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        73
                                                 11/04/22 Page 73 of 115

1          Q     SURE.   LET'S PULL UP PAGES 218 AND 219 OF YOUR

2     REPORT.    AT THE BOTTOM OF THE LEFT-HAND PAGE, PAGE 218 OF

3     DX_35_C, YOU WROTE, "THE COURT ADDRESSED INMATE ORDERLIES AT

4     THE TRIAL.    MY UNDERSTANDING AND DISCUSSION WITH RETAINING

5     COUNSEL ARE THAT THE COURT COMPLETELY REJECTED USING INMATE

6     ORDERLIES.    THIS DETERMINATION IS CONSISTENT WITH THE 2009

7     NCCHC GUIDELINES FOR THE MANAGEMENT OF AN ADEQUATE DELIVERY

8     SYSTEM."

9                DID I READ THAT CORRECTLY?

10         A     YOU DID.   AND THEN AS I ALLUDED TO, THE NEXT PAGE

11    GOING ON TO SAY THAT, "NEVERTHELESS, EVEN THE NCCHC APPEARS TO

12    RECOGNIZE THAT INMATE WORKERS ARE USED IN CORRECTIONAL

13    FACILITIES.   INMATE WORKERS, IF USED, ARE TRAINED IN

14    APPROPRIATE METHODS FOR HANDLING AND DISPOSING OF BIOHAZARDOUS

15    MATERIALS AND SPILLS."      THEY'RE USED FOR PALLIATIVE CARE.        I

16    MEAN I CAN GO ON IF YOU WANT.      I'M SURE YOU WANT TO TALK ABOUT

17    IT SPECIFICALLY.

18         Q     YES.    YOU SAY THAT THE NCCHC ALLOWS THE USE OF

19    INMATE WORKERS FOR CLEANING UP IN MEDICAL AREAS, ON-SITE

20    PALLIATIVE CARE, AND AGAIN CLEANING THE HEALTH SERVICES UNIT

21    OR HANDLING BIOHAZARDOUS WASTE; IS THAT CORRECT?

22         A     AND PC-06, THE NEXT BULLET.

23         Q     AND THAT'S, FOR EXAMPLE, PROVIDED THERE'S SUFFICIENT

24    SUPERVISION, INMATES MAY BE USED TO CLEAN THE HEALTH SERVICES

25    UNIT OR HANDLE BIOHAZARDOUS WASTE?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        74
                                                 11/04/22 Page 74 of 115

1          A     YES.

2          Q     WERE YOU AWARE THAT THE NCCHC DOES ALLOW THE USE OF

3     INMATE ORDERLIES TO PROVIDE ASSISTANCE WITH ACTIVITIES OF

4     DAILY LIVING IN ASSISTED LIVING DORMITORIES?

5          A     I DIDN'T INCLUDE THAT IN MY REPORT.

6          Q     SO YOUR BELIEF THAT THEY PROHIBIT -- STRIKE THAT.

7                AND ONE MORE QUESTION ABOUT THE NURSING UNITS.            YOU

8     ACKNOWLEDGE THAT IT'S DIFFICULT TO SEE ALL OF NURSING UNIT 2

9     FROM THE NURSING STATION, CORRECT?

10         A     IT'S A BIG NURSING UNIT AND UNLESS YOU STAND UP TO

11    THE WINDOW AND DIRECTLY LOOK.      YOU'RE NOT GOING TO BE ABLE TO

12    SEE IT FROM THE FRONT OF YOUR DESK.

13         Q     AND THEN ON THE MEDICAL DORMITORIES, OTHER THAN THE

14    ORDERLIES ASSISTING AT ADL'S THERE'S NO MEDICAL CARE PROVIDED

15    IN THE MEDICAL DORMITORIES, CORRECT?        ASH 1 THROUGH 4.

16         A     I BELIEVE THAT THE NURSE PRACTITIONERS ROTATE

17    THROUGH THERE WHEN THEY DECIDE AT THE MORNING MEETING WHERE

18    THEY'RE GOING TO WORK.      I THINK THEY ROTATE AND DO ROUNDS

19    THERE, BUT I'M NOT CERTAIN ABOUT ANY OTHER POLICY ABOUT THEM

20    SEEING PATIENTS THERE.

21         Q     AND THEN DID YOU SEE ANY RECORD EVIDENCE OF NURSE

22    PRACTITIONERS DOING ROUNDS IN ANY OF THE MEDICAL DORMITORIES?

23         A     I DIDN'T SEE ANY DOCUMENTATION OTHER THAN THE FACT

24    THAT THE -- THE MORNING MEETING HAD THE INFORMATION ABOUT

25    THOSE PATIENTS THAT WERE DISTRIBUTED AMONG ALL OF THE NURSE
     Case 3:15-cv-00318-SDD-RLB   Document 753                        75
                                                 11/04/22 Page 75 of 115

1     PRACTITIONERS, MEDICAL DIRECTOR AND ALL THE OTHER PEOPLE THAT

2     ATTENDED THAT IMPORTANT MEETING.

3          Q     AND THERE'S BEEN NO DEPOSITION OR TRIAL TESTIMONY

4     SUGGESTING THAT NURSE PRACTITIONERS EVER GO TO THE ASSISTED

5     LIVING DORMITORIES?

6          A     I THINK YOU'RE RIGHT ABOUT THAT.

7          Q     YOUR BELIEF THAT NURSE PRACTITIONERS GO TO THE

8     ASSISTED LIVING DORMITORIES IS SOLELY BASED ON YOUR

9     EXTRAPOLATION FROM A DOCUMENT LISTING PATIENTS IN THE ASSISTED

10    LIVING DORMITORIES AT THE MORNING MEETING?

11         A     YES.

12         Q     LET'S TALK ABOUT MORTALITY REVIEWS -- ACTUALLY,

13    BEFORE THAT, LET'S JUST TALK ABOUT SICK CALL FOR A MOMENT.

14    YOU ACKNOWLEDGE THAT OTOSCOPES, STETHOSCOPES AND

15    SPHYGMOMANOMETERS ARE NOT ALWAYS AVAILABLE FOR SICK CALL?

16         A     YES.

17         Q     THAT'S THE FIRST TIME IN MY LIFE I EVER PRONOUNCED

18    THAT WORD CORRECTLY.

19               WHEN YOU SAID YESTERDAY THAT AT SOME OTHER

20    FACILITIES LPN'S CONDUCT SICK CALL, YOU WEREN'T SUGGESTING

21    THAT THE FINAL ENCOUNTER FOR PATIENTS AT OTHER FACILITIES IS

22    CONDUCTED BY LPN'S, WERE YOU?

23         A     OH, I SEE IT ALL THE TIME.       THAT'S PART OF THE

24    REASON I HAVE SO MANY CASES THAT I'VE WORKED ON; IS THE LPN'S

25    ARE HANDLING SICK CALL AND DON'T KNOW WHAT THEY'RE DOING.
     Case 3:15-cv-00318-SDD-RLB    Document 753                        76
                                                  11/04/22 Page 76 of 115

1          Q      SO WHEN YOU SAID YESTERDAY THAT AT SOME OTHER

2     FACILITIES LPN'S CONDUCT SICK CALL YOU WERE DESCRIBING A

3     PRACTICE THAT RESULTS IN PROBLEMS?

4          A      YEAH, AND IT'S PREVALENT THROUGHOUT THE UNITED

5     STATES.

6          Q      AND LET'S USE CALIFORNIA AS AN EXAMPLE WHERE YOU'VE

7     PRACTICED.    IF A PERSON PUTS IN A SICK CALL REQUEST THAT

8     REQUIRES SOMETHING MORE THAN OVER-THE-COUNTER TREATMENT, THEY

9     SEE A PROVIDER, CORRECT?

10         A      THAT'S NOT TOTALLY TRUE.        THE SICK CALL REQUESTS ARE

11    FOR MULTIPLE REASONS.       IT MAY BE THAT THEY DIDN'T GET THEIR

12    MEDICATIONS.    THEY WANT TO SEE THE DENTIST.        THEY WANT TO SEE

13    THE PODIATRIST.      THERE ARE LOTS OF DIFFERENT REASONS THAT ARE

14    CARED FOR WHEN THE NURSE TRIAGES THOSE AND SHE TRIAGES THEM.

15    SHE SENDS THEM IN ONE DIRECTION OR ANOTHER DIRECTION AND SOME

16    OF THOSE NEED TO BE SEEN BY THE MEDICAL PROVIDER WHO CAN

17    DIAGNOSE AND TREAT.

18         Q      RIGHT.    YOU SAID PODIATRIST.     THAT'S A MEDICAL

19    PROVIDER FOR EXAMPLE?

20         A      UH-HUH.

21         Q      DENTIST IS A MEDICAL PROVIDER; DENTAL MEDICINE

22    PROVIDER?

23         A      YES.

24         Q      ASIDE FROM MEDICATION REFILLS OR A BLISTER OR

25    SOMETHING THAT CAN RECEIVE OVER-THE-COUNTER TREATMENT, ALL
     Case 3:15-cv-00318-SDD-RLB    Document 753                        77
                                                  11/04/22 Page 77 of 115

1     SICK CALL REQUESTS IN CALIFORNIA END IN A PROVIDER SEEING THE

2     PATIENT, CORRECT?

3          A     WELL, THE RN'S CAN HANDLE CERTAIN THINGS WITHIN

4     THEIR SCOPE OF PRACTICE.       THE INMATE MAY SAY THAT THEY WANT TO

5     HAVE THEIR DRESSING CHANGED OR THEIR CALLUSES TRIMMED OR THEIR

6     TOENAILS TRIMMED.     THERE ARE LOTS OF REASONS THAT THE RN CAN

7     HANDLE THAT.

8          Q     THE STANDARD OF CARE IS IF IT IS NOT SOMETHING THAT

9     A NURSE CAN TREAT PURSUANT TO A NURSING PROTOCOL OR ITS SCOPE

10    OR LICENSE, THE PATIENT SEES A PROVIDER WHEN THEY MAKE SICK

11    CALL REQUESTS, CORRECT?

12         A     CORRECT.

13         Q     LET'S TALK ABOUT MORTALITY REVIEWS.          LSP MORTALITY

14    REVIEWS ARE A SHORT NARRATIVE SUMMARY OF THE CIRCUMSTANCES

15    SURROUNDING THE DEATH, CORRECT?

16         A     NOT ALWAYS SHORT, BUT THEY'RE A NARRATIVE SUMMARY.

17    I THINK EXPLICATORY IS WHAT I WROTE IN MY REPORT.

18         Q     YOU BELIEVE THAT MORTALITY REVIEWS SHOULD INCLUDE A

19    CRITICAL REVIEW OF THE CARE THAT PROCEEDED THE DEATH, CORRECT?

20         A     YES.

21         Q     YOU DIDN'T SEE ANY MORTALITY REVIEWS AT LSP THAT

22    INCLUDED A CRITICAL REVIEW OF THE CARE THAT PROCEEDED THE

23    DEATH, CORRECT?

24         A     WOULD YOU REPEAT THAT?

25         Q     ABSOLUTELY.      YOU DIDN'T SEE ANY MORTALITY REVIEWS AT
     Case 3:15-cv-00318-SDD-RLB   Document 753                        78
                                                 11/04/22 Page 78 of 115

1     LSP THAT INCLUDED A CRITICAL REVIEW OF THE CARE THAT PROCEEDED

2     THE DEATH, CORRECT?

3          A     I DON'T BELIEVE THEY WERE PARTICULARLY CRITICAL.

4          Q     THE MORTALITY REVIEWS THAT YOU REVIEWED DIDN'T ASK

5     WHETHER ANY PROBLEMS THAT AROSE IN THE COURSE OF A PATIENT'S

6     CARE COULD BE CORRECTED?

7          A     NONE OF THAT WAS DOCUMENTED.       WHETHER IT OCCURRED OR

8     NOT AT THE MORTALITY CONFERENCE I'M UNCERTAIN.

9          Q     FOCUSING FIRST ON THE WRITTEN MORTALITY REVIEWS,

10    NONE OF THOSE ASKED WHETHER ANY PROBLEMS THAT AROSE IN THE

11    COURSE OF A PATIENT'S CARE COULD BE CORRECTED, CORRECT?

12         A     YES.

13         Q     AND NONE OF THOSE WRITTEN REVIEWS -- LET ME REPHRASE

14    THAT.    IN AT LEAST SOME OF THE CASES WHERE YOU FOUND STANDARD

15    OF CARE VIOLATIONS, YOU DIDN'T THINK THE MORTALITY REVIEWS

16    WERE ADEQUATE, CORRECT?

17         A     CORRECT.

18         Q     FOR EXAMPLE, PATIENT NUMBER 32, THAT'S THE PATIENT

19    WHERE YOU FOUND A STANDARD OF CARE VIOLATION WHEN THE EMT'S

20    DIDN'T CONSULT A PROVIDER ABOUT HIS CHEST PAIN AND WHEN AN EKG

21    THAT WAS ORDERED NEVER HAPPENED, YOU DON'T BELIEVE THAT

22    MORTALITY REVIEW WAS ADEQUATE?

23         A     CORRECT.

24         Q     NONE OF THE STANDARD OF CARE VIOLATIONS THAT YOU

25    IDENTIFIED IN YOUR CHART REVIEWS WERE NOTED IN THE
     Case 3:15-cv-00318-SDD-RLB   Document 753                        79
                                                 11/04/22 Page 79 of 115

1     CORRESPONDING MORTALITY REVIEWS, CORRECT?

2          A     CORRECT.

3          Q     THEN TALKING ABOUT THOSE MORTALITY REVIEW MEETINGS,

4     YOU DIDN'T SEE ANY CRITICAL REVIEW IN THE MINUTES FROM THE

5     MORTALITY REVIEW MEETINGS EITHER, DID YOU?

6          A     CORRECT.

7          Q     YOU TESTIFIED YESTERDAY THAT ONE OF THE THINGS THAT

8     IMPRESSED YOU ABOUT LSP LEADERSHIP WAS THAT WARDEN HOOPER

9     ATTENDS THE MORTALITY REVIEW MEETINGS, CORRECT?

10         A     YES.

11         Q     IF WE COULD PULL UP PLAINTIFFS' EXHIBIT 9 STARTING

12    AT PAGE 1.

13               THESE ARE THE MORTALITY REVIEW MEETING MINUTES FROM

14    OCTOBER 2021.     THE ATTENDEES AREN'T LISTED HERE, CORRECT?

15         A     I'M SORRY, I WAS READING IT.       WHAT DID YOU SAY?

16         Q     THE QUESTION IS, THE ATTENDEES AREN'T LISTED HERE,

17    CORRECT?

18         A     CORRECT.

19         Q     SO YOU DON'T KNOW WHETHER WARDEN HOOPER ATTENDED

20    THIS MEETING, CORRECT?

21         A     CORRECT.

22         Q     LET'S GO TO PAGE 3.     THE NOVEMBER 30TH, 2021

23    MEETING.   IS WARDEN HOOPER LISTED AS AN ATTENDEE?

24         A     NO.

25         Q     LET'S GO TO PAGE 5.     THE -- THIS MAY BE THE SAME ONE
     Case 3:15-cv-00318-SDD-RLB   Document 753                        80
                                                 11/04/22 Page 80 of 115

1     DUPLICATED.    DID I SAY NOVEMBER ON PAGE 3?       WELL, FOR THIS

2     MEETING DR. TOCE IS NOT LISTED AS AN ATTENDEE, CORRECT?

3          A     IT SAYS PAUL TOCE UP THERE.

4          Q     I'M SORRY, I SAID DR. TOCE.       I MEANT WARDEN HOOPER.

5          A     CORRECT.

6          Q     IF WE GO TO PAGE 7, THE FEBRUARY 2ND MEETING, 2022,

7     WARDEN HOOPER IS NOT LISTED?

8          A     CORRECT.

9          Q     AND THEN LET'S GO TO DEFENDANT'S EXHIBIT 4-A.             PAGE

10    1 IS FINE.

11               THIS MEETING, MARCH 15TH, 2022, WARDEN HOOPER DID

12    ATTEND, CORRECT?

13         A     YES.

14         Q     THAT OCCURRED IN THE MIDDLE OF YOUR SITE VISIT,

15    CORRECT?   YOUR SITE VISIT WAS MARCH 14TH TO MARCH 16TH.

16         A     I WASN'T THERE ON THE 15TH IF YOU REMEMBER MY

17    TESTIMONY.    I WAS AT HEADQUARTERS THAT DAY.

18         Q     YOU WERE AT LSP ON MARCH 14TH AND MARCH 16TH?

19         A     AND LAST MONDAY.

20         Q     FOR YOUR SITE VISIT THAT OCCURRED MARCH 14TH AND

21    MARCH 16TH?

22         A     YES.

23         Q     AND MARCH 15TH WAS A PORTION OF YOUR SITE VISIT THAT

24    OCCURRED AT DOC HEADQUARTERS?

25         A     YES.
     Case 3:15-cv-00318-SDD-RLB    Document 753                        81
                                                  11/04/22 Page 81 of 115

1          Q     SO THAT MEETING WARDEN HOOPER ATTENDED, CORRECT?

2          A     THE MARCH 15TH MEETING, YES.

3          Q     YES, THE MARCH 15TH MORTALITY REVIEW.          AND THEN IF

4     WE GO TO PAGE 5.    THE APRIL 28TH, 2022 MEETING, WARDEN HOOPER

5     WAS NOT IN ATTENDANCE?

6          A     CORRECT.

7          Q     AND PAGE 6.      THE MAY 26TH, 2022 MEETING, WARDEN

8     HOOPER IS NOT IN ATTENDANCE?

9          A     CORRECT.

10         Q     SO AS FAR AS THE RECORDS SHOW, THE ONLY TIME HE'S

11    EVER ATTENDED THE MORTALITY REVIEW MEETING WAS THE MEETING

12    THAT OCCURRED DURING THE TIME PERIOD OF YOUR SITE VISIT?

13         A     CORRECT.

14         Q     ELECTRONIC MEDICAL RECORDS, THOSE WOULD IMPROVE CARE

15    AT LSP, CORRECT?

16         A     I BELIEVE SO.

17         Q     AND THERE'S MORE TO GETTING ELECTRONIC MEDICAL

18    RECORDS READY THAN JUST INSTALLING THE HARDWARE, CORRECT?

19         A     YES.

20         Q     YOU SAID YESTERDAY THAT YOU PERSONALLY SPENT 1,000

21    HOURS WORKING TO IMPLEMENT THE ELECTRONIC MEDICAL RECORDS WHEN

22    THEY WERE INTRODUCED IN CALIFORNIA?

23         A     I MAY NOT HAVE BEEN CLEAR.        MY 1,000 HOURS WAS AS A

24    MEDICAL CONSULTANT TO HELP PROGRAM THE SOFTWARE SO IT WOULD

25    WORK IN THE PRISON SETTING.       THE IMPLEMENTATION IS HARDWARE
     Case 3:15-cv-00318-SDD-RLB   Document 753                        82
                                                 11/04/22 Page 82 of 115

1     AND SOFTWARE AND THEN TRAINING AND ONGOING TRAINING AND THAT

2     SORT OF THING.

3          Q     RIGHT.   AFTER THE HARDWARE IS INSTALLED, TRAINING ON

4     THE ELECTRONIC MEDICAL RECORDS TAKES SEVERAL MONTHS, CORRECT?

5          A     YES.

6          Q     AND IMPLEMENTATION TAKES SEVERAL MORE MONTHS AFTER

7     THAT?

8          A     WELL, IMPLEMENTATION OCCURS -- WELL, THEY OCCUR

9     SIMULTANEOUSLY.     SO IT'S GOING TO TAKE SEVERAL MONTHS TO GET

10    UP TO SPEED ONCE THIS THING IS STARTED FOR LOTS OF DIFFERENT

11    REASONS, DEPENDING UPON HOW THEY PUT IN OR IF THEY PUT IN PAST

12    INFORMATION OR THEY START FROM SCRATCH, WHICH IS WHAT I

13    RECOMMEND.

14         Q     RIGHT.   THE FACILITY NEEDS TO DECIDE WHAT TO DO WITH

15    THE EXISTING MEDICAL RECORDS, CORRECT?

16         A     YES.

17         Q     AND THOSE ARE DETERMINATIONS THAT NEED TO BE MADE AT

18    THE HEADQUARTERS LEVEL?

19         A     YEAH -- WELL, IT'S GOING TO TAKE PLACE -- I MEAN

20    IT'S GOING TO BE A COLLABORATION ABOUT HOW IT'S HANDLED.

21         Q     AND DID YOU SEE ANY EVIDENCE THAT THOSE

22    DETERMINATIONS HAVE BEEN MADE YET?

23         A     I DIDN'T INVESTIGATE THE SIX OUT OF EIGHT SITES THAT

24    ARE ALREADY UP ON THE MEDICAL RECORD AND HOW THEY HANDLED IT.

25    I NEGLECTED TO ASK STACYE RODRIGUEZ AND RANDY LAVESPERE THOSE
     Case 3:15-cv-00318-SDD-RLB   Document 753                        83
                                                 11/04/22 Page 83 of 115

1     QUESTIONS WHEN WE SPENT TIME AT HEADQUARTERS.

2            Q    YOU READ -- YOU READ DR. LAVESPERE'S DEPOSITIONS,

3     CORRECT?

4            A    YES.

5            Q    AND DO YOU RECALL HIM TESTIFYING THAT THEY HAVEN'T

6     MADE THAT DECISION YET FOR LSP?

7            A    NO.

8            Q    BUT YOU HAVE NO REASON TO BELIEVE THAT THEY HADN'T

9     MADE THAT DECISION FOR LSP?

10           A    NO.    IT'S SPECULATION ABOUT WHAT'S GOING ON WITH

11    THAT.

12           Q    LET'S TALK ABOUT SOME PATIENTS WHO YOU DISCUSSED ON

13    DIRECT EXAMINATION.      FIRST, PATIENT NUMBER 54.      THAT'S THE

14    PATIENT WHO HAD CHEST PAIN AND TWO ABNORMAL EKG'S AROUND 6:30

15    P.M. AND WASN'T SENT TO THE HOSPITAL UNTIL AROUND 1 A.M.; IS

16    THAT CORRECT?

17           A    I'D HAVE TO SEE THE CHART.      I DON'T HAVE A MEMORY

18    FOR THAT.

19           Q    SURE.   LET'S GO TO, FOR EXAMPLE, JOINT EXHIBIT 54 AT

20    407.

21                DOES THIS -- TAKE A MOMENT TO LOOK AT THIS CHART AND

22    LET ME KNOW IF THAT REFRESHES YOUR RECOLLECTION ABOUT THIS

23    PATIENT.

24           A    YES.    I'M PREPARED TO TAKE QUESTIONS ON THIS PAGE.

25           Q    SO JUST AGAIN, THAT'S THE PATIENT WHO HAD CHEST PAIN
     Case 3:15-cv-00318-SDD-RLB   Document 753                         84
                                                  11/04/22 Page 84 of 115

1     AND TWO ABNORMAL EKG'S AROUND 6:30 P.M. AND WASN'T SENT TO THE

2     HOSPITAL TO AROUND 1 A.M., CORRECT?

3          A      THAT'S NOT EVIDENT ON THIS PAGE.

4          Q      SO YOU DON'T RECALL THIS PATIENT WHO YOU TESTIFIED

5     ABOUT YESTERDAY AND WHAT -- WHEN ULTIMATELY THEY SENT HIM TO

6     THE HOSPITAL FOR EXAMPLE?

7          A      EXACTLY.   PLEASE SHOW ME THE PAGES THAT YOU'RE

8     REFERRING TO.      THIS IS THE EMERGENCY MEDICAL REPORT AND WHAT

9     HAPPENED.    YOU ASKED ABOUT EKG'S.        I DON'T SEE THE EKG'S.     IT

10    JUST SHOWS THAT ONE WAS DONE.

11         Q      LET ME REPHRASE IT THIS WAY THEN.        THIS IS THE

12    PATIENT WHO HAD CHEST PAIN AND YOU RECALL AN EKG WAS DONE, A

13    TROPONIN WAS DONE AND HE WAS THEN SENT TO THE NURSING UNIT,

14    CORRECT?

15         A      YES.

16         Q      AND YOU TESTIFIED ON DIRECT THAT THE DECISION NOT TO

17    SEND HIM OUT UNTIL THE POSITIVE TROPONIN AT 1 A.M. WAS A

18    PRIMARY CARE DECISION BASED ON CONSULTATION WITH THE

19    CARDIOLOGIST FOR RECURRENT ANGINA, CORRECT?

20         A      CHRONIC STABLE ANGINA I BELIEVE IS WHAT I SAID.

21         Q      LET'S ACTUALLY GO TO PAGE 695.        AND HERE'S THE SAME

22    ATU NOTE WITH A NOTE FROM, I BELIEVE THAT'S NURSE PRACTITIONER

23    MIKE WALLIS ADDED, CORRECT?      WELL, WITH A NOTE FROM A PROVIDER

24    ADDED?

25         A      COULD YOU MAKE IT A LITTLE BIGGER PLEASE?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        85
                                                 11/04/22 Page 85 of 115

1          Q     SURE.   WHY DON'T WE BLOWUP THE BOTTOM RIGHT-HAND

2     PART.

3          A     YES.

4          Q     THERE'S NO DOCUMENTATION OF A CONSULTATION WITH A

5     CARDIOLOGIST, IS THERE?

6          A     NO, BUT THAT'S OUT OF CONTEXT.

7          Q     AND IF WE GO TO PAGE 194.       THESE ARE THE NURSING

8     UNITS FROM ONCE HE WAS SENT TO THE NURSING UNIT -- I'M SORRY.

9     THE NURSING NOTES FROM ONCE HE WAS SENT TO THE NURSING UNIT,

10    CORRECT?

11         A     YES.

12         Q     AND THERE'S NO DOCUMENTATION OF A CONSULTATION WITH

13    THE CARDIOLOGIST, CORRECT?

14         A     NO.

15         Q     AND IF WE GO TO PAGE SIX -- BEFORE WE LEAVE THAT,

16    THERE ARE -- WELL -- LET'S GO TO PAGE 693.         THESE ARE THE

17    PHYSICIAN'S ORDERS FOR WHEN HE WAS ADMITTED TO THE NURSING

18    UNIT, CORRECT?

19         A     YES.

20         Q     HERE AGAIN THERE'S NO DOCUMENTATION THAT STAFF AT

21    LSP CONTACTED A CARDIOLOGIST?

22         A     CORRECT.

23         Q     AND YOU SAID YESTERDAY THAT AT THE HOSPITAL THEY

24    CHECKED HIS HEART AND DIDN'T FIND ANYTHING, CORRECT?

25         A     THEY CATH'D HIM AND IT CAME UP NEGATIVE.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        86
                                                 11/04/22 Page 86 of 115

1          Q     IF WE GO TO PAGE 682.     THIS IS HIS NEXT FOLLOW-UP IN

2     THE GENERAL MEDICINE CLINIC.      COULD WE ZOOM IN ON THE TOP

3     THREE LINES ON THE RIGHT SIDE OF THE HANDWRITTEN.

4                DR. MATHIS, I BELIEVE THAT SAYS, "PATIENT WAS SEEN

5     AFTER LANE HOSPITAL ADMISSION FOR HI/CAD.         HAD TWO NEW STINTS

6     PLACED."   DID I READ THAT CORRECTLY?

7          A     WELL, IT'S MI, SLASH --

8          Q     -- SORRY, MI, YES.

9          A     WHEN I REVIEWED THE MEDICAL RECORD WITH RETAINING

10    COUNSEL FROM LANE I DIDN'T SEE THAT THERE WERE STINTS PLACED.

11    THEY DID THE CATH AND IT CAME UP NEGATIVE.

12         Q     JUST TO CHECK, DID YOU SAY YOU REVIEWED WITH

13    RETAINING COUNSEL FROM LANE HOSPITAL?        YOU REVIEWED WITH

14    DEFENSE COUNSEL REVIEWING THE LANE HOSPITAL REPORT, IS THAT

15    WHAT YOU MEANT TO SAY?

16         A     I'M GETTING CONFUSED.     HE'S RETAINING COUNSEL.

17         Q     YES.   IT SOUNDED TO ME LIKE YOU SAID YOU REVIEWED IT

18    WITH COUNSEL FROM LANE HOSPITAL.      I WAS CHECKING THAT.

19         A     RETAINING COUNSEL.     AND I REVIEWED THE LANE MEDICAL

20    RECORDS AND I BELIEVE THOSE RECORDS SAID THAT HE WAS CATH'D

21    AND THAT THEY DIDN'T PUT IN NEW STINTS.         HE HAD STINTS

22    PREVIOUSLY AND THEY DOCUMENT THEY WERE OPEN -- I BELIEVE THIS

23    IS THE SAME GUY THAT HAD PREVIOUS BYPASS SURGERY, AND THEY

24    WERE OPEN, SO I DON'T BELIEVE THERE WAS ANY ACTUAL

25    INTERVENTION -- EVALUATION, NOT INTERVENTION.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        87
                                                 11/04/22 Page 87 of 115

1          Q     SO THE DOCTOR SEEING THE PATIENT IN THE GENERAL

2     MEDICINE CLINIC WAS MISTAKEN?

3          A     I BELIEVE SO.

4          Q     LET'S GO TO PATIENT NUMBER 25.        WE TALKED ABOUT THIS

5     PATIENT EARLIER BRIEFLY.      THIS WAS A PATIENT WHO HAD A

6     SYNCOPAL EPISODE AND THEN DIED OF PULMONARY ARREST A FEW

7     MONTHS LATER; IS THAT CORRECT?

8          A     YOU'LL HAVE TO SHOW ME.

9          Q     SURE.   IF YOU WANT TO JUST GO TO -- PAGE 172 OF YOUR

10    REPORT ON THE PDF.     FEEL FREE TO REVIEW THAT AND THEN TELL ME

11    WHEN YOU'RE READY.

12         A     YES.    I KNOW WHO WE'RE TALKING ABOUT NOW.

13         Q     AND THEN IF WE GO TO PAGE 174, YOU SHOWED THE COURT

14    AN ARTICLE FROM UPTODATE THAT SAID CARE MUST BE TAKEN IN

15    ATTRIBUTING SYNCOPE TO AORTIC STENOSIS; IS THAT RIGHT?

16         A     CORRECT.

17         Q     THAT WAS AN ARTICLE ABOUT CLINICAL MANIFESTATIONS OF

18    AORTIC STENOSIS?

19         A     YES.

20         Q     BUT YOU DIDN'T SHOW THE COURT THE ACTUAL UPTODATE

21    ARTICLE ABOUT EVALUATING PATIENTS WITH SYNCOPE, DID YOU?

22         A     THIS WAS ABOUT SYNCOPE.

23         Q     THIS WAS --

24         A     IT WAS ABOUT AORTIC STENOSIS, BUT WHEN WE -- BECAUSE

25    THAT WAS HIS CAUSE OF DEATH, WAS AORTIC STENOSIS.           SO I WAS
     Case 3:15-cv-00318-SDD-RLB    Document 753                        88
                                                  11/04/22 Page 88 of 115

1     TRYING TO GET TO WHY -- IF SYNCOPE, AS DEMONSTRATED, WAS

2     NON-EXERTIONAL, JUST STANDING UP, WAS CONSISTENT WITH AORTIC

3     STENOSIS.    AND CONSEQUENTLY THE ADMONITION ABOUT MY LAST

4     BULLET POINT IS WHAT I BROUGHT UP.

5          Q      RIGHT.   THAT ARTICLE SAYS, "CARE MUST BE TAKEN IN

6     ATTRIBUTING THESE SYMPTOMS TO A-S, SINCE MOST PATIENTS WITH

7     THESE SYMPTOMS DO NOT HAVE A-S," CORRECT?

8          A      YES.

9          Q      DOES THAT SENTENCE SAY ANYTHING ABOUT MAKING A

10    DIFFERENTIAL DIAGNOSIS FOR WHAT THE PATIENT HAS?

11         A      NO.

12         Q      LET'S LOOK AT WHAT I'M MARKING FOR IDENTIFICATION AS

13    PLAINTIFFS' EXHIBIT 68.

14                MR. DUBNER:     YES, YOU CAN PUT THAT UP ON THE SCREEN.

15                IF WE CAN SWITCH TO THE ELMO.        THANK YOU.

16    BY MR. DUBNER:

17         Q      DO YOU RECOGNIZE THIS AS BEING WHAT LOOKS LIKE A

18    PRINTOUT FROM UPTODATE?

19         A      YES.

20         Q      THE TITLE OF THE ARTICLE IS SYNCOPE IN ADULTS,

21    CLINICAL MANIFESTATIONS AND INITIAL DIAGNOSTIC EVALUATION,

22    CORRECT?

23         A      YES.

24         Q      I'M GOING TO GO TO PAGE 17.       IT STATES, "THE INITIAL

25    EVALUATION OF PATIENTS WITH TRANSIENT LOSS OF CONSCIOUSNESS
     Case 3:15-cv-00318-SDD-RLB   Document 753                        89
                                                 11/04/22 Page 89 of 115

1     AND SUSPECTED SYNCOPE SHOULD FOCUS ON DIFFERENTIATION OF TRUE

2     SYNCOPE FROM OTHER EVENTS, RISK STRATIFICATION AND ASSESSMENT

3     OF POTENTIAL CAUSES," CORRECT?

4          A     YES.

5          Q     IT SAYS, "THE EVALUATION SHOULD GENERALLY INCLUDE A

6     COMPREHENSIVE HISTORY, INCLUDING INFORMATION ABOUT EVENTS,

7     PRE-EXISTING CONDITIONS, MEDICATIONS AND FAMILY HISTORY,

8     WITNESS OBSERVATIONS, IF AVAILABLE, A PHYSICAL EXAMINATION,

9     WHICH MAY INCLUDE CAREFUL CAROTID SINUS MASSAGE IN OLDER

10    PATIENTS AND REVIEW OF ECG'S.      DOCUMENTATION OF MEDICATIONS

11    THAT THE PATIENT IS TAKING IS AN IMPORTANT ELEMENT OF THE

12    INITIAL EVALUATION.     A TRANSTHORACIC ECHOCARDIOGRAM IS USEFUL

13    TO EVALUATE FOR STRUCTURAL HEART DISEASE IF THIS IS

14    SUSPECTED."

15               DID I READ THAT CORRECTLY?

16         A     YOU DID.

17         Q     AND IF WE GO TO PAGE 18 UNDER DIFFERENTIAL

18    DIAGNOSIS.    IT SAYS, "DISTINGUISHING SYNCOPE FROM OTHER

19    CONDITIONS WITH OR WITHOUT TLOC, TOTAL LOSS OF CONSCIOUSNESS,

20    REQUIRES CAREFUL DIAGNOSTIC ASSESSMENT."

21               DID I READ THAT CORRECT?

22         A     YES.

23         Q     THEN IF WE LOOK AT THE PARAGRAPH THAT SAYS

24    ADDITIONAL TESTING.     IT SAYS, "ADDITIONAL DIAGNOSTIC

25    EVALUATION IS INDIVIDUALIZED BASED ON THE SUSPECTED ETIOLOGY
     Case 3:15-cv-00318-SDD-RLB     Document 753                        90
                                                   11/04/22 Page 90 of 115

1     OF SYNCOPE."    AND THEN AT THE END OF THE PARAGRAPH, "MANY

2     PATIENTS HAVE MULTIPLE COMORBIDITIES THAT CAN CONTRIBUTE TO

3     TOTAL LOSS OF CONSCIOUSNESS AND THUS MULTIPLE PLAUSIBLE CAUSES

4     OF SYNCOPE MAY REQUIRE CAREFUL ASSESSMENT."           AND THEN IT

5     REFERENCES TWO ADDITIONAL ARTICLES, INCLUDING ONE TITLED

6     SYNCOPE IN ADULTS: RISK ASSESSMENT AND ADDITIONAL DIAGNOSTIC

7     EVALUATION; IS THAT CORRECT?

8          A     YES.

9                MR. ARCHEY:      THIS IS 68.

10               MR. DUBNER:      PLAINTIFFS' EXHIBIT 68, YES.

11               AND WE'LL MOVE PLAINTIFFS' EXHIBIT 68 INTO EVIDENCE.

12               THE COURT:       MR. ARCHEY?

13               MR. ARCHEY:      NO OBJECTION, YOUR HONOR.

14               THE COURT:       ADMITTED.

15    BY MR. DUBNER:

16         Q     AND THEN IF WE CAN PULL UP JOINT EXHIBIT 25 AT 32.

17               DOCTOR, JOINT EXHIBIT 25 AT 32, THIS IS THE ENTIRETY

18    OF THE EVALUATION OF THE SYNCOPAL EPISODE; IS THAT CORRECT?

19         A     WELL, IT'S WHAT HE WROTE.         I DON'T KNOW IF IT'S THE

20    ENTIRETY OF THE EVALUATION.        WE HAVE TESTIMONY OF WHAT THEY DO

21    WHEN THEY SEE SOMEBODY.

22         Q     THERE'S NOTHING ELSE DOCUMENTED IN THE MEDICAL

23    RECORD, CORRECT?

24         A     THAT'S CORRECT.

25         Q     AND THEN IF WE PULL UP PATIENT NUMBER 38.            LET'S
     Case 3:15-cv-00318-SDD-RLB   Document 753                        91
                                                 11/04/22 Page 91 of 115

1     START AT PAGE 23.     I'M SORRY, IS IT 38 OR 28?       IT'S 38.

2                YES, AT PAGE 23.

3                THIS IS THE PATIENT WHO WENT INTO THE NURSING UNIT

4     FOR LOVENOX BRIDGING AND DIED OF PNEUMONIA; DO YOU RECALL THAT

5     PATIENT?

6          A     I DIDN'T CATCH THE FIRST PART OF YOUR QUESTION.

7          Q     MY APOLOGIES.    THIS IS THE PATIENT WHO WENT INTO THE

8     NURSING UNIT FOR LOVENOX BRIDGING AND THEN DIED OF PNEUMONIA,

9     CORRECT?

10         A     YES.

11         Q     IN YOUR DIRECT TESTIMONY YOU DISCUSSED THIS PAGE OF

12    LAB RESULTS, PAGE 23, AND WHY YOU THOUGHT THEY WERE

13    NONSIGNIFICANT, CORRECT?

14         A     YES.

15         Q     IF WE COULD GO BACK TO PAGE 22.

16               IN YOUR DIRECT TESTIMONY YOU DIDN'T SAY A SINGLE

17    THING ABOUT THESE LAB RESULTS, DID YOU?

18         A     NO.

19         Q     AND THEN IF WE GO TO PAGE 82.

20               IF WE LOOK DOWN AT THE MARCH 7TH, 2019 NOTE

21    AT 6:20 A.M., IN YOUR DIRECT TESTIMONY YOU DIDN'T SAY A SINGLE

22    THING ABOUT DR. TOCE'S ACTIONS WHEN HE WAS TOLD THAT THE

23    PATIENT HAD A BLOOD PRESSURE OF 65/40 WITH AN OXYGEN

24    SATURATION OF 79 PERCENT, DID YOU?

25         A     CORRECT.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        92
                                                 11/04/22 Page 92 of 115

1            Q   AND LET'S TALK ABOUT PATIENT NUMBER 36.          IF WE COULD

2     GO TO PAGE 106.

3                THIS IS THE PATIENT WITH COPD WHO PRESENTED TO THE

4     ATU AT 8:20 IN THE MORNING, WAS SENT TO THE NURSING UNIT

5     AROUND 11:30 A.M. AND WENT INTO CARDIAC ARREST BY NOON.              DO

6     YOU RECALL THAT?

7            A   NO.

8            Q   LET ME REPHRASE.     THIS IS A PATIENT WITH COPD WHO

9     PRESENTED TO THE ATU AT 8:20 IN THE MORNING AND WAS SENT TO

10    THE NURSING UNIT AROUND 11:30 A.M.?

11           A   YES, IT APPEARS THAT WAY.

12           Q   AND IF WE GO TO PAGE 107, THIS PATIENT PRESENTED

13    BACK TO THE ATU PULSELESS AND APNEIC AT NOON, CORRECT?

14           A   YES.

15           Q   SO LET'S RETURN TO PAGE 106.

16               NOW IN YOUR TESTIMONY YESTERDAY YOU READ HIS VITAL

17    SIGNS AT 8:20 A.M. AND SAID HIS VITAL SIGNS HAD IMPROVED

18    BY 9:25 A.M., CORRECT?

19           A   YES.

20           Q   COULD WE HIGHLIGHT THE LAST TWO LINES OF THE CHIEF

21    COMPLAINT SECTION?

22               IN YOUR TESTIMONY YESTERDAY YOU DIDN'T DISCUSS HIS

23    VITAL SIGNS AT 11:30 WHEN HE WAS SENT TO THE NURSING UNIT, DID

24    YOU?

25           A   NO.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        93
                                                 11/04/22 Page 93 of 115

1          Q     AT 11:30 HIS BLOOD PRESSURE WAS 228/112; HIGHER THAN

2     IT WAS AT 8:20 A.M.?

3          A     YES.

4          Q     AND ALTHOUGH THE OXYGEN SATURATION --

5          A     WELL, NO.    THE SYSTOLIC IS HIGHER.       THE DIASTOLIC IS

6     A LITTLE LOWER.

7          Q     THE SYSTOLIC BLOOD PRESSURE IS HIGHER, CORRECT?

8          A     YES.

9          Q     IT'S QUITE ELEVATED?

10         A     WELL, IT'S STILL ELEVATED, BUT THE RESPIRATORY RATE

11    IS DIMINISHED.

12         Q     THE RESPIRATORY RATE HAS DIMINISHED BUT IS STILL

13    ELEVATED, CORRECT?

14         A     YES.

15         Q     ALTHOUGH THE OXYGEN SATURATION RATE ISN'T LISTED FOR

16    11:30, AT 10:40 IT WAS 88 PERCENT, DOWN 10 PERCENT

17    FROM 9:25 A.M., CORRECT?

18         A     IT'S NOT CLEAR WHETHER HE WAS ON OXYGEN AT 9:25.

19    BUT I WILL TESTIFY THAT AT 9:25 THERE WAS AN O2 STAT OF

20    98 PERCENT AND NOW IT'S, AT LEAST AT 10:40, IT WAS 88 PERCENT.

21         Q     AND THE 10:40 AND 11:30 VITAL SIGNS, THOSE ARE THE

22    LATEST VITAL SIGNS WHEN THE PATIENT WAS SENT FROM THE ATU TO

23    THE NURSING UNIT?

24         A     YES.

25         Q     LET'S TALK ABOUT PATIENT 29.       THIS IS THE PATIENT
     Case 3:15-cv-00318-SDD-RLB   Document 753                        94
                                                 11/04/22 Page 94 of 115

1     WHO HAD A 108.2 DEGREE FEVER; DO YOU RECALL THAT PATIENT?

2          A     OH, YES.

3          Q     IF A PATIENT HAS A TEMPERATURE OF 108 OR HIGHER, THE

4     STANDARD OF CARE CALLS FOR THEM TO BE COOLED, RIGHT?

5          A     UNLESS THEY'RE DEAD.

6          Q     AND ASSUMING THEY'RE ALIVE, THE STANDARD OF CARE

7     CALLING FOR THEM TO BE COOLED, THAT DOESN'T CHANGE IF THE

8     PATIENT IS SUSPECTED TO HAVE USED CONTROLLED SUBSTANCES,

9     CORRECT?

10         A     NO.

11         Q     IF WE CAN PULL UP JX_29-37.

12               YOU SAID YESTERDAY THAT HE WAS DEAD WHEN THE MEDICS

13    ARRIVED?   HE WAS ALREADY PULSELESS, CORRECT?

14         A     PULSELESS, APNEIC, FIXED PUPILS, A GLASGOW COMA

15    SCALE OF THREE, WHICH IS AS LOW AS YOU CAN GET.

16         Q     IF WE LOOK AT THE THIRD LINE OF THE ASSESSMENT

17    COMMENT SECTION FROM THIS SICK CALL FORM -- EMERGENCY SICK

18    CALL FORM AT THE END OF THAT LINE -- SORRY, AT THE BEGINNING

19    OF THE NEXT LINE, THE FIRST OR THE NEXT LINE -- IT SAYS --

20         A     MAKE IT A LITTLE BIGGER FOR ME, PLEASE.

21         Q     IF WE COULD BLOW THAT UP.

22               IT SAYS, "PATIENT UNRESPONSIVE.        STERNUM RUB DONE,

23    NO RESPONSE.     CHECKED FOR A PULSE, VERY WEAK."       DID I READ

24    THAT CORRECTLY?

25         A     YES.
     Case 3:15-cv-00318-SDD-RLB   Document 753                        95
                                                 11/04/22 Page 95 of 115

1          Q     ALSO, ON THE LINE ABOVE THAT, IT SAYS HE WAS HAVING

2     AGONAL RESPIRATIONS, CORRECT?      THIS IS NOT IN THE HIGHLIGHTED.

3     IT'S JUST ABOVE THE HIGHLIGHTED ON THE LEFT --

4          A     YES.

5          Q     -- HAND SIDE.    AND AGONAL RESPIRATIONS HAPPEN BEFORE

6     YOU DIE, NOT AFTER, CORRECT?

7          A     YES.    BUT I THINK THAT'S WHAT THEY USED IN THE

8     GLASGOW COMA SCALE.     SO HE'S GOT AGONAL RESPIRATIONS.        THAT'S

9     WHY HE'S AS LOW AS HE CAN GO ON THE GCS.

10         Q     THEN IF WE GO TO PAGE 34.       THIS IS THE ATU NOTE FROM

11    WHEN THEY TRIED TO RESUSCITATE HIM, CORRECT?

12         A     YES, I BELIEVE SO.

13         Q     IT SAYS ON THE RIGHT-HAND SIDE, "NO URINE ON URINARY

14    CATHETERIZATION," IS THAT CORRECT?

15         A     YOU'LL HAVE TO MAKE IT BIGGER.        I CAN'T READ THAT.

16         Q     SURE.   IF WE COULD ZOOM IN ON THE RIGHT-HAND SIDE OF

17    THE BLUE NOTES.     IN THE MIDDLE IT SAYS, "NO URINE ON URINARY

18    CATHETERIZATION"?

19         A     YES.

20         Q     AND THEN JUST BELOW THE BLUE NOTES IT SAYS AGAIN IN

21    BLACK, "UNABLE TO GET URINE FROM CATH; NOTHING CAME OUT," IS

22    THAT CORRECT?

23         A     YES.

24         Q     SO YOUR UNDERSTANDING IS THAT THEY CATHETERIZED A

25    DEAD MAN TO GET A URINE SAMPLE FOR TOXICOLOGY?
     Case 3:15-cv-00318-SDD-RLB   Document 753                        96
                                                 11/04/22 Page 96 of 115

1          A      YES.

2          Q      YOU WORK IN THE OFFICE OF LEGAL AFFAIRS AT THE

3     CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES, CORRECT?

4          A      I STILL HAVE THAT RESPONSIBILITY, BUT I HAVEN'T HAD

5     ANY TIME SINCE MIDDLE OF JANUARY DUE TO THIS MATTER.

6          Q      AS PART OF THAT JOB, YOU PREPARE RESPONSES TO

7     LAWSUITS AND COMPLAINTS AND HABEAS CORPUS PETITIONS FILED BY

8     PATIENTS?

9          A      YES.

10         Q      AND YOU'RE PLAYING A SIMILAR ROLE IN THIS CASE,

11    CORRECT?

12         A      YES.

13         Q      YOU'VE SAT AT COUNSEL'S TABLE FOR MOST OF THE TRIAL,

14    CORRECT?

15         A      YES.

16         Q      YOU'VE ADVISED DEFENSE COUNSEL ON WHAT QUESTIONS

17    THEY SHOULD ASK?

18         A      YES.

19         Q      IN THE MIDDLE OF DEFENDANT'S EXAMINATIONS OF

20    PLAINTIFFS' EXPERTS, DEFENSE COUNSEL LEFT THE PODIUM TO COME

21    TALK TO YOU WHILE WITNESSES ARE ANSWERING, CORRECT?

22         A      YES.

23         Q      YOU SAID YESTERDAY THAT IN THE MIDDLE OF YOUR SITE

24    VISIT WHEN YOU WENT TO HEADQUARTERS YOU SPENT QUITE A BIT OF

25    TIME WITH DR. LAVESPERE, STACYE RODRIGUEZ, MELANIE BENEDICT
     Case 3:15-cv-00318-SDD-RLB   Document 753                        97
                                                 11/04/22 Page 97 of 115

1     AND JONATHAN VINING TALKING ABOUT THE COURT DECISION AND HOW

2     WE WERE GOING TO PRESENT THIS MATTER TO THE COURT, CORRECT?

3          A     YES.

4          Q     AND JONATHAN VINING, JUST FOR THE RECORD, IS THE

5     DOC'S GENERAL COUNSEL; IS THAT CORRECT?

6          A     YES, HE'S IN PRESENCE.

7          Q     AND YOU SAID THIS CASE HAS BEEN A FULL-TIME JOB FOR

8     YOU SINCE JANUARY?

9          A     YES.

10         Q     IN THAT FULL-TIME JOB YOUR PRIMARY BILLING RATE IS

11    $675 AN HOUR?

12         A     YES.

13         Q     JUST FOCUSING BACK ON YOUR JOBS IN CALIFORNIA AND

14    MARYLAND, THOSE PRISONS GOT SUED BY PATIENTS, RIGHT?

15         A     I DIDN'T CATCH THE FIRST PART.

16         Q     YES.   FOCUSING BACK ON YOUR JOBS IN CALIFORNIA AND

17    MARYLAND, THOSE PRISONS GOT SUED BY PATIENTS FROM TIME TO

18    TIME, RIGHT?

19         A     EVERY PRISON GETS SUED BY INMATES.

20         Q     RIGHT.   YOU, YOURSELF, HAVE BEEN NAMED AS A

21    DEFENDANT IN A NUMBER OF SUITS?

22         A     YES.

23         Q     FOR EXAMPLE, MULTIPLE CASES ALLEGING THAT YOU

24    PERSONALLY DENIED INCARCERATED PATIENTS APPROPRIATE PAIN

25    MEDICATION AND SURVIVED A SUMMARY JUDGMENT, CORRECT?
     Case 3:15-cv-00318-SDD-RLB     Document 753                        98
                                                   11/04/22 Page 98 of 115

1          A      I DON'T THINK THERE'S MULTIPLE CASES.          THERE WAS A

2     CASE IN CALIFORNIA THAT WE ELECTED TO SETTLE FOR $20,000 JUST

3     TO GET IT OVER WITH.        IT SURVIVED SUMMARY JUDGMENT, BUT THAT'S

4     WHAT HAPPENS WITH PRO SE´ CASES, YOU KNOW THAT.

5          Q      THAT'S THE WILLIAMS V. DASCO CASE; IS THAT CORRECT?

6          A      YES.

7          Q      AND IN THAT CASE -- IN THAT CASE THE PLAINTIFF DID

8     HAVE COUNSEL, CORRECT, JUST FOR THE RECORD?           IF YOU DON'T

9     REMEMBER IT'S NOT IMPORTANT.

10         A      I DON'T KNOW THAT.      I'M SURE HE HAD COUNSEL.           I MEAN

11    I THINK HE PICKED UP COUNSEL AFTER IT HAD SURVIVED SUMMARY

12    JUDGMENT.

13         Q      YOU SAID THAT'S THE -- DO YOU ALSO RECALL A CASE

14    FROM MARYLAND CALLED BRADFORD V. MATHIS?

15         A      RADFORD?

16         Q      BRADFORD.

17         A      NO.

18         Q      ANOTHER CASE WHERE YOU WERE ACCUSED OF DENYING A

19    PATIENT APPROPRIATE PAIN MEDICATION THAT SURVIVED SUMMARY

20    JUDGMENT.

21         A      I DON'T RECALL THAT CASE.        ACTUALLY -- THERE WAS --

22    I WAS IN A DEPOSITION THE OTHER DAY AND THEY WERE BRINGING UP

23    CASES THAT CAME UP AFTER I WAS NO LONGER IN MARYLAND.             MAYBE

24    THIS IS ONE OF THOSE.

25                MR. DUBNER:     AND IF WE COULD BRING UP, IF YOU HAVE
     Case 3:15-cv-00318-SDD-RLB     Document 753                        99
                                                   11/04/22 Page 99 of 115

1     IT, BRADFORD V. MATHIS?       NOPE.   WE'LL USE THE ELMO.       WE'LL

2     MARK THIS AS PLAINTIFFS' EXHIBIT 69.

3                AND A COPY FOR THE COURT.         THANK YOU.

4     BY MR. DUBNER:

5          Q     JUST TO REFRESH YOUR RECOLLECTION, DOCTOR, I'M

6     SHOWING YOU A JUDICIAL OPINION FROM A CASE CALLED BRADFORD V.

7     MATHIS IN THE DISTRICT OF MARYLAND.          IF WE LOOK AT THE

8     PARAGRAPH LABELED ASTERISKS 1, IT SAYS, "STEVEN KARL EDWARD

9     BRADFORD SUED DR. DAVID MATHIS AND PETER STANFORD, THE

10    DEFENDANTS, UNDER 42 USC 1983 FOR DENIAL OF MEDICAL CARE."

11               MR. ARCHEY:      I'M GOING TO OBJECT AT THIS TIME, YOUR

12    HONOR, AS TO RELEVANCE.

13               MR. DUBNER:      I'LL ASK A QUESTION THAT'LL CIRCUMVENT

14    ALL OF THIS.    I'M JUST ESTABLISHING -- SORRY.

15               THE COURT:       RESPOND TO THE RELEVANCE.

16               MR. DUBNER:      TO ANSWER THE OBJECTION, THE RELEVANCE

17    IS IT GOES TO -- IT'S RESPONDING TO DEFENDANT'S USE OF SIMILAR

18    RECORDS AGAINST MS. GOEHRING LAST WEEK.

19               MR. ARCHEY:      YOUR HONOR, THIS IS DEALING WITH PAIN

20    MEDICATION.    YOU FOUND WAS EXACTLY LIKE HE'S DOING, IT WAS

21    APPROPRIATE.

22               THE COURT:       OVERRULED.

23    BY MR. DUBNER:

24         Q     DOES THIS REFRESH YOUR RECOLLECTION, DOCTOR?

25         A     I HAVE NO KNOWLEDGE OF THIS CASE.          THANK YOU FOR
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 100 of100
                                                                       115

1     BRINGING IT UP.

2           Q     FAIR ENOUGH.      I WILL JUST SHOW YOU THE NEXT

3     SENTENCE, "FOR THE FOLLOWING REASONS THE DEFENDANT'S MOTION

4     FOR SUMMARY JUDGMENT WILL BE DENIED AND BRADFORD'S MOTION FOR

5     APPOINTMENT OF COUNSEL BE GRANTED."         THIS WAS A PRO SE´

6     PLAINTIFF.    I WILL REPRESENT TO YOU THAT THE ALLEGATION HERE

7     WAS THAT YOU AND ANOTHER DOCTOR HAD DENIED PAIN MEDICATION.

8     DO YOU HAVE ANY REASON TO DISPUTE THAT?

9           A     YEAH.   STANFORD IS A PHYSICIAN ASSISTANT OR WAS A

10    PHYSICIAN ASSISTANT.        I DON'T THINK I EVER SAW THIS GUY.         I

11    WAS JUST THE MEDICAL DIRECTOR AND THE CASE WAS BROUGHT AFTER I

12    LEFT.

13          Q     IF WE LOOK AT THE --

14                MR. ARCHEY:     I'M GOING TO RENEW MY OBJECTION, YOUR

15    HONOR.    I THINK WE'VE GONE TOO FAR DOWN THE --

16                THE COURT:      WHAT IS THE RELEVANCE NOW, MR. DUBNER?

17                MR. DUBNER:     I'M JUST NOW TRYING TO ESTAB- -- I CAN

18    WITHDRAW IT.    I'LL WITHDRAW THE QUESTION.

19                THE COURT:      LET'S GO TO THE NEXT LINE OF

20    QUESTIONING.

21    BY MR. DUBNER:

22          Q     MY NEXT QUESTION WAS SIMPLY, YOU WOULDN'T SAY THAT

23    THE SUITS AGAINST YOU CULL YOUR TESTIMONY IN THIS CASE, YOUR

24    ABILITY TO GIVE OPINIONS OR YOUR RELIABILITY INTO QUESTION,

25    WOULD YOU?
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 101 of101
                                                                      115

1           A     PLEASE REPEAT THAT QUESTION.

2           Q     YES.   YOU WOULDN'T SAY THAT THE EXISTENCE OF SUITS

3     AGAINST YOU, EVEN ONES THAT HAVE SURVIVED SUMMARY JUDGMENT,

4     CULLS YOUR TESTIMONY OR THE RELIABILITY OF YOUR OPINIONS INTO

5     QUESTION, WOULD YOU?

6           A     I DON'T THINK SO.

7           Q     AND JUST FOR THE RECORD, THE CITATION FOR THAT CASE

8     IS 2010 WL4809128.     IT IS CIVIL ACTION NUMBER WDQ-100847 FROM

9     THE DISTRICT OF MARYLAND.

10                AND, DOCTOR, LET'S TALK ABOUT SPECIALTY CARE.             WHEN

11    A PATIENT RETURNS FROM A TRIP, PROVIDERS SHOULD SEE THEM NO

12    LATER THAN THE NEXT DAY, CORRECT?

13          A     YES.

14          Q     IF A PROVIDER DETERMINES NOT TO IMPLEMENT A

15    SPECIALIST'S RECOMMENDATION THE PROVIDER SHOULD SAY WHY,

16    CORRECT?

17          A     YES.

18          Q     IF A SPECIALIST RECOMMENDS BLOOD TESTS, THOSE TESTS

19    SHOULD OCCUR?

20          A     YES.

21          Q     AND THE RESULTS OF THOSE BLOOD TESTS SHOULD BE IN

22    THE MEDICAL RECORD?

23          A     YES.

24          Q     REGISTERED NURSES DON'T HAVE A LICENSE TO CHANGE

25    ORDERS RECOMMENDED BY SPECIALISTS, CORRECT?
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 102 of102
                                                                      115

1           A     YES.

2           Q     YOU SAID YESTERDAY THAT AN IMPORTANT THING ABOUT LSP

3     COMPARED TO OTHER FACILITIES THAT YOU'VE SEEN IS THAT THEY

4     PRIMARILY PUT PATIENTS WHO RETURN FROM TRIPS IN THE INFIRMARY

5     RATHER THAN SENDING THEM BACK TO THEIR HOUSING UNIT; IS THAT

6     CORRECT?

7           A     YES.

8           Q     LET'S PULL UP JOINT EXHIBIT 13 AT 411.         AND THIS IS

9     SEALED.

10                THIS IS A TRIP RETURN, DOCTOR, IS THAT CORRECT, FOR

11    PATIENT NUMBER 13?

12          A     YES.

13          Q     AND "DISCHARGED TO CAMP" IS CHECKED, CORRECT?

14          A     YES.

15          Q     "TO NURSING UNIT" IS NOT CHECKED?

16          A     RIGHT.

17          Q     IF WE GO TO PAGE 434.     HERE, AGAIN, ANOTHER TRIP

18    RETURN WITH DISCHARGE TO CAMP RATHER THAN NURSING UNIT?

19          A     RIGHT.

20          Q     LET'S GO TO PAGE 464.     DISCHARGED TO CAMP, NOT

21    ADMITTED TO NURSING UNIT?

22          A     I THINK MY TESTIMONY WAS ABOUT HOSPITAL RETURNS.

23    THESE ARE ABOUT PROCEDURES THAT DON'T REQUIRE NEW

24    INTERVENTIONS.     THERE'S A LITTLE DIFFERENCE.       THIS GUY HAD A

25    PULMONARY FUNCTION TEST.      THE PREVIOUS FELLOW HAD A CYSTOSCOPY
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 103 of103
                                                                      115

1     AND I DON'T REMEMBER WHAT THE FIRST ONE WAS ALREADY.            BUT FOR

2     THE HOSPITALIZATIONS THEY'RE PUT IN NURSING UNIT 1.

3           Q     SO IF YOUR TESTIMONY YESTERDAY WAS THAT FOR ALL TRIP

4     RETURNS LSP PRIMARILY PUTS PATIENTS IN THE INFIRMARY RATHER

5     THAN SENDING THEM BACK TO THE HOUSING UNIT YOU WOULD WANT TO

6     CORRECT THAT TESTIMONY?

7           A     IF I SAID ALL TRIP RETURNS THEN I WOULD CORRECT THAT

8     TESTIMONY.

9           Q     JUST HOSPITALIZATIONS?

10          A     YES.

11          Q     AND IT'S ONLY -- IT'S NOT ALL HOSPITALIZATIONS; IT'S

12    ONLY PRIMARILY?

13          A     YES.

14          Q     OKAY.   LET'S CONTINUE WITH PATIENT NUMBER 13.            WHO I

15    BELIEVE IN YOUR REPORT YOU SAID BEST DEMONSTRATES THE

16    CAPABILITY OF LSP TO MANAGE SPECIALTY CONSULTATIONS; IS THAT

17    RIGHT?

18          A     YES.

19          Q     LET'S LOOK AT A FEW EPISODES IN THIS PATIENT'S CARE.

20    IF WE COULD GO TO JOINT EXHIBIT -- SORRY, JOINT EXHIBIT 13 AT

21    1036 AND 1035.      THIS IS A NOTE FROM A NEPHROLOGY SPECIALIST,

22    CORRECT?

23          A     YES.

24          Q     AND -- I MIGHT HAVE GIVEN YOU THE WRONG PAGE.             GIVE

25    ME ONE MOMENT, PLEASE.
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 104 of104
                                                                       115

1                 NOPE.   I GAVE YOU THE RIGHT PAGE.        I'M JUST NOT

2     READING IT CORRECTLY.

3                 MR. ARCHEY:     YOUR HONOR, I OBJECT THEN BECAUSE I SEE

4     THIS IS DATED IN 2018.

5                 THE COURT:      COUNSEL?

6                 MR. DUBNER:     IT WAS PRODUCED AS PART OF THE MEDICAL

7     RECORDS AND IS A NOTE THAT EXISTED IN THE MEDICAL RECORDS AT

8     THE TIME OF 2019, BUT --

9                 THE COURT:      SUSTAINED.

10    BY MR. DUBNER:

11          Q     I'LL JUST POINT YOU IN THE PLAN RIGHT ABOVE THE

12    UNDERLINED --

13                MR. ARCHEY:     YOUR HONOR?

14                MR. DUBNER:     OH, SUSTAINED.     YOU SAID SUSTAINED.

15    I'M SO SORRY.

16                THE COURT:      OKAY.

17    BY MR. DUBNER:

18          Q     ABSOLUTELY.      SO LET'S GO TO PAGE 1085 AND 1086.

19                HERE IS ANOTHER ENCOUNTER WITH A PROVIDER DATED

20    FEBRUARY 12TH, 2019, CORRECT?          IF YOU'LL LOOK AT THE TOP RIGHT

21    OF EACH PAGE IT SAYS THE ENCOUNTER DATE.

22          A     YES.

23          Q     IF YOU'LL LOOK AT THE MIDDLE OF THE SECOND PAGE HERE

24    AGAIN IT'S THE NEPHROLOGIST?

25          A     YES.
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 105 of105
                                                                      115

1           Q     AND COULD YOU READ THE BOLDED SENTENCE AT THE BOTTOM

2     OF THE PLAN ON THE LEFT-HAND SIDE?

3           A     "AVOID NONSTEROIDALS, PATIENT RECEIVED TORADOL WHEN

4     VISITING THE ORTHOPAEDIC DOCTOR OR ER FOR BACK PAIN.            THIS

5     WILL WORSEN HIS KIDNEY FUNCTION."

6           Q     THE NEPHROLOGIST PUT THIS IN BOLD?

7           A     HE DID.

8           Q     THAT WAS FEBRUARY 12TH, 2019.       LET'S GO TO PAGE

9     1074.     THIS IS A PRESCRIPTION MARCH 27TH, 2019.        THIS IS A

10    PRESCRIPTION FOR TORADOL, CORRECT?

11          A     YES.

12          Q     PRESCRIBED BY AN LSP PROVIDER, CORRECT?

13          A     CORRECT.

14          Q     AND IF WE GO TO PAGE 402.      HERE IS AN ATU NOTE FROM

15    THE FOLLOWING YEAR.     AGAIN, THE THING THAT IS CIRCLED, YOU SEE

16    IT SAYS, "TORADOL 60 MILLIGRAMS"?

17          A     CORRECT.

18          Q     THIS IS MARCH 13TH, 2020.      IF WE GO TO PAGE 404.

19    ACTUALLY, LET'S GO BACK FOR A MOMENT TO 402.          THAT WAS

20    APPROXIMATELY 5:43 IN THE MORNING, CORRECT?

21          A     YES.

22          Q     LET'S GO TO THE NEXT PAGE.      LET'S GO TO PAGE 404.

23    THANK YOU.    AT 5:58 IN THE AFTERNOON THE PATIENT WAS BACK IN

24    THE ATU COMPLAINING OF URINARY ISSUES, CORRECT?

25          A     YES.
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 106 of106
                                                                      115

1           Q     AND IF WE GO TO PAGE 135.      WITHIN THREE DAYS THE

2     PATIENT WAS ANEMIC AND HIS CREATININE, EGFR AND GLUCOSE LEVELS

3     WERE ALL ABNORMAL, CORRECT?

4           A     YES.

5           Q     WHICH IS SUGGESTIVE POTENTIALLY OF KIDNEY FAILURE,

6     CORRECT?

7           A     YES.

8           Q     LET'S GO TO PAGE 883.     THIS IS A PATIENT WHO WENT TO

9     THE HOSPITAL AND HAD HIS INSULIN CHANGED FROM 70/30 INSULIN TO

10    LONG-ACTING INSULIN, CORRECT?       IF YOU'LL LOOK DOWN TOWARDS THE

11    BOTTOM DM2.

12          A     I THINK YOU TALKED ABOUT CHANGE.        I'M NOT SURE I SEE

13    A CHANGE.    HE'S GETTING 40 UNITS AND 20 UNITS OF 70/30.

14          Q     IF YOU'LL LOOK AT THE THIRD BULLET POINT, "DISCUSS

15    WITH UMC AND PATIENT PHARMACEUTICAL CONVERSION.           IT IS ONE TO

16    ONE, SO STARTED HIM ON TEN UNITS BID OF LONG-ACTING."

17          A     I SEE.   DO YOU KNOW WHAT KIND THAT IS?

18          Q     OF LONG-ACTING INSULIN IS YOUR QUESTION?

19          A     YES.

20          Q     I BELIEVE WE'LL SEE WHEN WE GO TO PAGE 919.

21          A     ALL RIGHT.

22          Q     THE SECOND PRESCRIPTION THERE IS FOR LEVEMIR; IS

23    THAT LONG-ACTING INSULIN?

24          A     YES.

25          Q     AND THEN IF WE GO TO PAGE 1152.       IF WE LOOK IN THE
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 107 of107
                                                                      115

1     MIDDLE OF THE PAGE IN THE 9/18/19 NOTES THERE'S A VERBAL ORDER

2     FROM DR. LAVESPERE THAT SAYS, "HOLD MEDICATIONS FOR NOW.              MD

3     TO REVIEW MEDICATIONS," CORRECT?

4           A     YES.

5           Q     AND THEN IF WE LOOK AT THE -- SORRY, IF YOU COULD

6     RETURN TO THAT PAGE.

7                 IF WE LOOK AT THE NEXT SET OF HANDWRITING, NUMBER

8     TWO, IT SAYS 70/30.     THAT IS CHANGING THE PATIENT BACK TO THE

9     70/30 INSULIN, CORRECT?

10          A     YES.

11          Q     AND THAT'S SIGNED BY DR. TOCE?

12          A     YES.

13          Q     AND IF WE GO TO PAGE 158.      THIS IS ALSO THE SAME

14    PATIENT WHOSE LAB RESULTS ON JANUARY 14TH, 2020 SAID HE HAD AN

15    INFECTION THAT WAS RESISTENT TO TRIMETHOPRIM/SULFA, THE BOTTOM

16    READING THERE; IS THAT CORRECT?

17          A     YES.

18          Q     TRIMETHOPRIM/SULFA, BACTRIM IS THAT KIND OF

19    MEDICATION, CORRECT?

20          A     YES.

21          Q     IF WE GO TO PAGE 2321.     I'M SORRY, LET ME REPHRASE

22    THAT.     IF WE COULD GO TO JOINT EXHIBIT 68 AT 2321.

23          A     CAN WE GO BACK TO THAT ONE FOR A SECOND, PLEASE?

24          Q     SURE.   MS. LEZNIC (SIC) COULD WE GO BACK TO, I

25    BELIEVE IT'S JOINT EXHIBIT 13 AT 158.
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 108 of108
                                                                      115

1           A     NOW I UNDERSTAND MORE ABOUT IT.

2           Q     OKAY.   IT STILL SAYS THAT THE INFECTION IS RESISTENT

3     TO TRIMETHOPRIM/SULFA, CORRECT?

4           A     AND MORE IMPORTANTLY IT SAYS IT'S RESISTENT TO ALL

5     OF THE ORAL ANTIBIOTICS.      SO THE DECISION THAT WAS MADE HERE

6     WAS TO TRY AN ORAL ANTIBIOTIC.       RESISTENCE DOESN'T MEAN IT

7     WON'T WORK.    IT JUST HAS TO DO WITH THE SIZE OF THE -- THE

8     CHANGE ON THE PETRI DISH WHERE YOU PUT THE DISK ON.           AND IF

9     YOU GIVE IT LONG ENOUGH WHERE IT COULD STILL BE HELPFUL.              IT

10    DEPENDS ON WHAT THE CLINICAL SITUATION IS, BUT OF COURSE YOU

11    KNOW THAT.

12          Q     THEN IF WE GO TO JOINT EXHIBIT 68 AT 2321.          THEY DO

13    GIVE HIM A COURSE OF BACTRIM, CORRECT?         THE THIRD MEDICATION.

14          A     YES.    YES.

15          Q     AND YOU ALSO LIST PATIENT NUMBER 33 AS A GOOD

16    EXAMPLE OF SPECIALTY CARE, CORRECT?

17          A     I'M NOT CERTAIN.

18          Q     IF WE GO TO PAGE 215 OF YOUR EXPERT REPORT.          THE

19    BOTTOM OF THE PAGE YOU SAID, "PATIENT NUMBER 33 ALSO

20    DEMONSTRATED THE CAPABILITY OF LSP TO PROVIDE AND MANAGE

21    SPECIALTY CONSULTATIONS," CORRECT?

22          A     YES.

23          Q     AND THEN LET'S PULL UP JOINT EXHIBIT 33 AT 113.

24    WE'VE ALREADY DISCUSSED THIS SO I'M NOT GOING TO DWELL ON IT

25    AGAIN.
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 109 of109
                                                                       115

1                 BUT THIS IS THE PATIENT THAT HAD AUTOIMMUNE

2     HEPATITIS, FOUR PLUS LOWER EXTREMITY EDEMA, THREE WEEKS OF

3     JAUNDICE, YELLOWING OF BOTH EYES, SWELLING TO THE ABDOMEN AND

4     PAIN AT THE BOTTOM OF THE ABDOMEN AND HE WAS RETURNED TO

5     QUARTERS, CORRECT?

6           A     YES.

7           Q     AND THERE IS NO EVIDENCE THAT THEY CONTACTED A

8     SPECIALIST, CORRECT?

9           A     THAT'S CORRECT.

10                MR. DUBNER:     THE COURT'S INDULGENCE FOR A MOMENT?

11                THE COURT:      GO AHEAD.

12    BY MR. DUBNER:

13          Q     ONE MORE LINE OF QUESTIONS, DOCTOR.

14                YOU TOLD ME IN YOUR DEPOSITION THAT YOU'VE NEVER HAD

15    AN OPINION EXCLUDED BY A COURT IN WHOLE OR IN PART, CORRECT?

16          A     YES.

17          Q     WAS THAT CORRECT WHEN YOU SAID IT?

18          A     I THINK IT WAS CORRECT AT THE TIME.

19          Q     YOU'RE CURRENTLY AN EXPERT IN A CASE IN ILLINOIS

20    CALLED JOHNSON V. DART, CORRECT?

21          A     YES.   THAT OCCURRED -- I WAS DAUBERTED ON AN OPINION

22    ABOUT FENTANYL IN THAT CASE, AS YOU ALREADY KNOW.            BUT THAT

23    OCCURRED AFTER THE REPORT I BELIEVE OR IT WAS INFORMED AFTER

24    THE REPORT.

25          Q     IS IT POSSIBLE THAT THE OPINION CAME OUT IN 2020?
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 110 of110
                                                                      115

1           A     IT'S POSSIBLE.    IT JUST DEPENDS ON WHEN THE ATTORNEY

2     CONTACTED ME.      THE ATTORNEY HAD A CONTRACTUAL OBLIGATION TO

3     CONTACT ME WHEN IT WAS GOING ON AND IT NEVER OCCURRED.            SO I

4     JUST FOUND OUT ABOUT IT AND TALKED WITH HER.

5           Q     THAT'S BECAUSE YOU WERE PREPARING FOR TRIAL IN THAT

6     CASE I ASSUME?

7           A     NO.    IT WAS BECAUSE I THINK SHE HAD TIME TO TALK TO

8     ME.

9           Q     BUT THAT CASE IS PREPARING FOR TRIAL, CORRECT?

10          A     YES.

11          Q     AND YOU'RE DESIGNATED AS A WITNESS IN THAT TRIAL?

12          A     YES.

13          Q     AND, SPECIFICALLY, THE COURT IN THAT CASE FOUND THAT

14    YOU WEREN'T QUALIFIED TO OPINE ON METHADONE TOXICITY, CORRECT?

15          A     YES.

16          Q     THE COURT FOUND THAT YOUR OPINION THAT THE PATIENT

17    CONTAINED CONTRABAND METHADONE WAS UNRELIABLE, CORRECT?

18          A     YES.

19          Q     AND THE COURT FOUND THAT YOU WEREN'T QUALIFIED TO

20    TESTIFY ABOUT THE SECURITY ISSUES FACING CORRECTIONAL OFFICERS

21    OR NURSES IN EMERGENCY SITUATIONS, CORRECT?

22          A     YES.

23          Q     AND IF WE COULD PULL UP DEFENDANT'S EXHIBIT 35.5 AND

24    35 -- SORRY.      DEFENDANT'S EXHIBIT 35 AT PAGES 5 AND 6.

25                THIS IS THE TESTIFYING HISTORY THAT YOU DISCLOSED.
     Case 3:15-cv-00318-SDD-RLB    Document 753    11/04/22 Page 111 of111
                                                                        115

1     YOU DIDN'T DISCLOSE THIS CASE AT ALL, DID YOU?

2           A     IF I DIDN'T IT WAS BECAUSE IT WAS BEFORE THE FOUR

3     YEARS BY RULE 26.

4           Q     AND IF -- I'M GOING TO MARK FOR IDENTIFICATION

5     PLAINTIFFS' EXHIBIT 70.        I'M MARKING FOR IDENTIFICATION AS

6     PLAINTIFFS' EXHIBIT 70 THE DEPOSITION OF DR. DAVID MATHIS IN

7     THE JOHNSON V. DART CASE.       IF WE COULD ZOOM IN ON THE TOP LEFT

8     PANEL.    THAT DEPOSITION WAS GIVEN DECEMBER 6TH, 2019; IS THAT

9     CORRECT?

10          A     I THINK YOU'RE RIGHT.

11          Q     SO THE CASE IN WHICH YOU WERE EXCLUDED WAS OMITTED

12    FROM YOUR LIST OF TESTIFYING HISTORY?

13          A     YOU'RE CORRECT.

14                MR. DUBNER:     NO FURTHER QUESTIONS FOR DR. MATHIS.

15                PLAINTIFFS WOULD MOVE INTO EVIDENCE PLAINTIFFS'

16    EXHIBIT 70, WHICH IS THIS DEPOSITION TRANSCRIPT, AND

17    PLAINTIFFS' EXHIBIT 67 WHICH IS THE CALIFORNIA ARTICLE.

18                MR. ARCHEY:     I OBJECT TO BOTH, YOUR HONOR.

19                THE COURT:      I THOUGHT YOU ALREADY OFFERED 67 --

20                MR. DUBNER:     I MARKED IT.     I DID NOT --

21                THE COURT:      SIXTY-SEVEN.     OKAY.

22                YOU OBJECT TO BOTH, AND THE GROUNDS ARE?

23                MR. ARCHEY:     RELEVANCE.      AND AS I UNDERSTAND THE WAY

24    IT WENT PREVIOUSLY, I WAS ALLOWED TO ASK ABOUT, TO A CERTAIN

25    EXTENT, TO ASK ABOUT THE PRIOR MATTERS, BUT I WASN'T ALLOWED
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 112 of112
                                                                       115

1     TO USE THE DOCUMENTS.

2                 MR. DUBNER:     THAT'S ALL RIGHT.     WE CAN WITHDRAW.     WE

3     DON'T NEED TO MOVE 70 INTO EVIDENCE.         HE ACKNOWLEDGED THE DATE

4     SO WE CAN WITHDRAW --

5                 THE COURT:      WHICH IS THE DEPOSITION IN THE PRIOR

6     CASE.     SO 70 IS OFF.     SO IT'S THE ARTICLE WHICH IS 67 AND IT'S

7     AN ARTICLE ON WHAT?

8                 MR. DUBNER:     THAT IS ON THE PHYSICIAN REQUIREMENTS

9     IN THE CALIFORNIA CORRECTION SYSTEM.

10                THE COURT:      WHAT'S YOUR OBJECTION TO THAT?

11                MR. ARCHEY:     STILL RELEVANCE, YOUR HONOR.       THIS IS

12    SOMETHING GOING BACK, I DON'T KNOW, IN ANOTHER SYSTEM

13    UNRELATED.    WE DON'T KNOW ANYTHING ABOUT THAT VERSUS THIS.

14    IT'S RELEVANCE, YOUR HONOR.        THEY'VE GOT NO EXPERT TESTIMONY

15    REGARDING --

16                THE COURT:      WHAT IS THE RELEVANCE?

17                MR. DUBNER:     DR. MATHIS HAS REPEATEDLY SAID THAT HIS

18    OPINION IS BASED ON COMPARISONS BETWEEN LSP AND FACILITIES

19    THAT HE HAS WORKED AT.        THIS IS EVIDENCE ABOUT ONE OF THE

20    FACILITIES THAT HE'S WORKED AT.          IN TERMS OF HAVING EXPERT

21    TESTIMONY, DR. PUISIS DID REFERENCE THIS STUDY IN HIS DIRECT

22    WITHOUT OBJECTION.

23                THE COURT:      OVERRULED.   67 IS ADMITTED.

24    BY MR. DUBNER:

25          Q     THANK YOU FOR YOUR TIME, DR. MATHIS.
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 113 of113
                                                                       115

1                 THE COURT:      I'M HAPPY TO LET YOU GO FORWARD.

2                 MR. ARCHEY:     YOUR HONOR, I'M GOING TO BE QUICK.         I

3     THINK THIS WILL WORK I BELIEVE.

4                 THE COURT:      OKAY.   GO FORWARD WITH REDIRECT.

5     REDIRECT EXAMINATION

6     BY MR. ARCHEY:

7           Q     DR. MATHIS, I'M JUST GOING TO COVER, I'VE GOT, IT

8     LOOKS LIKE SIX POINTS I THINK.         THE FIRST ONE IS YOU WERE

9     ASKED ABOUT PREPARING YOUR OWN SAMPLE OR SELECTING YOUR OWN

10    SAMPLE.   WHY DID YOU NOT DO THAT?

11          A     THIS WAS AN OVERWHELMING PROJECT AND TO GO BEYOND

12    THE NUMBERS WAS JUST -- IT WAS IMPOSSIBLE TO GET THE REPORT

13    DONE AND PREPARE FOR THE DEPOSITION IN TIME.

14          Q     YOU BARELY WERE ABLE TO COMPLY EVEN WITH THE CHARTS

15    THAT THEY SELECTED --

16          A     YEAH.   WE WORKED HUNDREDS OF HOURS ON THIS.

17          Q     ALL RIGHT.      YOU WERE ASKED ABOUT YOUR REPORT AND HOW

18    YOU DREW IT UP.     YOU INCLUDED THE LSP MEDICAL SUMMARIES IN

19    YOUR OPINION.    WHY?

20          A     BECAUSE THAT WAS THE BEST WAY TO SUMMARIZE WHAT WAS

21    GOING ON.    I THOUGHT IT WAS SUPERFLUOUS TO GO AHEAD AND DO THE

22    SAME THING MYSELF AND WRITE IT UP ABOVE.

23          Q     DID YOU REVIEW THE CHARTS IN DETAIL TO VALIDATE THE

24    ACCURACY OF THE SUMMARY THAT YOU WERE PULLING OVER WHEN YOU

25    DID SO?
     Case 3:15-cv-00318-SDD-RLB    Document 753   11/04/22 Page 114 of114
                                                                       115

1           A     YES.

2           Q     DID YOU FIND THAT THEY WERE ACCURATE?

3           A     SUBSTANTIALLY.

4           Q     OKAY.   ALL RIGHT.    YOU WERE ASKED ABOUT THE

5     VIOLATIONS YOU FOUND AND COUNSEL COUNTED OFF LIKE TEN ON HIS

6     FINGERS.    ISN'T IT TRUE THAT SIX OF THOSE WERE ALL

7     SELF-DECLARED EMERGENCIES?

8           A     I'M NOT CERTAIN.

9           Q     AND THE SELF-DECLARED EMERGENCIES WE'VE ADDRESSED

10    WITH YOUR GUY?

11          A     YES.    WE'VE ADDRESSED THE SELF-DECLARED EMERGENCIES

12    AND THERE HAVE BEEN SIGNIFICANT CHANGES MADE CONTEMPORANEOUS

13    WITH THE PROCEEDINGS.

14          Q     AND EVEN WITH YOUR FINDINGS -- STRIKE THAT.

15                WHEN YOU LOOKED AT THESE RECORDS, DID YOU GIVE THEM

16    A HARD LOOK AND SEE WHETHER YOU SAW ERRORS OR NOT?

17          A     YES.

18          Q     AND AFTER DOING THAT, AND WITH A FEW ISSUES YOU

19    FOUND, WHAT WAS YOUR OPINION AS TO CLINICAL CARE AT LSP?

20          A     I THOUGHT CLINICAL CARE AT LSP COMPLIED WITH THE

21    STANDARD OF CARE AND WAS REASONABLE AND APPROPRIATE.

22                MR. ARCHEY:     YOUR HONOR, I'M GOING TO STOP RIGHT

23    THERE.    THOSE ARE MY QUESTIONS.

24                THE COURT:      THANK YOU.   ALL RIGHT.    YOU MAY STEP

25    DOWN, SIR.    WE WILL BE IN RECESS UNTIL 1:30.         I APOLOGIZE I
     Case 3:15-cv-00318-SDD-RLB   Document 753   11/04/22 Page 115 of115
                                                                      115

1     SHOULD CALL YOU DOCTOR NOT SIR.       IT'S A FORCE OF HABIT.          YOU

2     MAY STEP DOWN, DOCTOR.

3                                    (RECESS)

4                            C E R T I F I C A T E

5                 I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT

6     FROM THE RECORD OF THE PROCEEDINGS IN THE ABOVE-ENTITLED

7     NUMBERED MATTER.

8     S/GINA DELATTE-RICHARD

9     GINA DELATTE-RICHARD, CCR

10    OFFICIAL COURT REPORTER

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
